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                   UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF GEORGIA
                           GAINESVILLE DIVISION
            -------------------------------X
            FAIR FIGHT, INC., SCOTT BERSON,)
            JOCELYN HEREDIA, and JANE DOE, )
                        Plaintiffs,        )
                                           )
                    vs.                    )Case No.
                                           )2:20-cv-00302-SCJ
            TRUE THE VOTE, CATHERINE       )
            ENGELBRECHT, DEREK SOMERVILLE, )
            MARK DAVIS, MARK WILLIAMS,     )
            RON JOHNSON, JAMES COOPER, and )
            JOHN DOES 1-10.                )
                        Defendants.        )
                                           )
            FAIR FIGHT ACTION, INC.,       )
                        Counter-Defendant. )
            -------------------------------X
                CONFIDENTIAL - PURSUANT TO PROTECTIVE ORDER
                     30(b)(6) VIDEOTAPED DEPOSITION OF
                          CATHERINE ENGELBRECHT
                           APPEARING REMOTELY
                       Wednesday, January 26, 2022
                          8:05 a.m. Central Time

            Reported by:  Lori J. Goodin, RPR, CLR, CRR
                          RSA, California CSR #13959
            __________________________________________________
                             DIGITAL EVIDENCE GROUP
                         1730 M Street, NW, Suite 812
                            Washington, D.C. 20036
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   1                           REMOTE APPEARANCES
   2
   3        FOR PLAINTIFFS:
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   5           JACOB SHELLY, ESQUIRE
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 22


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   2

   3        FOR DEFENDANTS:

   4           THE BOPP LAW FIRM, PC

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   6           MELENA SIEBERT, ESQUIRE

   7           1 South 6th Street

   8           Terre Haute, Indiana                       47807

   9           812-232-2434

 10            jboppjr@aol.com

 11            msiebert@bopplaw.com

 12

 13         Also present:

 14            Joe Cerda, video/document technician

 15

 16

 17

 18

 19

 20

 21

 22



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 12                            RSA, California CSR #13959

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 17                            (All exhibits were provided

 18                            electronically to the reporter.)

 19

 20

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                                                                                                  Page 8
   1                WEDNESDAY, JANUARY 26, 2022, 8:05 A.M.

   2

   3                                        PROCEEDINGS

   4                           THE VIDEOGRAPHER:                        We are now

   5             beginning this video deposition.                                 Today's

   6             date is January 26, 2022.                            The time on the

   7             video record is 8:05 a.m.

   8                           This is the deposition of Catherine

   9             Engelbrecht, taken in the matter of Fair

 10              Fight, Inc. versus True the Vote.

 11                            Will counsel please identify

 12              themselves for the record and whom they

 13              represent.

 14                            MR. NKWONTA:                  Good morning.               My name

 15              is Uzoma Nkwonta, and I represent the

 16              plaintiffs in this case.                           I am joined with

 17              co-counsel.            I will let them represent

 18              themselves -- or introduce themselves, I

 19              should say, I'm sorry.

 20                            MS. BRYAN:                Good morning.               This is

 21              Leslie Bryan from Lawrence and Bundy.                                     I

 22              represent the plaintiffs.



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                                                                                                  Page 9
   1                           MS. LINDENBAUM:                      Good morning.              This

   2             is Dara Lindenbaum from Sandler Reiff Lamb

   3             Rosenstein & Birkenstock, also representing

   4             the plaintiffs.

   5                           MR. SHELLY:                 Jacob Shelly with Elias

   6             Law Group with plaintiffs.

   7                           MR. RAMIREZ:                  Joel Ramirez with

   8             Elias Law Group with plaintiffs.

   9                           MR. MOCINE-MCQUEEN:                          Marcos

 10              Mocine-McQueen, Elias Law Group with the

 11              plaintiffs.

 12                            THE VIDEOGRAPHER:                        Okay.      Counsel,

 13              and before we swear in the witness, do all

 14              parties agree or stipulate to the witness

 15              being sworn in remotely through Zoom?

 16                            MR. NKWONTA:                  Yes, plaintiffs agree.

 17                            MR. BOPP:               And I don't think I

 18              entered my appearance.                        I am James Bopp,

 19              representing the defendants and both -- and

 20              representing both deponents in this action --

 21              in this matter here today.

 22                            And, Melena Siebert will probably be



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                                                                                                Page 10
   1             joining us later, who is also counsel for the

   2             defendants.            And we consent to remote

   3             deposition.

   4                           THE VIDEOGRAPHER:                        Okay, counsel.

   5             With that being said, we will swear in the

   6             witness, thanks.

   7                                            *      *     *

   8        Whereupon,

   9                             CATHERINE ENGELBRECHT,

 10         a witness called for examination, having been

 11         first duly sworn, was examined and testified as

 12         follows:

 13                                             *      *     *

 14                                         EXAMINATION

 15         BY MR. NKWONTA:

 16                   Q.       Morning, Ms. Engelbrecht.

 17                   A.       Good morning.

 18                   Q.       My name is Uzoma Nkwonta.                             As I

 19         mentioned before, I represent the plaintiffs in

 20         this case.

 21                            And, my understanding is that you

 22         are appearing today in your personal capacity and



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   1        as the representative of True the Vote.                                    Is that

   2        correct?

   3                  A.       Yes.

   4                  Q.       Great.           Ma'am, I just want to ask

   5        you a few preliminary questions before we get

   6        into the mechanics of the deposition.

   7                           Have you been deposed before?

   8                  A.       No.

   9                  Q.       So, this is your first time?

 10                   A.       It is.           Yes.

 11                   Q.       In that case, I would like to go

 12         over a few ground rules for the deposition just

 13         so that we all proceed with the same

 14         understanding.

 15                            So, the testimony today, all of your

 16         testimony today, as you have heard is under oath

 17         just as if you were testifying in court.                                     Is that

 18         fair?

 19                   A.       Yes.

 20                   Q.       And if at any point you don't

 21         understand a question that I'm asking, just let

 22         me know.       I will do my best to rephrase the



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                                                                                                 Page 12
   1        question or be a little bit clearer.

   2                            And if you do answer the question,

   3        then I will assume that you understood the

   4        question.          Is that fair?

   5                  A.        Yes.

   6                  Q.        Okay.          And for the benefit of

   7        everyone and the court reporter, I would ask that

   8        you continue to do as you are doing now and

   9        answer audibly with yeses or nos, rather than

 10         head nods or head shakes or gestures so that the

 11         court reporter can keep an accurate record.                                         Does

 12         that sound good?

 13                   A.        Yes.

 14                   Q.        During the deposition, I would ask

 15         that you allow me to finish my question before

 16         giving your answer and I will do the same.                                        And

 17         that will help us have a clean transcript at the

 18         end.    Is that fair?

 19                   A.        Yes.

 20                   Q.        From time to time your attorney may

 21         make an objection to my question.                                  And that is

 22         fine.



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                                                                                                Page 13
   1                           You are okay to answer the question

   2        unless your attorney instructs you not to answer

   3        the question after he makes his objection.

   4                           Is that fair?

   5                  A.       Yes.

   6                  Q.       If there is any time with which you

   7        would like to take a break, just let me know.

   8        And I will find a good place to stop the

   9        questioning so you can take a break.

 10                            I would only ask that if I am in the

 11         middle of a question or if there is a question

 12         pending that you would answer the question before

 13         taking a break.

 14                            Is that fair?

 15                   A.       Yes.

 16                   Q.       And I know you mentioned this

 17         earlier, I'm not sure if it was on the record or

 18         off the record.

 19                            But would you mind repeating where

 20         you were located for this deposition?

 21                   A.       Cat Spring, Texas.

 22                   Q.       And could you give me the address of



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                                                                                                Page 14
   1        where you are located for this deposition?

   2                  A.       Sure.          The full address?

   3                  Q.       Yes, please.

   4                  A.       Yes, okay.                Sure.          13909 Track Road

   5        in Cat Spring, Texas.

   6                  Q.       And how are you viewing this

   7        deposition?        Are you on a laptop or are you on a

   8        phone or some other device?

   9                  A.       I am on laptop.

 10                   Q.       And is there anyone in the room with

 11         you currently?

 12                   A.       No.

 13                   Q.       And do you have any documents with

 14         you currently?

 15                   A.       No.

 16                   Q.       Do you have any devices with

 17         electronic copies of documents with you?

 18                   A.       No.        I have my -- I mean this is

 19         probably too extreme, but I have my phone and I

 20         have my headphone cases and that is it and a cup

 21         of coffee.

 22                   Q.       All right.                So, because we are



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                                                                                                Page 15
   1        taking this deposition remotely, I may not be

   2        able to see what you have in front of you or who

   3        may enter the room.

   4                           And I just want to clarify that it

   5        would not be appropriate for your attorney or

   6        anyone else to tell you how to answer a specific

   7        question that I ask.

   8                           And ask you to agree not to exchange

   9        any communication with anyone whether by text or

 10         e-mail related to the questions that I ask during

 11         the deposition.             Is that fair?

 12                   A.       Yes.

 13                   Q.       Great.           So, we will get into some of

 14         my additional preliminary questions now that we

 15         have set those ground rules.

 16                            How did you prepare to testify

 17         today?

 18                   A.       Spoke with my attorney.                            Reviewed

 19         all of the documents that we had submitted

 20         heretofore.        Reviewed the questions that were

 21         outlined as being the primary subject matters for

 22         today's review.             And I guess that is really about



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                                                                                                Page 16
   1        it.

   2                  Q.       Okay.          And when did you speak with

   3        your attorney, without disclosing what you

   4        discussed?

   5                  A.       Yesterday -- or, no.                           Monday,

   6        Monday.

   7                  Q.       And approximately how much time

   8        would you say you spent preparing for this

   9        deposition, again without disclosing the

 10         specifics of what you have discussed?

 11                   A.       Five or six hours.                         Six hours.

 12                   Q.       All right.                And are you on any

 13         medication today that would affect your ability

 14         to testify truthfully or to respond truthfully to

 15         any of my questions?

 16                   A.       No.

 17                   Q.       Excellent.

 18                            MR. NKWONTA:                  Could we pull up

 19               Exhibit 76, please.                    Or Document 76.

 20                            MR. BOPP:               This might be a good

 21               time, as I did yesterday.                           I would like to,

 22               with your agreement, enter a, enter a



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   1             continuing objection.                       And the continuing

   2             objection means I won't have to object

   3             repeatedly over the same things that have

   4             already been decided by the court which we

   5             understand, but we want to preserve our

   6             objections.

   7                           We object to any questions

   8             concerning activities before the 2016

   9             election, meaning in previous elections prior

 10              to 2016.

 11                            Any questions regarding any

 12              activities other than in the State of

 13              Georgia, any activities other than voter

 14              eligibility challenges, preelection to the

 15              Georgia runoff, and any questions regarding

 16              the activities of King Street Patriots.

 17                            MR. NKWONTA:                  Understood.             And so my

 18              understanding is that will be your standing

 19              objection.

 20                            To clarify on our end, will you be

 21              instructing your witness not to answer

 22              questions in light of those objections or



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                                                                                                Page 18
   1             subject to those objections?

   2                           MR. BOPP:               No, if -- no.               And as I

   3             did -- I just didn't.                       I -- as long as they

   4             are within the subject matter and within the

   5             court orders, the parameters of this court

   6             order, she will be permitted to answer for

   7             sure.

   8                           MR. NKWONTA:                  All right.            So, I

   9             think that means we can proceed.

 10                            MR. BOPP:               And if it ever occurs, I

 11              mean I would do it if the question -- at the

 12              time of the question.                       I'm not giving a

 13              blanket, you know, advice to my client on how

 14              to handle questions.                      Those would have to

 15              arise, if they arose.

 16                            MR. NKWONTA:                  Understood.             I

 17              appreciate that.                 So, I think we are all set

 18              to proceed.

 19                                     (Exhibit 76 marked for

 20                                       identification.)

 21         BY MR. NKWONTA:

 22                   Q.       Ms. Engelbrecht, the document that



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   1        has just been shared with you, and I guess with

   2        everyone on the Zoom call, is Exhibit 76, or

   3        Document 76, which is the 30(b)(6) Notice issued

   4        to True the Vote.

   5                           Have you seen this document before?

   6                  A.       Yes.

   7                  Q.       And do you understand that you have

   8        been designated as a representative to answer

   9        questions on behalf of True the Vote, Inc.                                       or

 10         True the Vote?

 11                   A.       Yes.         Yes.

 12                            MR. NKWONTA:                  Can we scroll down a

 13              few pages to Exhibit A, please.

 14                            Sorry, next page.                        The page right

 15              after.

 16         BY MR. NKWONTA:

 17                   Q.       And have you reviewed these topics

 18         in Exhibit A of the 30(b)(6) Notice?

 19                   A.       Yes.

 20                   Q.       Are you prepared to testify about

 21         all of these topics in Exhibit A of the 30(b)(6)

 22         Notice?



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   1                  A.        Yes.

   2                  Q.        Great.

   3                            MR. NKWONTA:                  You can take that

   4             down.         And can we pull up Document 75,

   5             please.

   6                                     (Exhibit 75 marked for

   7                                       identification.)

   8        BY MR. NKWONTA:

   9                  Q.        Ms. Engelbrecht, do you recognize

 10         Document 75?          Have you seen this document before?

 11                   A.        Yes.

 12                   Q.        And this is a deposition notice

 13         issued to you individually; is that correct?

 14                   A.        Yes.

 15                   Q.        And do you understand that you are

 16         also being deposed today in your individual

 17         capacity?

 18                   A.        Yes.

 19                   Q.        Okay.          And as we have done with the

 20         prior deposition in this case, we will ask that

 21         you agree that your answers today will be

 22         attributed to you and/or True the Vote, unless we



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                                                                                                Page 21
   1        specify otherwise, or you specify otherwise in

   2        the deposition in response to that question.                                        Is

   3        that fair?

   4                  A.        Yes.

   5                            MR. NKWONTA:                 And do you agree to

   6             that, counsel.

   7                            MR. BOPP:              Do I agree to what?

   8                            MR. NKWONTA:                 That Ms. Engelbrecht's

   9             answers will be attributed to Ms. Engelbrecht

 10              and True the Vote, unless she specifies

 11              otherwise in response, just as we did

 12              yesterday?

 13                            MR. BOPP:               I assume your questions

 14              are directed at her in both capacities.

 15                            THE VIDEOGRAPHER:                        And counsel,

 16              sorry.        I apologize.                This is Joe.              I just

 17              want to make sure for clarity that

 18              Document 75 and 76, will those be entered

 19              into as exhibits?

 20                            MR. NKWONTA:                  Yes, those will be

 21              entered in as exhibits.

 22                            I think what might be best is I will



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                                                                                                Page 22
   1             continue to refer to them throughout the

   2             deposition as 75 and 76.                           And then we can

   3             decide after the fact whether we want to

   4             number them sequentially.                            Is that fair?

   5                           THE VIDEOGRAPHER:                        Understood.

   6        BY MR. NKWONTA:

   7                  Q.       Ms. Engelbrecht, I want to start

   8        with some background questions for you.

   9                           Where do you currently reside?

 10                   A.       In Cat Spring, Texas.

 11                   Q.       Are you a Texas native?

 12                   A.       Yes.

 13                   Q.       And what do you do for a living?

 14                   A.       In addition to my work with True the

 15         Vote, I am the co-founder of a healthcare fintech

 16         software company.

 17                   Q.       What is your role with True the

 18         Vote?

 19                   A.       I am both the founder of the

 20         organization and its current president.

 21                   Q.       Sorry, I didn't hear the last bit of

 22         your answer.         Do you mind repeating that?



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                                                                                                  Page 23
   1                  A.       So sorry.               Sure, with respect to

   2        True the Vote, I am the founder of the

   3        organization and its current president.

   4                           MR. BOPP:               And, Catherine, please

   5             don't interrupt him.                      Let -- if he needs to

   6             say something, just sit tight.                                   Okay?

   7                           THE WITNESS:                  Sure.

   8        BY MR. NKWONTA:

   9                  Q.       When was True the Vote founded?                                    You

 10         mentioned that you are the founder.

 11                            When did you launch True the Vote?

 12                   A.       We started as a organization in late

 13         2009 and filed official paperwork for its

 14         designation under the IRS rules as a nonprofit in

 15         2010, in the summer of 2010.

 16                   Q.       What was True the Vote's mission

 17         when the organization first launched in 2009 or

 18         2010?

 19                   A.       We had learned that there were not

 20         enough poll watchers or poll workers broadly.

 21         And that seemed like a good project to take on

 22         just to encourage people to work in the polls.



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                                                                                                Page 24
   1        And then from there we became more aware of other

   2        challenges in the system.

   3                  Q.        And what types of activities did

   4        True the Vote engage in when it first launched in

   5        2009/2010?

   6                  A.        First, understanding the process

   7        where we started which was in Harris County,

   8        Texas.

   9                            So, understanding the process of our

 10         elections.         Understanding the need for volunteers

 11         and where those volunteers -- how they can be

 12         placed and the rules around those placements.

 13         And that was the origin of the organization and

 14         our activities.

 15                   Q.       You mentioned assessing the need for

 16         volunteers and where those volunteers needed to

 17         be placed.

 18                            In that initial period when you

 19         launched True the Vote, where did you, your

 20         organization determine the greatest needs were?

 21                   A.       Well, to make that determination we

 22         met with -- in Harris County there is a -- the



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                                                                                                Page 25
   1        county clerk and the tax assessor collector

   2        shared the -- used to.                     This is no longer the

   3        case.

   4                           But, back then they shared the

   5        responsibility of management of the elections

   6        process.

   7                           So, through meeting with them and

   8        understanding where the gaps typically were, and

   9        then thinking through that in consideration

 10         with -- and with respect to where the would-be

 11         volunteers live and then the time in which they

 12         can be placed outside of where they live, in

 13         other words in a different precinct or so forth.

 14                            That became sort of the formula for

 15         where we -- as volunteers came in, where we would

 16         be able to recognize that there was need.

 17                            But in the end, and this is I think

 18         a super important point, all True the Vote could

 19         do and still does is helps to train volunteers.

 20         That then those volunteers go to work on behalf

 21         of the county directly or the municipality or the

 22         party or the candidate of their choice.



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                                                                                                 Page 26
   1                           But True the Vote can't actually

   2        place volunteers or any election worker or poll

   3        watcher.

   4                  Q.       We will come back to True the Vote's

   5        activities a little bit later.

   6                           I would like to get a little bit of

   7        a better understanding of who exactly works for

   8        True the Vote.           So, you mentioned yourself as the

   9        founder of True the Vote.

 10                            Are there any other officers in True

 11         the Vote?

 12                   A.       We have a Board of Directors so

 13         those would be additional officers.                                   And then --

 14         sorry, is that the question, the officers?

 15                   Q.       Yes.

 16                   A.       So I do have two additional people

 17         on the Board, yes.

 18                   Q.       And who are those individuals?

 19                   A.       Pardon me.                Aaron Tim is one and

 20         Diane Josephs is another.

 21                   Q.       And those are the only two current

 22         officers of True the Vote?



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                                                                                                Page 27
   1                  A.       Yes.         Yes.

   2                  Q.       Does True the Vote have any

   3        employees?

   4                  A.       Currently we have just hired one

   5        employee, yes.

   6                  Q.       Has True the Vote had more than one

   7        employee in the past or is this the first

   8        employee that you have hired?

   9                  A.       We have had employees in the past.

 10         And over the years we have, you know, we have

 11         gone from having no employees to having a

 12         handful.       We have never had many.                            Now we have

 13         one.

 14                   Q.       Through the 2020 election cycle, how

 15         many employees did True the Vote have?

 16                   A.       Through 2020, you mean just the

 17         calendar year of 2020?

 18                   Q.       The calendar year of 2020 and let's

 19         say through the runoff election in January of

 20         2021.

 21                   A.       We did not have any employees during

 22         the 2020 through 2021 years.



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                                                                                                Page 28
   1                  Q.       So, everything was on your shoulders

   2        during that entire period?

   3                  A.       Yes.         And we worked with contractors

   4        and the host of volunteers, but we did not have

   5        any employees.

   6                  Q.       So, for tasks like press releases

   7        for instance, who handles the press releases for

   8        True the Vote?

   9                  A.       It can be a combination.                            Sometimes

 10         I will handle those.                  And sometimes in the past,

 11         we don't currently, but in the past we would have

 12         had a communications, either individual or a firm

 13         we have used also.

 14                   Q.       And do you oversee that process,

 15         that communications process?

 16                   A.       Yes.         Yes.

 17                   Q.       You mentioned press releases, does

 18         that include social media as well?

 19                   A.       Handled by different individuals or

 20         different firms, just depending.                                But, yes, the

 21         same construct is accurate.

 22                            I oversee it as best I can.



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                                                                                                Page 29
   1                  Q.       And does that mean that you are able

   2        to review all of the communications or

   3        publications before they are issued?

   4                  A.       I try to.               There are certain --

   5        certainly in the social side of things, there are

   6        certain things I have not seen.                               I try not to let

   7        that happen, though.

   8                           But it is standard that I do want to

   9        review everything of what goes out.

 10                   Q.       And that includes all forms of media

 11         including press releases, social media, Twitter,

 12         Facebook, et cetera.                  Is that correct?

 13                   A.       It is correct with the caveat that I

 14         am aware that in 2020 there were things that went

 15         out that I did not see initially.                                 Just for a

 16         variety of, just, you know, confusion over

 17         process.       But, nonetheless it is my goal to

 18         always look at things, yes.

 19                   Q.       Are you familiar with the

 20         organization King Street Patriots?

 21                   A.       Yes.

 22                   Q.       And what is your connection to the



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                                                                                                Page 30
   1        King Street Patriots?

   2                  A.       I started the King Street Patriots

   3        in roughly the same time period, shortly before

   4        True the Vote.

   5                  Q.       Can you tell me a little bit about

   6        that organization and what that organization

   7        does?

   8                  A.       So, King Street Patriots is no

   9        longer in existence, but during the time that it

 10         was, the thought was that King Street would be a

 11         great -- we used to have weekly meetings or they

 12         were open to the public, but meetings for lack of

 13         a better term.           And we would talk about all

 14         manner of things.

 15                            It would, you know, anything from

 16         education to, you know, in Harris County, oil and

 17         gas and energy policy was always of interest.

 18                            So, it was just broader.                            And then

 19         that was really the function of that.                                  We did

 20         volunteer work on a variety of fronts through

 21         King Street.         And then ultimately King Street was

 22         organized as a 501(c)(4) and then True the Vote



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                                                                                                Page 31
   1        as a 501(c)(3) to keep them, to keep them

   2        separate.

   3                  Q.       Why was King Street organized as a

   4        501(c)(4) and True the Vote a 501(c)(3)?

   5                           In other words, why did you make the

   6        decision to designate King Street the 501(c)(4)

   7        and True the Vote the 501(c)(3)?

   8                  A.       Well, it was on the advice of

   9        financial counsel at the time.                              And I think that

 10         the -- because of the focus on, with True the

 11         Vote on election integrity and on work that would

 12         qualify for tax exempt donations, that it made

 13         sense, because when you write -- you know, for

 14         grants or the like, often you need to be a (c)(3)

 15         to qualify.

 16                            And so, because that was our

 17         mission, it just seemed appropriate and we needed

 18         to separate them clearly.                        So, that was the

 19         thought.

 20                   Q.       And did you remain the founder of

 21         King Street Patriots for the duration of that

 22         organization's life?



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                                                                                                 Page 32
   1                  A.       Yes, I was always the founder, yes.

   2                  Q.       And did you remain a principal

   3        officer of King Street Patriots for the duration

   4        of that organization's existence?

   5                  A.       Yes.

   6                  Q.       Were there any other officers that

   7        were part of King Street Patriots?

   8                  A.       Yes.

   9                  Q.       How many other officers?

 10                   A.       I believe there were three

 11         additional officers.

 12                   Q.       Who were they?

 13                   A.       Bryan Engelbrecht, my former

 14         husband, Lynn Lasher, who was a friend, and then

 15         Diane Josephs, also was a director.

 16                   Q.       What does the name King Street

 17         Patriots mean by the way?

 18                   A.       We were looking for a name that was

 19         symbolic of a way that we were trying to organize

 20         as a group.        And King Street in Boston was the

 21         road that patriots would walk down.                                   It was sort

 22         of the site of the Tea Party Rebellion.



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                                                                                                 Page 33
   1                           It was where the Liberty Tree was.

   2        It was historic on that front.                              And there are

   3        many King Streets all over the country that tend

   4        to be in historic areas, so we just thought that

   5        was a good name.

   6                  Q.       And was the organization affiliated

   7        or at least identified with the Tea Party?

   8                  A.       I mean it was definitely identified

   9        with the Tea Party.                 I didn't have any political

 10         background at the time and didn't really

 11         understand at the time how things become quickly

 12         identified, you know, with the overarching media

 13         that tends to put things together.

 14                            So, I would say yes, it was

 15         identified as a Tea Party group at the time.

 16                   Q.       And what is the status of that

 17         organization now?

 18                   A.       We closed True the Vote -- True the

 19         Vote.

 20                            We closed King Street.                             We stopped

 21         having any type of organizational functions in

 22         late 2013 early 2014.                   We closed it as a



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                                                                                                Page 34
   1        corporation in 2014 into 2015.                              I'm sorry, I

   2        don't know the exact date.

   3                           And then only recently learned that

   4        in the State of Texas our paperwork showed as it

   5        being active, so that was recently being taken

   6        care of.       But notice was given to the IRS back in

   7        2015.

   8                  Q.       I will ask you a similar question

   9        about True the Vote.                  What does True the Vote

 10         mean?

 11                   A.       True the Vote is -- it is actually

 12         from my grandfather.                  My grandfather was a farmer

 13         and he used to talk about -- the term he would

 14         use to indicate making things correct was to true

 15         it up.      So, we are going to true up the roads, or

 16         we are going to true up any number of things.

 17                            And so, in trying to think about

 18         what it was that we were trying to accomplish,

 19         that came to me as a good turn of phrase.

 20                   Q.       Understood.                 Now going back to King

 21         Street Patriots, I want to ask you some of the

 22         same questions I have about True the Vote in



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                                                                                                Page 35
   1        terms of your role with the organization.

   2                           How many employees did King Street

   3        Patriot have when the organization was first

   4        launched?

   5                  A.       Oh, first launched, none.                             We didn't

   6        have any employees for several years.

   7                  Q.       And did you ever have employees or

   8        did you rely solely on volunteers and outside

   9        contractors?

 10                   A.       We did have, as I recall, one or two

 11         employees, but it was far and away run by

 12         volunteers.

 13                   Q.       Were you also in charge of the

 14         day-to-day operations with respect to

 15         communications including press or other types of

 16         media?

 17                   A.       I would have certainly had a

 18         leadership role, or as I commented earlier, would

 19         have made it a goal to always look at things that

 20         were being published.

 21                            But it was, with King Street

 22         particularly more volunteer oriented and less, or



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                                                                                                Page 36
   1        less structured.

   2                  Q.       So, just to be a little bit more

   3        specific, if there was a press release issued by

   4        King Street Patriots, would that press release

   5        have come from an employee or from you, or would

   6        it have been something that you would have

   7        overseen or supervised?

   8                  A.       It could have -- really any of those

   9        could have been accurate.                        It may have been

 10         something that a volunteer wrote.                                 It would

 11         certainly have been something that I would have

 12         wanted to have seen.

 13                            Although I can't attest to having

 14         seen everything, unfortunately.

 15                   Q.       The standard practice was to, -- was

 16         for you to be able to approve all of the

 17         communications and the media that would come out

 18         of King Street Patriots, is that fair?

 19                   A.       That was the goal.                         That was the

 20         goal.

 21                   Q.       Have you heard of the organization

 22         called Time for a Hero?



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                                                                                                 Page 37
   1                  A.        Yes.

   2                  Q.        And what is your connection to that

   3        organization?

   4                  A.        The organization no longer is

   5        active, but that was an organization started by

   6        myself and Gregg Phillips.

   7                            The purpose of that organization was

   8        to assist with the needs of Special Forces

   9        Veterans.          And it started out sort of broadly

 10         looking to support the needs that ultimately

 11         turned into sort of a medical missions driven

 12         program.

 13                             And it was --

 14                   Q.        When did --

 15                   A.        Sorry, go ahead.

 16                   Q.        No, you finish your answer.

 17                   A.        It was -- well, I was about to say

 18         I'm not even really -- I don't quite remember

 19         when it started or ended.                         It was -- I'm sorry,

 20         please ask your question.

 21                   Q.        I was going to ask when it started.

 22                   A.        Let me think.                   20 -- I don't clearly



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                                                                                                Page 38
   1        remember, is probably my best answer.                                  2018'ish,

   2        2019.     But, I don't clearly remember.

   3                  Q.       So, after 2015, is that fair to say?

   4                  A.       Yes, yes.

   5                  Q.       And is that organization still in

   6        existence or still in operation?

   7                  A.       No.

   8                  Q.       When did the organization cease

   9        to -- cease all operations, I should say?

 10                   A.       As a practical matter we stopped

 11         doing -- we stopped doing activities, I guess, in

 12         2020, in late 2019 and early 2020.

 13                            But then submitted paperwork to the

 14         IRS, the final tax filing and so forth in 2020.

 15                   Q.       And why did the organization cease

 16         operations?

 17                   A.       We had the -- for a variety of

 18         reasons.       The hope of the organization was to

 19         support the medical needs or certain of the

 20         medical needs of Special Forces Veterans with

 21         traumatic brain juries.                      And that is a tall

 22         order.



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                                                                                                Page 39
   1                            There is a lot of things that you

   2        don't think about that will come with that.                                        And

   3        so, and there is so many new organizations that

   4        were better equipped to, I think, handle that.

   5                            And you know, we were just doing

   6        what we could.           I think we helped other

   7        organizations kind of find their footing but then

   8        at that point there was no real need for us to

   9        continue on.

 10                   Q.       Sounds like a lot of work.

 11                   A.       You know, it is, it is a lot.                                 It is

 12         a lot.

 13                   Q.       What was your role within Time for a

 14         Hero?

 15                   A.       I don't remember the structural --

 16         my structural designation in terms of the

 17         paperwork.         I don't remember if I was president

 18         or vice president.

 19                            But it was very sort of equally,

 20         equally yoked between Greg Phillips and myself.

 21         And primarily what I did was support the, support

 22         the intake, the review of applications for



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                                                                                                Page 40
   1        individuals who were requesting seeking help.

   2        Talking with those individuals and their

   3        families, trying to connect them to appropriate

   4        medical resources.

   5                            And then in the instances where they

   6        were, the assistance included travel, I would

   7        coordinate the travel for themselves and their

   8        partner and oversee all of that and make sure

   9        that they were taken care of as best as I could.

 10                            MR. NKWONTA:                  Just a quick aside

 11              here.

 12                            Joe, do you mind taking down

 13              Exhibit 75.            There we go.                  Much better.

 14                            So, I forgot that was still up

 15              there.        I was wondering why everyone was so

 16              small.

 17         BY MR. NKWONTA:

 18                   Q.       So, did you have volunteers at Time

 19         for a Hero like you did with King Street Patriots

 20         and True the Vote?

 21                   A.        Yes.

 22                   Q.       Approximately how many volunteers



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                                                                                                Page 41
   1        would you say you had between 2018 and 2020?

   2                  A.       Over that time, five or ten.                                Not

   3        many.

   4                  Q.       Any employees?

   5                  A.       We did have -- we did have someone

   6        who served as the executive director for a brief

   7        period of time.             I do not recall if he was

   8        treated as a contractor or an employee.                                    I

   9        apologize.

 10                   Q.       And who was in charge of Time for a

 11         Hero's communications?

 12                   A.       I handled many of them, most of

 13         them.     We had, depending upon the nature of the

 14         communication, we had doctors who volunteered and

 15         helped write some of the more specific things.

 16         Veterans oftentimes -- the wives of the veterans

 17         were very interested in helping to reach out to

 18         their communities and so forth.

 19                   Q.       So, for things like press releases

 20         or social media posts, things like that that

 21         weren't sort of technical documents, would you

 22         have been the point person for those types of



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                                                                                                Page 42
   1        communications?

   2                  A.       I, I have never done much with

   3        social media, just broadly.

   4                           We did have a volunteer and then

   5        later, as I mentioned, the gentleman who ran the

   6        organization -- it was actually two different

   7        ones.     One was a volunteer.                       One was either an

   8        employee or a contractor.

   9                           And those two gentlemen for the most

 10         part ran all of the social media.                                 And then I

 11         did, you know, we did -- I wrote, like I wrote a

 12         report on the nature of TBIs in combat and things

 13         like that.

 14                            But we didn't do much other than

 15         that.

 16                   Q.       Was the setup similar such that all

 17         of the communications would have to go through

 18         either you or one of the officers or employees at

 19         Time for a Hero?

 20                   A.       In that instance, I would say no.

 21         The two gentlemen who were -- that led different

 22         ones -- one was a volunteer, and I think a



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                                                                                                Page 43
   1        contractor, were both veterans themselves and

   2        very single-minded in their desire to

   3        communicate.

   4                           And so they oftentimes just

   5        communicated without --

   6                  Q.       And again --

   7                  A.       -- clear oversight from the Board.

   8                  Q.       And would they communicate on their

   9        own behalf or on behalf of Time for a Hero?

 10                   A.       I did not -- I have not seen

 11         everything that was ever put out.

 12                            I would, I would venture to say that

 13         it would -- their approach would have found it to

 14         be a little bit of both.                       That they would have

 15         communicated personally with their own

 16         experiences and then on behalf of the

 17         organization.

 18                   Q.       And would you have seen all of the

 19         communications that have come out from Time for a

 20         Hero?

 21                   A.       No.        No, I would -- I don't think

 22         so.



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                                                                                                Page 44
   1                  Q.       Do you have access to any of the

   2        organizations' press releases or statements?

   3                  A.       I may have some.                       I don't have all.

   4        Certainly I don't have all.                          I don't have access

   5        to any of the social media stuff anymore.

   6                  Q.       Did you at any point have access to

   7        any of the organizations' social media accounts?

   8                  A.       I would have known their log-ins.                                    I

   9        never posted anything that I recall.

 10                            But in the later periods of the

 11         organization, the individual who was organizing

 12         that or was overseeing the operation used it --

 13         changed the passwords and we didn't have them.

 14                   Q.       So, the two gentlemen that you spoke

 15         of who were also involved with the organization,

 16         what were their names?

 17                   A.       The first gentleman who ran the

 18         organization for a period was Travis -- I cannot

 19         remember his last name.                      I apologize.              And then

 20         the second gentleman was short lived.                                  His name

 21         escapes me.        I apologize.                  I don't recall his

 22         name.     I should.           I just don't.                   It is not coming



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                                                                                                Page 45
   1        to me right now.

   2                  Q.       What was his position?

   3                           MR. BOPP:               I have to unmute myself.

   4             I would like to talk to my client for one

   5             minute here.

   6                           So, if Catherine, you would turn off

   7             your video and your audio, I will do the same

   8             and I will call you.

   9                           MR. NKWONTA:                  Mr. Bopp --

 10                            THE WITNESS:                  Okay.

 11                            MR. NKWONTA:                  Mr. Bopp, I, I assert

 12              an objection to you conferring with your

 13              client about a pending question.                                 As you know

 14              that is improper under the federal rules, and

 15              I would ask that you allow --

 16                            MR. BOPP:               You can purport to

 17              instruct me however you wish.                                Good-bye.

 18                            THE VIDEOGRAPHER:                        Counsel, do you

 19              want to go off the record?

 20                            MS. BRYAN:                Are we still on the

 21              record?

 22                            MR. NKWONTA:                  No, I believe Joe said



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                                                                                                Page 46
   1             we are off the record.

   2                           MS. BRYAN:                I would recommend that

   3             you stay on the record and record the time

   4             that Bob left and the time Bob comes back on.

   5                           MR. NKWONTA:                  We can do that, but

   6             that will still be reflected on the --

   7             whether we are on or off the record, right?

   8                           MS. BRYAN:                Well, that is true.                    You

   9             are right.

 10                            MR. NKWONTA:                  So, let's go off the

 11              record just to save time.

 12                            THE VIDEOGRAPHER:                        We are now going

 13              off the video record, the time is 8:50 a.m.

 14                            (Recess taken -- 8:50 a.m.)

 15                            (After recess -- 8:55 a.m.)

 16                            THE VIDEOGRAPHER:                        We are now going

 17              back on the video record.                            The time is

 18              8:55 a.m.

 19         BY MR. NKWONTA:

 20                   Q.       Ms. Engelbrecht, we just took a

 21         short break.         Now we are back on the record.

 22                            Do you recognize that you are still



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                                                                                                Page 47
   1        under oath?

   2                  A.       Yes.

   3                  Q.       During the break, did you discuss

   4        with your counsel any of the questions that I

   5        asked or the response to the question that I had

   6        asked before you took a break?

   7                           And I'm asking this without

   8        disclosing the, what you actually discussed.                                        I'm

   9        asking whether you discussed the content of the

 10         question that I asked before we took a break?

 11                   A.       No.

 12                   Q.       So, you did not discuss any of my

 13         questions about Time for a Hero before we took a

 14         break?

 15                   A.       No.

 16                   Q.       During that break you did not

 17         discuss any of the questions that I asked

 18         regarding Time for a Hero with Mr. Bopp?

 19                   A.       No.

 20                            MR. NKWONTA:                  Okay.          Joe, could we

 21              pull up Exhibit 74, please.

 22                                     (Exhibit 74 marked for



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                                                                                                Page 48
   1                                      identification.)

   2        BY MR. NKWONTA:

   3                  Q.       Ms. Engelbrecht, do you recognize

   4        Exhibit 74?

   5                  A.       Yes.

   6                  Q.       What is it?

   7                  A.       It is the 990EZ for Time for a Hero.

   8                  Q.       For which tax year?

   9                  A.       For 2019.

 10                   Q.       And in 2019, Time for a Hero was

 11         still in operation; is that correct?

 12                   A.       Yes.

 13                            MR. NKWONTA:                  Could we go to the

 14              second page of this document, please.

 15         BY MR. NKWONTA:

 16                   Q.       If you look to Part 4,

 17         Ms. Engelbrecht, it states list of officers

 18         directors, trustees and key employees.                                   And it

 19         says list each one even if not compensated.                                        Is

 20         that correct?

 21                   A.       Yes.

 22                   Q.       And could you read into the record



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                                                                                                Page 49
   1        the individuals listed there as officers,

   2        directors, trustees and key employees, whether

   3        paid or unpaid?

   4                  A.       Catherine Engelbrecht, Executive

   5        Director, and Greg Phillips, Director.

   6                  Q.       And would you say that this form was

   7        accurate?

   8                  A.       I think that the hours per week was

   9        an understatement.                But beyond that we were not

 10         compensated.         So that part is accurate, yes.

 11                   Q.       So, aside from the average hours per

 12         week, would you say the performance is accurate?

 13                   A.       Yes.

 14                            MR. NKWONTA:                  You can pull this

 15              down, Joe.

 16         BY MR. NKWONTA:

 17                   Q.       Is there any relationship between

 18         Time for a Hero and King Street Patriots and True

 19         the Vote?

 20                   A.       No.

 21                   Q.       And you say that because they are

 22         all separate entities?



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                                                                                                Page 50
   1                  A.       They are all separate entities, that

   2        is true, but also there was no -- it was very,

   3        very, very different.

   4                  Q.       Are you familiar with the Ohio Voter

   5        Integrity Project?

   6                  A.       I think I -- I don't recall.

   7                  Q.       Have you heard of --

   8                  A.       I just don't want to be wrong.

   9        There are so many groups that have such similar

 10         names.      And if we are referring -- well, I just,

 11         I don't recall.

 12                            I'm sure as you ask me questions it

 13         will become clear.

 14                   Q.       Have you heard the name, Ohio Voter

 15         Integrity Project, before?

 16                   A.       I have heard that name, yes.

 17                   Q.       Where have you heard that name

 18         before?

 19                   A.       There are groups now with that name

 20         that I have heard.                There was a group many years

 21         ago that used that name that I was aware of.

 22                   Q.       Do you know -- let me rephrase that



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                                                                                                Page 51
   1        question.

   2                           Who is Mary Siegel?

   3                  A.       I believe that Mary Siegel was

   4        affiliated or was from Ohio.

   5                           I do not know if she was affiliated

   6        with the organization or not, but I do believe

   7        she was from Ohio.

   8                  Q.       How do you know Mary Siegel?

   9                  A.       She attended a True the Vote summit

 10         that we held in 2011 as I -- and participated in

 11         some of the webinars and so forth that we hosted.

 12                   Q.       What other interactions have you had

 13         with Mary Siegel?

 14                   A.       We hosted a -- True the Vote hosted

 15         a conference, a meeting, the open meeting in Ohio

 16         that she attended.

 17                   Q.       Have you done any work with Mary

 18         Siegel?

 19                   A.       If in by work you mean did they

 20         participate in webinars --

 21                            MR. BOPP:               Catherine, Catherine, not

 22              proper for you to rephrase the question.



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                                                                                                Page 52
   1                           If you don't understand the

   2             question, you tell him please rephrase it or

   3             clarify it.            And that is his job, not your

   4             job.

   5                           Because then, because otherwise you

   6             are asking questions --

   7                           MR. NKWONTA:                  Counsel, are you

   8             asserting an objection?                         I'm not sure what is

   9             going on here, is this an objection?                                    Because

 10              if it is not I don't know what you are doing

 11              exactly.

 12                            MR. BOPP:               I am objecting.

 13                            MR. NKWONTA:                  What is your

 14              objection?

 15                            MR. BOPP:               You are not entitled to

 16              ask questions of me.

 17                            MR. NKWONTA:                  I'm actually entitled

 18              under the rules to ask you the nature of your

 19              objection, because the rules give me the

 20              right to cure my question.                             So, what is the

 21              nature of your objection?

 22                            MR. BOPP:               I will accommodate you



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                                                                                                Page 53
   1             this time.          My objection is that she is,

   2             rather than answering the question, she is

   3             rephrasing the question.                           And that is

   4             improper.         As I said, it is improper for the

   5             witness to phrase questions herself to answer

   6             herself.        That is your job.                        Not her job.

   7                           MR. NKWONTA:                  So, you are objecting

   8             to your witness's answer?

   9                           MR. BOPP:               You have heard my

 10              objection.

 11         BY MR. NKWONTA:

 12                   Q.       You may answer my question,

 13         Ms. Engelbrecht.

 14                   A.       Would you repeat the question,

 15         please.

 16                   Q.       Sure.          Have you worked with Mary

 17         Siegel?

 18                   A.       I have not directly worked with Mary

 19         Siegel.       She, I recall her as a volunteer or as

 20         someone who participated in events that we

 21         posted.

 22                   Q.       Have you been involved with any of



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                                                                                                Page 54
   1        Mary Siegel's, I believe you called it voter

   2        integrity work or vice versa?                             Or has she been

   3        involved with any of your voter integrity work or

   4        any of your organizations' voter integrity work?

   5                  A.       I meant to try to be more precise in

   6        this.     Could you define what you mean by

   7        involved?

   8                  Q.       Has she participated?

   9                  A.       So, she has participated in programs

 10         that True the Vote made available, just broadly.

 11                            But what she did in her individual

 12         capacities or with other organizations, I don't

 13         know.     Or it was not a part of what True the Vote

 14         does.

 15                   Q.       Have you or anyone from True the

 16         Vote or King Street Patriots participated in any

 17         of Mary Siegel's, as you would call it, voter

 18         integrity work?

 19                   A.       We have not participated, no.

 20                   Q.       Have you followed any or are you

 21         aware of Mary Siegel's voter integrity work?

 22                   A.       I am aware, yes.



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                                                                                                Page 55
   1                  Q.       And how are you aware of Mary

   2        Siegel's voter integrity work?

   3                  A.       There was an instance in which Mary

   4        submitted information to her county regarding

   5        voter registrations that she was questioning.

   6                           And, while we were not aware of

   7        that, the media certainly made the attachment to

   8        us.    And so, you will see where I, you know, made

   9        comments about the intent of the program and the

 10         intent of the effort.

 11                            But, I didn't know what they were

 12         doing.      And so, you know, that is kind of the net

 13         of it.

 14                   Q.       I see.           So you learned about it

 15         after it happened; is that fair?

 16                   A.       Yes.         Yes.

 17                   Q.       And are you referring to the 422

 18         challenges in Hamilton County based on the Postal

 19         Service change of address registry?

 20                   A.       I am -- I am referring to the

 21         challenges.        I do not know on what basis they

 22         submitted those challenges.                          I just know it was



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                                                                                                Page 56
   1        attributed to us.

   2                           But I don't know anything more about

   3        those.

   4                  Q.       And the articles that you reviewed,

   5        did you see any reference to address changes or

   6        change of address in the challenges?

   7                  A.       I saw references to address, yes.

   8                  Q.       So, did you learn at some point

   9        after, did you learn that the challenges involved

 10         addresses of voters or residency?

 11                   A.       I did, yes.

 12                   Q.       And did you learn that the

 13         challenges involved information from the Postal

 14         Service?

 15                   A.       I don't know where they got the

 16         information upon which they based their

 17         challenges.

 18                   Q.       You just know that they were based

 19         on changes of address?

 20                   A.       Just, in preparation for today and

 21         in reading, knowing that Ohio was named, I went

 22         back to see what it might have been.                                  And that is



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                                                                                                Page 57
   1        really the extent of my recollection around all

   2        of this.

   3                           It was just being asked about it by

   4        the press.

   5                  Q.       And, but around the time

   6        contemporaneously or shortly after it happened,

   7        you were aware of it because you were asked about

   8        it by the press and you had read about it; is

   9        that right?

 10                   A.       Yes, yes.               Yes.

 11                   Q.       And you were also aware that those

 12         challenges were rejected; is that right?

 13                   A.       Actually, in my reading just last

 14         evening, actually, I read that of those

 15         challenges, some were rejected and some were not.

 16                            But, that is again based upon just

 17         my, my reading recently.                       I didn't know at the

 18         time what any particular outcome was.

 19                   Q.       At the time, were you aware of any

 20         of the challenges that had succeeded or that were

 21         upheld?

 22                   A.       I don't recall.



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                                                                                                Page 58
   1                  Q.       Are you familiar with the

   2        organization Verify the Vote?

   3                  A.       No.

   4                  Q.       Have you ever heard the name, Verify

   5        the Vote?

   6                  A.       I have, yes.                  I have heard the name.

   7        I just, I don't know -- I have heard the name,

   8        yes.

   9                  Q.       Where have you heard the name?

 10                   A.       I have heard the use of that name in

 11         just over the years in -- there are so many

 12         groups named so many similar things.

 13                            I have read the name somewhere, but

 14         I don't have any other -- well, that is where I

 15         have heard it.

 16                   Q.       Have you ever commented on Verify

 17         the Vote or any of the group's activities?

 18                   A.       I do not recall.

 19                   Q.       All right.                I would like to move on

 20         to some of True the Vote's election monitoring

 21         activities that you alluded to earlier.

 22                            And I want to start with one of the



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                                                                                                Page 59
   1        activities that I would like you to explain and

   2        describe which is Seals to the Polls.                                  Have you

   3        heard that term used before?

   4                  A.       I have not heard that term.                               But --

   5        I mean, I have not heard that term, no.

   6                  Q.       Have you discussed or considered

   7        initiatives to bring Navy Seals to serve as poll

   8        watchers or Navy Seals to the polls?

   9                  A.       In 2020, we had an initiative called

 10         Continue to Serve that was directed towards

 11         veterans and first responders working in the

 12         polls or volunteering to work in the polls.

 13                            And for a brief period that effort

 14         was led by a Former Navy Seal.                              And so he was

 15         quick to, you know, refer to the Seals, but yes.

 16                   Q.       Was that ever one of the goals or

 17         the targets to ensure that, or to get Navy Seals

 18         to serve as poll monitors?

 19                   A.       Well, it was the goal to encourage

 20         veterans and first responders to participate,

 21         because we need everybody -- the entire process

 22         needs more volunteers.                     There are just not enough



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                                                                                                Page 60
   1        volunteers working inside of elections.

   2                           And the thought behind the outreach

   3        was that these were folks that are very good at

   4        chain of command, at understanding process.

   5                           And in our experience they make

   6        great volunteers for these kinds of things,

   7        because often when you have people who are very

   8        well intended, but they are not as familiar with

   9        that construct of, you know, ordered processing

 10         and very observant of standards and time periods

 11         in which things must be reported in an orderly

 12         fashion, that can throw people.

 13                            And for people that come out of

 14         backgrounds that are more oriented towards that

 15         chain of command, that works, they do really

 16         well.     And so that was the thought behind

 17         Continue to Serve.

 18                            MR. NKWONTA:                  Joe, can you pull up

 19              Exhibit 65 or Document 65.

 20                                     (Exhibit 65 marked for

 21                                       identification.)

 22         BY MR. NKWONTA:



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                                                                                                Page 61
   1                  Q.       Ms. Engelbrecht, Document 65 is a

   2        transcript of a statement that you made which we

   3        had transcribed and which we -- which True the

   4        Vote acknowledged in response to one of our

   5        requests for admission that this was a correct --

   6        it is a true and correct transcript.

   7                           MR. NKWONTA:                  Joe, can you go to --

   8                           MR. BOPP:               I'm sorry, I have a

   9             question.         I didn't understand what you just

 10              said.

 11                            What is the date of this, did you

 12              say?

 13                            MR. NKWONTA:                  The date of this

 14              transcript?

 15                            MR. BOPP:               Yes.         You gave a date.

 16                            MR. NKWONTA:                  August 13, 2021.

 17                            MR. BOPP:               Okay, all right, thank

 18              you.      Sorry, I didn't understand what you

 19              said.

 20                            MR. NKWONTA:                  Joe, can you go to the

 21              second page of this transcript.

 22         BY MR. NKWONTA:



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                                                                                                Page 62
   1                  Q.       Ms. Engelbrecht, can you read this

   2        second paragraph into the record.

   3                  A.       "Of interest here, we have a new

   4        initiative called Continue to Serve which is

   5        about recruiting veterans and first responders to

   6        work inside the polls.                     You want to talk about

   7        people who understand and respect law and order

   8        and chain of command, you get Seals in the polls.

   9                           "And they're going to say no, no,

 10         that is not -- this is what it says and this is,

 11         this is how we're going to play the show.                                      And

 12         that's what we need."

 13                   Q.       When you were making this statement

 14         and when you were referring to Seals in the

 15         polls, who did you envision them referring to or

 16         interacting with?

 17                   A.       Well -- I'm sorry.                         Can you repeat

 18         the question?

 19                   Q.       Sure.          Who did you envision -- when

 20         you were making the statement, who did you

 21         envision the Seals interacting with or talking

 22         to?



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                                                                                                  Page 63
   1                  A.       Depending upon the capacity in which

   2        they were working, things can get very confusing

   3        in polling places.                And the thought was just the

   4        individuals that are, as I say here, familiar

   5        with that kind of law of order and chain of

   6        command and understanding process are very

   7        decisive in their, this is how we need to do

   8        this, this is what the rules say.

   9                           So, I'm familiar with this entire

 10         situation and how this came about.                                    And I would

 11         say that, you know, it was taken out of context.

 12         That is, what I have just explained to you was

 13         the, the rationale behind the comment.

 14                   Q.       And you anticipate that these Seals

 15         would be interacting with people in the polling

 16         place including voters or election officials; is

 17         that correct?

 18                   A.       I would say that veterans and first

 19         responders, working inside the polls, depending

 20         upon their capacity, may interact with voters,

 21         also depending upon the state.

 22                            If they were serving in the capacity



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                                                                                                Page 64
   1        of poll watcher, they would not engage with

   2        anyone.        If they were working as a judge or a

   3        clerk, then they may.

   4                           And certainly with one another as

   5        part of the team working at the polls which can

   6        get very confusing, they would interact together

   7        working with others there at the polling place.

   8                  Q.       Who is Ed Hiner?                       H-I-N-E-R is the

   9        last name.

 10                   A.       He temporarily was the spokesperson

 11         for Continue to Serve.

 12                   Q.       You say temporarily.                           Did he stop

 13         being a spokesperson at some point?

 14                   A.       He did, yes.

 15                   Q.       Why is that?

 16                   A.       He also had a program that was a

 17         leadership program for after school, like after

 18         school programs.

 19                            And that -- in California.                              And that

 20         really got busy.              And he was also writing a book

 21         or had written a book and was promoting that

 22         book.     And, you know, the oversight of an effort



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                                                                                                  Page 65
   1        like this is, takes a lot of time.                                    And he just

   2        didn't have that time to devote because there

   3        were so many other interests in play for him.

   4                  Q.       Have you seen or are you familiar

   5        with news articles or news reports in which Ed

   6        Hiner claimed that he withdrew after realizing

   7        how partisan the program had become?

   8                  A.       No, I'm not aware of that.

   9                  Q.       Do you have any reason to dispute

 10         that those were his reasons for withdrawing?

 11                   A.       Well, the reasons for his withdrawal

 12         were, as I have stated, he didn't have the time.

 13                            He was shocked by how mean spirited

 14         comments can be about these kinds of efforts.

 15         And he didn't have any political background and

 16         didn't want it to -- he didn't, he didn't want

 17         the, the animus that comes oftentimes,

 18         unfortunately, with detractors who are looking to

 19         try to find a partisan angle here when there is

 20         none.     But that is not what the media will

 21         report.

 22                   Q.       And did you discuss Mr. Hiner's



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                                                                                                Page 66
   1        concerns with him?

   2                  A.       Yes, I recall that we talked about

   3        it and I understand.                  I mean it is a lot.

   4                  Q.       And when you talked about it with

   5        him did he relay the concerns about the program

   6        being partisan?

   7                  A.       Not the program.                       No, our program

   8        was not partisan.               He was shocked at, you know,

   9        how could it be that the comments were taken and

 10         twisted in a way that made things seem negative.

 11         That was a shock to him.

 12                   Q.       I want to ask you about a different

 13         program.       Have you heard or used the phrase,

 14         Validate the Vote?

 15                   A.       Yes.

 16                   Q.       And where did that phrase come from?

 17                   A.       It was a recommended name given to,

 18         or suggested to me, by a consultant of a donor

 19         that had come to us and had suggested, the

 20         consultant suggested the name, Validate the Vote,

 21         and I have used it.

 22                   Q.       Is that phrase -- is that name, is



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                                                                                                Page 67
   1        that specific to True the Vote?

   2                  A.       I don't know.

   3                  Q.       Have you heard of any other

   4        organizations that have used that phrase for any

   5        of their programs?

   6                  A.       I have.            I have.

   7                  Q.       Which ones?

   8                  A.       The consultant who suggested that we

   9        use that name went on to start his own

 10         organization or had some other affiliation with

 11         an organization that was using that name.

 12         Whether or not they are still doing anything I

 13         don't know.

 14                            But I recall seeing the -- I was

 15         shocked to see that that had occurred.

 16                   Q.       When did the consultant recommend

 17         this name to you?

 18                   A.       On November the 5th.

 19                   Q.       What year?

 20                   A.       Oh, sorry, 2020.

 21                   Q.       And when did you see the consultant

 22         start a different organization and use that same



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                                                                                                Page 68
   1        phrase?

   2                  A.       I do not recall.                       Shortly

   3        thereafter, but I do not recall.

   4                  Q.       Other than that, do you recall any

   5        other instances of organizations announcing sort

   6        of Validate the Vote issues?

   7                  A.       I do -- I cannot give you a specific

   8        organization to direct your intentions to, but

   9        that term I have seen many times, often with the,

 10         you know, with the state attached to it, Validate

 11         the Vote in a certain state or something like

 12         that.

 13                            So, my recollection is I have read

 14         it and seen it other places, but I can't give you

 15         any other specifics about where to look.

 16                   Q.       And during the 2020 election cycle

 17         and the lead up to the 2021, the January 2021

 18         runoff in Georgia, was Validate the Vote or the

 19         phrase or the name of one of the programs that

 20         True the Vote was initiating in Georgia and

 21         elsewhere?

 22                   A.       Validate the Vote was used broadly.



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                                                                                                Page 69
   1        We had an election integrity hotline, and it

   2        didn't have a name so to speak.                               So we named it

   3        Validate the Vote.

   4                           And then when the attentions turned

   5        towards Georgia, as I recall, we would say

   6        Validate the Vote Georgia, but it was still a

   7        national effort.

   8                           Does that answer your question?

   9                  Q.       Yes, it does.                   You have used the

 10         word, bounty on fraud, before, correct?                                    In

 11         discussing the Validate the Vote program?

 12                   A.       I don't -- I have read through this

 13         in the preparation for this.                            I don't recall

 14         saying that but -- I don't recall saying that,

 15         but -- well, I will leave it at that.                                  I don't

 16         recall saying it.

 17                            MR. NKWONTA:                  Joe, can you pull up

 18              Exhibit 64, please.                     And if we can go to

 19              Page 3 of Exhibit 64.

 20                                     (Exhibit 64 marked for

 21                                       identification.)

 22         BY MR. NKWONTA:



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                                                                                                Page 70
   1                  Q.       Ms. Engelbrecht, can you look -- can

   2        you read into the record that starting with the

   3        first full sentence -- or starting on the second

   4        line, first full sentence, could you read that

   5        sentence into the record?

   6                  A.       Sure, sure.                 "And what Validate the

   7        Vote is about is putting a bounty on the fraud.

   8        Creating an environment for whistleblowers to

   9        come forward and tell the story, make sure that

 10         they have protections, make sure that they have

 11         compensation, and further, creating a space for

 12         people to come and share what they know or share

 13         with us what they know and then let us try to

 14         aggregate it."

 15                   Q.       So, Exhibit 64 is a transcript of

 16         some remarks you gave during a podcast.

 17                            Do you recall this podcast?

 18                   A.       I did host a podcast for a brief

 19         period of time.             I absolutely recall that.

 20                   Q.       When you used the term, Validate the

 21         Vote and the Bounty on Fraud here, can you

 22         describe what you were referring to?



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                                                                                                Page 71
   1                  A.       Sure.          These were extemporaneous

   2        unscripted, just me talking.

   3                           And, I used that word for -- clearly

   4        it is there.         I don't recall saying it, but

   5        clearly it was there.                   It was very much just sort

   6        of a riff of trying to explain, you know, what

   7        Validate the Vote was going to try to do.

   8                           And that is the nature of all of the

   9        comments, which is just sort of a riff of trying

 10         to explain it.

 11                   Q.       In addition to the protection that

 12         you mentioned that you wanted to offer to

 13         whistleblowers, did that also include legal

 14         support?       Did you also discuss offering legal

 15         support to whistleblowers?

 16                   A.       I do recall in other instances

 17         saying that it would be -- you know, legal

 18         support would be one of the things that we would

 19         hope to be able to offer.

 20                   Q.       And why did you want to offer legal

 21         support to whistleblowers?

 22                   A.       There were people coming to us and



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                                                                                                Page 72
   1        just over the years, you know, people that have

   2        information that they would like to share and are

   3        concerned.

   4                           And want to not be left hanging if

   5        they say something that, you know, would lead to

   6        a place of needing counsel, you know, needing

   7        some kind of representation.                            And, you know, I

   8        can appreciate that.

   9                           So we just wanted to create an

 10         environment where if they wanted to say something

 11         we would, we would be with them.

 12                   Q.       Did you offer that in order to, in

 13         order to encourage whistleblowers to come

 14         forward?

 15                   A.       Is the question did we offer to pay

 16         for legal counsel in order to encourage the

 17         whistleblowers to come forward?                               Is that -- I'm

 18         sorry --

 19                            MR. BOPP:               Catherine, Catherine --

 20                            THE WITNESS:                  Could you repeat it?

 21              Could you repeat the question?

 22                            MR. BOPP:               Excuse me, I am speaking.



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                                                                                                Page 73
   1                           MR. NKWONTA:                  She is speaking as

   2             well, but you have to assert an objection.

   3             What is your objection?

   4                           MR. BOPP:               If you stop talking, I

   5             will interpose my objection.

   6                           My objection is, Catherine, you are

   7             not to rephrase the question.                                You are to

   8             answer the question.

   9                           If you don't know the -- if you

 10              can't answer the question because it is

 11              unclear or whatever, then ask him to rephrase

 12              the question.              And that is my objection.

 13                            THE WITNESS:                  Could you repeat the

 14              question?

 15         BY MR. NKWONTA:

 16                   Q.       Certainly.

 17                            MR. NKWONTA:                  Before I do, I want to

 18              state for the record, Mr. Bopp's objections

 19              are actually not objections under any

 20              definition of the federal rules.                                 It is

 21              actually coaching the witness.

 22                            So, I object to you coaching your



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                                                                                                 Page 74
   1             witness during the testimony.                                 And I ask that

   2             you refrain from doing that further in this

   3             deposition.

   4                            You have not asserted any objections

   5             to my questions.                  You don't get to object to

   6             your witness's own testimony.

   7        BY MR. NKWONTA:

   8                  Q.        Ms. Engelbrecht, I will repeat my

   9        question.          Did you offer legal support because

 10         you thought it would encourage whistleblowers to

 11         come forward?

 12                   A.        Thank you.                I thought that by making

 13         it known that there would be legal support for

 14         people who came forward, that it may encourage

 15         people who were otherwise concerned about not

 16         being able to withstand the whirlwind that these

 17         things came to elicit.

 18                   Q.        So, was it your view that concerns

 19         about legal ramifications would keep some

 20         whistleblowers from coming forward?

 21                   A.        I'm sorry, can you repeat the

 22         question?



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                                                                                                Page 75
   1                  Q.       Sure.          Was it your view that

   2        concerns about potential legal ramifications

   3        would keep some whistleblowers from coming

   4        forward?

   5                  A.       It was my concern that, or my belief

   6        that, in the environment in which we find

   7        ourselves, it seems that it doesn't take too much

   8        to end up being caught into a lawsuit.

   9                           And that we have all watched as

 10         people who never thought they would find

 11         themselves involved in anything like this do.

 12         And that keeps a lot of people -- that has a very

 13         chilling effect.

 14                            And so the thought was to try to

 15         create an environment, as I say here on this

 16         exhibit that is on the screen, to create a space

 17         for people to come to and know that they wouldn't

 18         be alone.

 19                   Q.       So, and just to make sure I am fully

 20         understanding, I think I am following what you

 21         are saying.

 22                   A.       Sure. Sure.



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                                                                                                Page 76
   1                  Q.       To make sure I'm fully

   2        understanding.

   3                           Was it your concern that without

   4        providing that legal support people may not come

   5        forward because they were concerned about

   6        potential legal ramifications?

   7                           MR. BOPP:               I object.              Asked and

   8             answered now multiple times.                               You are

   9             harassing the witness.

 10                            But you may answer if you, you know,

 11              and if you -- you may answer.

 12                            THE WITNESS:                  Yeah, I feel like I

 13              have answered it.                  I feel like I have

 14              answered the question.

 15                            We thought that creating or making

 16              it known that if people came forward and

 17              needed some kind of legal support that we

 18              would help support that.                           That was the reason

 19              that I said what I said.

 20         BY MR. NKWONTA:

 21                   Q.       I understand that you feel like you

 22         have answered the question.                          I do, I do want to



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                                                                                                Page 77
   1        get clarity on your answer.

   2                  A.       Sure.

   3                  Q.       Just to make sure that I am

   4        following.         And I understand that Mr. Bopp has

   5        objected that it is asked and answered.

   6                           MR. NKWONTA:                  I am willing to take

   7             that as a standing objection, unless you want

   8             to interject again.

   9        BY MR. NKWONTA:

 10                   Q.       But I want to just ask the question

 11         once more and just make sure that I get, I fully

 12         understand your answer.

 13                            The question I'm asking is slightly

 14         different, I think.                 What I am asking is not just

 15         why you offered legal support, but whether you

 16         felt like the potential legal ramifications of

 17         being a whistleblower or coming forward might

 18         prevent people from whistleblowing or from coming

 19         forward?

 20                   A.       I don't want to rephrase the

 21         question, but no, that -- as I understand the

 22         question again repeated, no, that that was not



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                                                                                                Page 78
   1        the impetus for my comments about offering legal

   2        support.

   3                  Q.       You made a comment about the

   4        environment that we are currently in.                                  Do you

   5        think that environment deters people from coming

   6        forward?

   7                  A.       Yes.

   8                  Q.       And by environment, I mean sort of

   9        the atmosphere that has been created especially

 10         during the post-election period, especially

 11         during the run-up to the 2021 runoff election.

 12                            Do you feel like that atmosphere and

 13         that environment could have deterred people from

 14         coming forward?

 15                   A.       Yes.

 16                   Q.       Moving on to Page 4.

 17                            MR. NKWONTA:                  Sorry, can you blow

 18              that up a little bit more?

 19                            And at the very bottom of Page 4,

 20              can we go, scroll down a little bit more,

 21              Joe.      At the very bottom of Page 4.

 22         BY MR. NKWONTA:



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                                                                                                 Page 79
   1                  Q.       You make the statement there of the

   2        last paragraph.             It says, "That is going to be a

   3        standing offer and the dollars will continue to

   4        increase as awareness grows."

   5                           What did you mean by that?

   6                  A.       Give me one second to read the

   7        preceding paragraph.

   8                  Q.       Sure.

   9                  A.       Again these were just, you know,

 10         riffs, but I, having read the preceding

 11         paragraph, when I said that is going to be a

 12         standing offer, that would have necessarily tied

 13         to my previous comments about how they could

 14         reach to the various outlets, the websites, the

 15         phone number, support, financial support, legal

 16         support.       I used the term, whistleblower

 17         immunity.

 18                            So, so that is what I was referring

 19         to.

 20                   Q.       So, I want to break that down --

 21                   A.       Oh, I'm sorry -- okay.                             Yes, please.

 22                   Q.       No.        Please continue.



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                                                                                                Page 80
   1                  A.       You also asked about the dollars

   2        will continue to grow.

   3                           That was a -- the more that these

   4        types of services or types of supports are

   5        required, the more expensive that would become.

   6                           And there was nothing behind that

   7        other than to say, you know, more people would be

   8        willing to support and donate and help if that

   9        became necessary.

 10                            And that was my opinion and that is

 11         I'm sure what was going through my mind at the

 12         time.

 13                   Q.       So, more people would be willing to

 14         support and donate to what exactly?

 15                   A.       It's in the instance that people

 16         were sharing information, that lawsuits were, you

 17         know, on the radar.                 That a broad support was

 18         potentially necessary of a variety of types, I

 19         would imagine.

 20                            That the people that support the

 21         work that True the Vote does, would have a part

 22         for seeing the, you know, the people that came



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                                                                                                Page 81
   1        forward would be taken care of and not just left.

   2                  Q.       So, is one way to read this then is

   3        that the dollars or the support, the financial

   4        support or donations or dollars of True the

   5        Vote -- and True the Vote's efforts will increase

   6        as awareness of the Validate the Vote program and

   7        these other efforts grows.

   8                           Is that, is that a fair reading?

   9                  A.       Yes, I think that is fair.

 10                   Q.       You also had a Validate the Vote

 11         program hotline; is that right?

 12                   A.       Yes.

 13                   Q.       Was it called a Validate the Vote

 14         Program Hotline or was there a specific name for

 15         it?

 16                   A.       Well, not initially.                           Every election

 17         cycle we host a hotline that is both available

 18         online, and then we have a toll free number that

 19         people can call and share any manner of things.

 20                            And that has been consistent over a

 21         number of cycles.

 22                            In the most recent cycle, we had



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                                                                                                Page 82
   1        started the hotline in late September.                                   And we

   2        didn't begin to use the name Validate the Vote

   3        until, as I mentioned, November 5th or 6th,

   4        something like that.

   5                  Q.       But the hotline itself doesn't have

   6        a specific name separate from Validate the Vote;

   7        is that right?

   8                  A.       Just the Election Integrity Hotline.

   9                  Q.       And someone didn't have any ideas

 10         for that?

 11                   A.       No.

 12                   Q.       Well, it is the Validate the Vote

 13         hotline that you initiated, when did that hotline

 14         take off for the 2020 election?                               Or when was that

 15         hotline officially opened?

 16                   A.       In, in, the hotline itself, just the

 17         election integrity hotline, that is actually up

 18         on our website right now.                        But we added the -- we

 19         expanded the use of it for, to host live, live

 20         operators taking calls and so forth.                                  That

 21         started in late September of 2020.

 22                   Q.       So, that hotline started in late



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                                                                                                 Page 83
   1        September 2020, and it is still ongoing or is

   2        there a period in which the hotline stopped

   3        receiving calls?

   4                  A.       It is still available.                             People still

   5        report things.           Certainly the focus is no longer

   6        what it was then, but we do still have that up.

   7        And it is a useful way for people to help

   8        organize their thoughts about their questions and

   9        what it is that they are seeking help with.

 10                   Q.       Did you keep track of the reports

 11         that came in through the hotline?

 12                   A.       As best as we could, yes.

 13                   Q.       And what did you do with those

 14         reports?

 15                   A.       They were provided to me and to the

 16         True the Vote team on a routine basis to review,

 17         and I'm sure they have been archived somewhere.

 18                            MR. NKWONTA:                  Joe, can you pull up

 19              Document 35 or Exhibit 35.                             And we are going

 20              to need to blow that up significantly or

 21              magnify that so we can look at some of these

 22              entries.



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                                                                                                Page 84
   1                                    (Exhibit 35 marked for

   2                                      identification.)

   3        BY MR. NKWONTA:

   4                  Q.       Do you recognize Exhibit 35,

   5        Ms. Engelbrecht?

   6                  A.       I recognize it from the package of

   7        exhibits that was included for the purposes of

   8        this deposition.              So, I reacquainted myself.                            I

   9        couldn't read it myself when I was looking at it

 10         but --

 11                   Q.       Is this one of the -- sorry.                                Were

 12         you finishing your answer?

 13                   A.       Yes.

 14                            THE WITNESS:                  Is it possible maybe

 15              to enlarge it a little bit more?                                 Perfect.

 16              Can you scroll to the right so I can see the

 17              headings?

 18                            Yes.         I'm sorry.                Could you repeat

 19              your question?

 20         BY MR. NKWONTA:

 21                   Q.       I wanted to ask, is this the list of

 22         the report of the incidents that you received



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                                                                                                Page 85
   1        through the Voter Integrity Hotline?

   2                  A.       This is consistent with the layout

   3        of the rollup report that came to us, yes.

   4                  Q.       And this is a document that True the

   5        Vote produced, correct?

   6                  A.       Yes.

   7                  Q.       And this should reflect the reports

   8        from the Voter Integrity Hotline or whatever the

   9        hotline is called; is that right?

 10                   A.       Yes.

 11                   Q.       What did True the Vote do to vet

 12         these reports?

 13                   A.       As they came in, the reports came in

 14         either via phone or via e-mail.                               If they came in

 15         via phone and the report was something that was

 16         easily answered, that could be directed back to

 17         either the individual's location and therefore

 18         their own municipality's website for certain

 19         questions or concerns, then that instruction was

 20         given.

 21                            If there were reports of some type

 22         of impropriety or malfeasance, or something that



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                                                                                                Page 86
   1        seemed beyond just a standard, you know, I didn't

   2        get my ballot, I got two ballots, where can I

   3        vote, those kinds of things, the things that rose

   4        beyond that, then those would be reviewed and

   5        either forwarded to the appropriate authorities

   6        or further vetted.                And, you know, determined

   7        whether or not it would be appropriate to have

   8        additional support in verifying the information

   9        that had been provided.

 10                   Q.       Does this document reflect all of

 11         the reports that you recorded from the Voter

 12         Integrity Hotline?

 13                   A.       If this is the first page of the

 14         document then, from the Election Integrity

 15         Hotline, it would not have been because that

 16         started in the end of September.

 17                   Q.       Let me rephrase my question then and

 18         limit it to the runoff election.

 19                   A.       Sure.

 20                   Q.       For the runoff election in Georgia,

 21         does this, does this spreadsheet capture all of

 22         the reports from the Voter Integrity Hotline?



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                                                                                                Page 87
   1                  A.       I cannot attest to that.                            The dates

   2        seem to be consistent.                     I don't know if there are

   3        additional pages.               About that I am not sure.

   4                           But it would have been a standard

   5        download to provide to you, you know, for the

   6        purposes of the document production.

   7                           So, I just don't know if this is --

   8        I did not prepare this document production.

   9        Someone else from our team did.

 10                            So, I -- but it is consistent in its

 11         formatting.

 12                   Q.       Are you aware of any reports to the

 13         Voter Integrity Hotline during the runoff

 14         election that are not included in Exhibit 35?

 15                   A.       I'm not aware of any, no.

 16                            MR. NKWONTA:                  Joe, can we go to the

 17              second to the last entry there?

 18         BY MR. NKWONTA:

 19                   Q.       So, some of these reports -- and I

 20         will ask the question again, as to what True the

 21         Vote did to vet these reports.

 22                            MR. NKWONTA:                  Can you scroll to the



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                                                                                                  Page 88
   1             right, Joe?            Okay.          And you can stop there.

   2             Or scroll down to the left.                              All right.             You

   3             can stop there.

   4        BY MR. NKWONTA:

   5                  Q.       Can you read that second last row

   6        entry, Ms. Engelbrecht?

   7                  A.       The second -- are you referring to

   8        the democrats are winning?

   9                  Q.       Yes.

 10                   A.       Sure.          The one that was reported by

 11         Donald Trump, yes.

 12                            "The Democrats are winning.                                 That is

 13         not supposed to happen, so I hope you will file a

 14         lawsuit to overturn their victory.                                    In the USA

 15         only Republicans can be allowed to win

 16         elections!"

 17                            That is what was captured by, I

 18         don't know if this was a call-in or onto the

 19         website.

 20                   Q.       So, someone at True the Vote or

 21         someone working for True the Vote input this into

 22         the Voter Integrity Hotline database?



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                                                                                                Page 89
   1                  A.       No.        This would have -- the form was

   2        an auto capture form.                   So, the individual would

   3        have come to the, if they -- if we scroll over,

   4        if we really want to get technical, we can, I

   5        believe, see the way it came in.

   6                           But, in any event if it came in

   7        online, that form is an active form.                                  They would

   8        have typed in whatever they typed in and hit

   9        submit and it becomes part of the record.

 10                            Similarly, if they called in to the

 11         toll free number, they would have said whatever

 12         they wanted to say and that would have been

 13         transcribed.

 14                            And then we didn't -- you know,

 15         certainly this is a, one of many of these types

 16         of, you know, outrageous things that get put in.

 17                   Q.       So, this is probably not the only

 18         one.    There are probably more outrageous entries

 19         that come in?

 20                   A.       Oh, I'm sure of it.                          That I am sure

 21         of, yes.

 22                   Q.       And am I right that none of these



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                                                                                                Page 90
   1        contacts resulted in any reports to the

   2        authorities?         At least reports relating to voter

   3        fraud or any, any other illegal conduct?

   4                  A.       I don't -- I can't attest to that.

   5        I would have to look at each one individually

   6        which we can do, but I would have to look at each

   7        one individually.

   8                           MR. NKWONTA:                  I think this is about

   9             a good time to take a ten-minute break.                                       Is

 10              that good with you all?

 11                            MR. BOPP:               Sounds good to me.

 12                            THE VIDEOGRAPHER:                        Okay.      We are now

 13              going off the video record.                              The time is

 14              9:55 a.m.

 15                            (Recess taken -- 9:55 a.m.)

 16                            (After recess -- 10:07 a.m.)

 17                            THE VIDEOGRAPHER:                        We are now going

 18              back on the video record.                            The time is

 19              10:07 a.m.

 20         BY MR. NKWONTA:

 21                   Q.       Ms. Engelbrecht, we are back on the

 22         record and we took a quick break.                                 Do you



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                                                                                                Page 91
   1        understand that you are still under oath?

   2                  A.       Yes.

   3                  Q.       Before we took a break we were

   4        looking at Exhibit 35, which was the spreadsheet

   5        that lists the reports of alleged voter fraud

   6        received through True the Vote's Election

   7        Integrity Hotline; is that correct?

   8                  A.       They were reports received on a

   9        manner of things, some, you know, more related to

 10         concerns of fraud and some just basic questions,

 11         but they were received by us, yes.

 12                   Q.       And these reports came through the

 13         True the Vote hotline, whether they came in

 14         through on the phone or via the web, but they

 15         came in through True the Vote's hotline; is that

 16         right?

 17                   A.       Yes, sir.

 18                   Q.       And I believe the question that I

 19         asked before we took a break is whether the

 20         reports in this document consist of all of the

 21         report or every report you received from the

 22         hotline during the runoff election period?



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                                                                                                Page 92
   1                  A.       I would have to -- I can't confirm

   2        that.     I would have to -- I can't confirm that.

   3        It should have just been a, you know, dump out to

   4        fulfill the requirement, but I can't confirm it.

   5                           MR. NKWONTA:                  Let's see if we can

   6             blow up a document.                     That might help.

   7                           Can we pull up Exhibit 79?

   8                                    (Exhibit 79 marked for

   9                                      identification.)

 10                            MR. NKWONTA:                  And can you enlarge

 11              that a little bit and scroll to Page 8.

 12         BY MR. NKWONTA:

 13                   Q.       Ms. Engelbrecht, Exhibit 79 is the

 14         Second Amended Response -- True the Vote's Second

 15         Amended Response to Plaintiff's Second Request

 16         for Production.

 17                            Do you recognize this document?

 18                   A.       Yes.

 19                   Q.       Now, if you look at the Request

 20         Number 18, Request Number 18 seeks, "All

 21         documents and communications relating to True the

 22         Vote's Election Integrity Hotline as described in



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                                                                                                Page 93
   1        your responses to Interrogatories 2 and 3,

   2        including, but not limited to, all documents and

   3        communications surrounding the launch of the

   4        hotline, follow-up with users of the hotline,

   5        vetted reports, and follow-up with the

   6        authorities charged with investigating such

   7        claims as described in your response to

   8        Interrogatory Number 3."

   9                           Is that a correct reading of Request

 10         Number 18?

 11                   A.       That is a correct reading, yes.

 12                   Q.       And in your response you state that,

 13         "The defendant True the Vote has produced the

 14         record of all hotline contacts relevant to

 15         Georgia during the time frame of the runoff

 16         election."         Is that correct?

 17                   A.       Yes.         And that would be relevant to

 18         Georgia at the time of the runoff collection --

 19         runoff election, yes.

 20                   Q.       You also state that, in the second

 21         paragraph, "None of these contacts resulted in

 22         the need for True the Vote to follow up or report



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                                                                                                Page 94
   1        the contact information to appropriate

   2        authorities."

   3                           Is that correct?

   4                           THE WITNESS:                  Can we -- I apologize.

   5             Could we just scroll down so I can see that

   6             in the response?

   7                           MR. NKWONTA:                  Keep scrolling.

   8                           THE WITNESS:                  I can go -- yes.

   9                           MR. NKWONTA:                  The next page.

 10                            THE WITNESS:                  The next page.

 11                            MR. NKWONTA:                  And then the paragraph

 12              starting with None of these concepts.

 13                            Can you scroll down a little bit

 14              more, Joe?

 15                            THE WITNESS:                  Yes.         Yes.

 16         BY MR. NKWONTA:

 17                   Q.       Is it accurate that none of the

 18         reports to your election integrity hotline or

 19         Validate the Vote hotline resulted in the need

 20         for True the Vote to report anything to

 21         authorities?

 22                   A.       Specific to this request for



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                                                                                                Page 95
   1        production around the Georgia runoff and the

   2        exhibit that we have looked at, that would be the

   3        case, yes.

   4                           MR. NKWONTA:                  You can pull that

   5             down, Joe.          I would like to ask about some of

   6             your other election related efforts.

   7                           If we could pull up Exhibit 61.                                  And

   8             can we scroll to the next page.

   9                                    (Exhibit 61 marked for

 10                                       identification.)

 11         BY MR. NKWONTA:

 12                   Q.       Do you recognize this document,

 13         Ms. Engelbrecht?

 14                   A.       Yes.

 15                   Q.       What is it?

 16                   A.       This was, based on its formatting,

 17         this would have been taken from our website.                                        And

 18         it just describes that we launched the Election

 19         Integrity Hotline specific to the runoff period.

 20                   Q.       And this is a press release issued

 21         by True the Vote, correct?

 22                   A.       Yes.         Or a blog post, but yes.



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                                                                                                Page 96
   1                  Q.       Or a blog post?

   2                  A.       Or a blog post.                      I'm not certain

   3        that this was a press release, but it most

   4        certainly was posted on our website.

   5                  Q.       Now, this press release makes

   6        reference to efforts to provide signature

   7        verification along with -- sorry, signature

   8        verification training, absentee ballot drop box

   9        monitoring, and other nonpartisan election

 10         integrity initiatives.

 11                            Is that correct?

 12                   A.       Yes.

 13                   Q.       I want to explore each of those.

 14         What signature training did you provide or what

 15         signature verification training did you provide?

 16                   A.       We posted online a signature

 17         verification training course.

 18                            For that program particularly we had

 19         worked with a signature verification specialist,

 20         someone who is accredited in that field and has

 21         worked in law enforcement and even in elections.

 22                            And so, she led the course, again



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                                                                                                Page 97
   1        online, but led the course in describing for

   2        volunteers who would be potentially working in

   3        that capacity what to look for.

   4                           And, you know, when you are looking

   5        at signature verifications, how do you, if you

   6        are going to compare two signatures, what are

   7        some key traits that to an untrained eye you

   8        might want to look at first.                            These are people

   9        that -- most of them had never worked in that

 10         capacity before.

 11                            So, just some basic understandings

 12         of signature verification.                         And then the process

 13         behind that.

 14                            So, taking the actual process of

 15         looking at the signature and then in the greater

 16         context of what that means inside of an election.

 17         And the standards particularly in Georgia were

 18         changing and how to do as best as you could to,

 19         as a volunteer to be useful in that -- for the

 20         state in that capacity.

 21                   Q.       Who provided the training?

 22                   A.       I do not remember her name.                               We



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                                                                                                  Page 98
   1        worked only -- with her only on that one effort

   2        or one training program.                       I believe it is all in

   3        the training which is still I believe all online.

   4                  Q.       Were you able to --

   5                           Are you still able to obtain that

   6        information if it is still online, the identity

   7        of the trainer?

   8                  A.       Yes.

   9                  Q.       Is that something you would be

 10         willing to provide if we requested it?

 11                   A.       Yes.

 12                            MR. BOPP:               Excuse me.                 Any requests

 13              for anything after this deposition including

 14              production of documents, you can make in

 15              writing to us.

 16                            And after the deposition, we will

 17              then consider whether or not that request is

 18              proper and determine whether or not, under

 19              the rules and under the court's scheduling

 20              orders, we will respond.

 21                            The witness, you know, is not -- I

 22              mean, she is represented by counsel.                                      There



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                                                                                                Page 99
   1             is a legal aspect to this.                             Okay.      And that

   2             is what we would like for you to do so that

   3             we know what requests you are making by

   4             putting it in writing, and then we can

   5             respond appropriately.

   6                           MR. NKWONTA:                  Understood.             And we

   7             wouldn't direct the request to her.                                   It was

   8             more so just trying to understand access to

   9             the information.                 But, yes, understood.                        We

 10              will -- we would send any request to you and

 11              counsel, of course.

 12                            MR. BOPP:               Thank you.

 13         BY MR. NKWONTA:

 14                   Q.       Ms. Engelbrecht, am I right that the

 15         training -- from what I understood, the training

 16         was actually a link online provided on your

 17         website that others could access, or was this a

 18         set in-person training?

 19                   A.       No, this is all online.

 20                            We used a training platform called

 21         Teachable which is -- it allows for both the

 22         support of a slide deck and audio or video and



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                                                                                               Page 100
   1        then supporting curriculum.

   2                           So that depending upon the training,

   3        the volunteer or the participant would

   4        potentially have a workbook to work from.                                      And in

   5        this instance there were some exhibits that were

   6        a part of that platform.

   7                  Q.       And how would one access this

   8        training?

   9                  A.       We have a, on our website, there is

 10         a training page.              And during this period of time

 11         that training along with the absentee ballot

 12         review training and the basic election worker

 13         overview training would have been posted as

 14         links.

 15                            And so, what would have happened is,

 16         if someone was interested, they would go and sign

 17         up, and automatically they get a log-in to

 18         Teachable and then they can take the courses.                                         It

 19         doesn't cost anything.                     Yes.

 20                   Q.       And you mentioned there is election

 21         worker training.

 22                            Aside from signature verification,



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                                                                                               Page 101
   1        was there any other type of training relating to

   2        the election that you posted online?

   3                  A.       There was absentee ballot training.

   4        That I recall.           There -- those are the only two

   5        that are specific to Georgia that I recall.

   6                  Q.       What was the absentee ballot

   7        training for, what did it entail specifically?

   8                  A.       Sure.          The process for -- well, most

   9        people don't even know that you can volunteer to

 10         help review absentee ballots.                             And given the

 11         great influx of mail ballots in the 2020

 12         election, our thought was more people that can

 13         help volunteer to support this, the better the

 14         throughput, the better overall accuracy of the

 15         process.

 16                            And so, in light of that, the

 17         absentee ballot -- and every state runs their

 18         process a little different, everything from how

 19         you engage, who you talk with to even find out if

 20         there is a, you know, a need, or how you would go

 21         about connecting yourself with the appropriate

 22         individuals to even find your way toward being a



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                                                                                               Page 102
   1        volunteer.

   2                           That would have been a part of what

   3        was included in the training.                             And then typically

   4        a very dry recitation of state law and process to

   5        give people some indication of what to expect so

   6        that they feel more comfortable in volunteering.

   7                  Q.       Is that training still available

   8        publicly?

   9                  A.       I do not think it is still posted

 10         live on our website but it is still available.

 11                   Q.       Can you clarify.                       So, if it was not

 12         posted live on your website, how is it available?

 13                   A.       Sure.          That is a great.                    It is an

 14         important distinction I believe.

 15                            Well, historically what we have done

 16         is kept some links up that are more universal in

 17         nature and just keep those up year round, but

 18         then those are more that are more specific and

 19         are more rule dependent that we only feature

 20         during the appropriate election cycle.

 21                            So, we certainly do not want to have

 22         information up that is no longer correct.                                      And



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                                                                                               Page 103
   1        there are so many different standards for

   2        signature verification, standards for processing

   3        that were unique to 2020, that it would not be

   4        appropriate to continue to post it once those

   5        rules had changed.                And we hadn't created a new

   6        one.

   7                           MR. BOPP:               I need to talk to my

   8             client for a moment.                      So, Catherine, if you

   9             will log off your video and your audio.

 10                            THE VIDEOGRAPHER:                        Do we want to go

 11              off the record?

 12                            MR. NKWONTA:                  Yes, I guess we can go

 13              off the record.

 14                            Is there a way to mark when counsel

 15              went off the record to consult with his

 16              client in the transcript?

 17                            THE VIDEOGRAPHER:                        Yes, yes.

 18                            MR. NKWONTA:                  Okay.          So let's mark

 19              that and then go off the record and then mark

 20              when they return.

 21                            (Whereupon, counsel for the

 22              defendant requests to go off the record.)



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                                                                                               Page 104
   1                           THE VIDEOGRAPHER:                        We are now going

   2             off the video record, the time is 10:23 a.m.

   3                           (Recess taken -- 10:23.)

   4                           (After recess -- 10:26.)

   5                           THE VIDEOGRAPHER:                        We are now going

   6             back on the video record.                            The time is

   7             10:26 a.m.

   8        BY MR. NKWONTA:

   9                  Q.       Ms. Engelbrecht, we just took a

 10         short break while you conferred with Mr. Bopp.

 11         And we are now back on the record.

 12                            Do you recognize that you are still

 13         under oath?

 14                   A.       Yes.

 15                   Q.       What did you discuss with Mr. Bopp

 16         while we were off the record?

 17                            MR. BOPP:               I object.              That invades

 18              attorney/client privilege.

 19                            MR. NKWONTA:                  Are you instructing

 20              the witness not to answer, Mr. Bopp?

 21                            MR. BOPP:               That question for sure,

 22              yes.      And I am shocked that you asked it.



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                                                                                                 Page 105
   1                           MR. NKWONTA:                  I'm shocked that you

   2             conferred with your client in the middle of a

   3             deposition, because that, that -- our

   4             position is that that conferral was not

   5             covered by a privilege unless you meet the

   6             requirements of the federal rules and unless

   7             the conferral is for the purposes of

   8             ascertaining whether the privilege applies.

   9                           Other than that, the privilege does

 10              not apply if you are conferring with a client

 11              in the middle of my questioning.

 12                            MR. BOPP:               It was not in the middle

 13              of your questioning.                      There was no pending

 14              question.         And if you think I can't confer

 15              with my client when it is appropriate, you

 16              are wrong.          And I will.

 17                            But, anyway, but you can make your

 18              objection.          It doesn't matter.                           Go ahead.

 19                            MR. NKWONTA:                  Certainly, you have

 20              made your record.                  We have made ours.                       We

 21              will proceed.

 22         BY MR. NKWONTA:



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                                                                                               Page 106
   1                  Q.       We were talking about the training,

   2        Ms. Engelbrecht, that was available publicly

   3        during the 2020 election and the runoff period.

   4        And you had mentioned that the training is no

   5        longer publicly available but it is still

   6        available.

   7                           And you had explained that there

   8        were some aspects of the training that were

   9        unique to 2020, or the 2020 election period and

 10         maybe the runoff election that needed to be

 11         changed.       So, that is why they are no longer

 12         publicly available.

 13                            If someone wanted to access those

 14         trainings, how would they have to access them?

 15                   A.       They would -- is my audio working?

 16                   Q.       Yes.

 17                   A.       Okay.          They would, if the training

 18         is no longer posted on our website, then they

 19         would -- if they were already registered with the

 20         Teachable platform, they would be able to see the

 21         trainings.

 22                            The enrollment should be set to



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                                                                                               Page 107
   1        closed so that nobody else would be participating

   2        or going through the training, but they could

   3        still see that the training existed.

   4                  Q.        What were the unique aspects of the

   5        signature verification --

   6                            Or what aspects of signature

   7        verification were unique to the 2020 election

   8        cycle?

   9                  A.        It was unique for us because it was

 10         our first signature verification training that we

 11         had posted.        What was unique for -- with the

 12         extension to that, what was unique was the

 13         process that Georgia was -- had indicated that

 14         they would be following which was a lessening of

 15         review standards.

 16                            And so that created confusion for

 17         would-be volunteers who didn't really know what

 18         to expect.         So, yeah, that was something that we

 19         tried to address in the training.

 20                   Q.       Okay.          When you mentioned you tried

 21         to address that in the training, are you

 22         suggesting you tried to address or tried to teach



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                                                                                               Page 108
   1        those attending the training how to conduct

   2        signature verification in accordance with the

   3        standard -- the Georgia election law standards?

   4                  A.       It would have been more to the point

   5        of recognizing that each state, in this instance

   6        Georgia, had their standards that must be adhered

   7        to, but that there are some practical aspects of

   8        signature verification that are absolute slants

   9        and loops and things that are useful.

 10                            And so that was a -- that was sort

 11         of a core of what this instructor was sharing in

 12         the training.

 13                   Q.       Okay.          What portion of the training

 14         was specific to Georgia?

 15                   A.       I do not recall.

 16                   Q.       What specific signature verification

 17         standards are specific to Georgia?

 18                   A.       Georgia signed some emergency rules

 19         in, just proceeding the 2020 general election

 20         that gave additional leeway of what they were

 21         going to be reviewing.

 22                            It was enough for us to be able to



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                                                                                               Page 109
   1        say that the states will be conducting the

   2        verification or the absentee ballot review that

   3        it would include signature verification in

   4        whichever way they instruct.                            But there are some,

   5        you know, some basics that would be appropriate

   6        in any case.

   7                           So, that would have been all we

   8        would have said.

   9                  Q.       So, the training in that was not

 10         tailored toward any Georgia specific standards.

 11         It was just sort of signature matching training?

 12                   A.       Right.           Basic signature verification

 13         with the recognition that every state has a

 14         different process that will be held to for the

 15         purposes of their verification.                               Different

 16         softwares, different throughput.

 17                   Q.       And was this training limited to

 18         those who would be conducting signature

 19         verification, or was it open to just anyone who

 20         clicked on the link?

 21                   A.       It was open to anyone.

 22                   Q.       And for your absentee ballot



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                                                                                               Page 110
   1        training what did that entail?

   2                  A.       How to -- again, recognizing that

   3        every state handles this process differently, but

   4        a broad overview of the definition of an absentee

   5        ballot, what one might expect to experience from

   6        the different elements of the absentee ballot.

   7                           Package from the carrier envelope to

   8        the ballot.        Just very high level explanations

   9        that the goal of which was to share with the

 10         volunteer that, you know, this is probably what

 11         happens but every state has their own process.

 12                   Q.       What was the target audience for the

 13         training?

 14                   A.       Anybody that wanted to take the

 15         training.

 16                   Q.       And what was the purpose of the

 17         training?

 18                   A.       To create a transparency that would

 19         encourage volunteers, of which there are not

 20         enough, to get a basic understanding of what they

 21         might be able to expect, and direction on how

 22         they can connect with the locality to serve if



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                                                                                                 Page 111
   1        they so chose.

   2                  Q.       And in what way would these

   3        individuals serve that would allow them to

   4        implement this training?

   5                  A.       They would -- if they had watched

   6        the election or the absentee ballot training and

   7        they went on to serve in the Absentee Ballot

   8        Review Board, that would be, you know, a point of

   9        connection or a point of familiarity of the broad

 10         process.

 11                            But there are any number of

 12         positions that they may end up working in.

 13                   Q.       You also referenced monitoring

 14         absentee ballot drop boxes in this press release.

 15         And I'm still referring to Exhibit 61.

 16                            What did that entail?

 17                   A.       I don't recall.                      I'm glad to review

 18         the exhibit again, but I don't recall.

 19                            MR. NKWONTA:                  One second.               Can we

 20              put that exhibit back up, Joe?                                   That is

 21              Exhibit 61.            So, if we can scroll to the last

 22              page, to Page 3.



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                                                                                               Page 112
   1        BY MR. NKWONTA:

   2                  Q.       Ms. Engelbrecht, can you read that

   3        last paragraph, starting with this week, into the

   4        record?

   5                  A.       "The week, True the Vote also

   6        announced its partnership with the Georgia

   7        Republican party, in addition to the Georgia

   8        Election Integrity Hotline.                          True the Vote will

   9        assist with the Senate runoff election process,

 10         including publicly available signature

 11         verification training, monitoring absentee ballot

 12         drop boxes and other nonpartisan election

 13         integrity initiatives."

 14                   Q.       To cue up my question again, what

 15         did monitoring absentee ballot drop boxes entail?

 16                   A.       We did not do any monitoring of

 17         absentee ballot drop boxes for -- that is a

 18         misstatement.

 19                   Q.       And why did True the Vote announce

 20         that it was conducting absentee ballot drop

 21         boxes -- or absentee ballot drop box monitoring?

 22                   A.       I do not recall.                       There was no



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                                                                                               Page 113
   1        monitoring of absentee ballot drop boxes.                                      Just,

   2        it is not what volunteers did.

   3                  Q.       Has True the Vote monitored absentee

   4        ballot drop boxes in prior elections or during

   5        the 2020 general election or outside of Georgia?

   6                  A.       No.        No.

   7                  Q.       Can you think of an instance in the

   8        past where True the Vote monitored absentee

   9        ballot drop boxes?

 10                            MR. BOPP:               Excuse me, I object.

 11              That goes beyond the six states that are

 12              specified in the court's order that you are

 13              directed to limit your questions to.

 14                            It also goes to the history of the

 15              world as opposed to being confined to 2012.

 16                            And I will instruct her not to

 17              answer it because that would violate the

 18              court order.

 19                            MR. NKWONTA:                  Are you also

 20              instructing the witness not to answer in her

 21              individual capacity?

 22                            MR. BOPP:               I have been, no -- well,



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                                                                                               Page 114
   1             excuse me.          Yes.         Because the -- you are

   2             obligated to comply with the court order.

   3             You are violating the court order.

   4                            And so you can't ask about things

   5             that are not permitted.                         And you are to

   6             adhere to the limits of the court's discovery

   7             order.

   8                            MR. NKWONTA:                 I think you are

   9             actually misreading and violating the court

 10              order.        And I also think that regardless of

 11              what you feel about the scope of the topics,

 12              there are no 30(b)(6) topics for

 13              Ms. Engelbrecht in her individual capacity.

 14                            So, I will ask her -- I understand

 15              that you have instructed her not to answer as

 16              a 30(b)(6) witness for True the Vote which I

 17              will object to as improper.

 18                            But I will ask Ms. Engelbrecht, in

 19              her individual capacity --

 20         BY MR. NKWONTA:

 21                   Q.       Whether you are aware of any

 22         instance in which True the Vote or any of its



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                                                                                                Page 115
   1        volunteers monitored absentee ballot drop boxes?

   2                           MR. BOPP:               Same objection.                  Same

   3             instruction.             You are violating the court

   4             order.

   5        BY MR. NKWONTA:

   6                  Q.       I will ask one more question related

   7        to that.       Ms. Engelbrecht, now I'm asking in your

   8        capacity both as a representative of True the

   9        Vote and in your individual capacity.

 10                            And my questions from now on will be

 11         directed to both capacities unless I state

 12         otherwise.

 13                            Ms. Engelbrecht, with respect to the

 14         specific jurisdictions that our 30(b)(6) notice

 15         is limited to, are you aware of any instance in

 16         which True the Vote conducted monitoring of

 17         absentee ballot drop boxes?

 18                            MR. BOPP:               And I don't understand

 19              the question.              Are you limiting it to 2012

 20              and forward and the six states?                                  Is that what

 21              you are --

 22                            MR. NKWONTA:                  Yes, yes.



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                                                                                               Page 116
   1                           MR. BOPP:               Okay.          Well, you can ask

   2             regarding 2012 forward, and the six states,

   3             of course.

   4        BY MR. NKWONTA:

   5                  Q.       Ms. Engelbrecht, you may answer.

   6                  A.       Can you repeat the question?

   7                  Q.       Sure.          With the multiple caveats

   8        Mr. Bopp has asserted, from 2012 onward, within

   9        the jurisdiction set forth in our 30(b)(6)

 10         notice, are you aware of any instance in which

 11         True the Vote or any of its volunteers monitored

 12         absentee ballot drop boxes?

 13                   A.       No.

 14                   Q.       Next I wanted to ask about your

 15         partnership with the Georgia Republican Party

 16         which is outlined in red in Exhibit 61.

 17                            What does that mean?

 18                   A.       That was meant to denote that there

 19         had been a -- I had interacted with the Chairman

 20         of the Republican Party; I had been introduced.

 21         And the outcome of that conversation was my

 22         suggestion that hey, we've got these different



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                                                                                               Page 117
   1        programs that are open.

   2                           And if that would be of use, you

   3        know, to anybody, they are there for the offering

   4        and they are there for the use.

   5                           And that was characterized in this

   6        ill-written sentence as a, as a partnership with

   7        the party.         That is what that was.

   8                  Q.       When were you introduced to the

   9        Chairman of the Republican Party?

 10                   A.       I don't recall.

 11                   Q.       And which Republican Party are you

 12         referring to?          Can you be more specific in

 13         describing which Republican Party entity that you

 14         are talking about?

 15                   A.       I was specifically introduced to

 16         David Shafer.          So, I don't even -- I think he'd

 17         be Chairman, but I don't know what that is

 18         actually called but Chairman of that party.

 19                   Q.       Beyond that discussion with David

 20         Shafer, what other communications did you have

 21         with the Republican Party or any Republican Party

 22         officers regarding your election-related efforts?



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                                                                                               Page 118
   1                  A.       Shortly after this press release

   2        came out, there was a complaint filed that David

   3        Shafer reached out to me about to understand what

   4        the -- what I thought of it.                            And to the best of

   5        my recollection that is the only other

   6        conversation we had with anybody from the party.

   7                  Q.       When you say complaint, are you

   8        referring to a court complaint?

   9                  A.       Uh-huh -- well, it was an FEC

 10         complaint that alleged, based on this ill-written

 11         sentence, that we had worked with the party.

 12                   Q.       When did this press release get

 13         issued?

 14                   A.       I don't -- whatever the date would

 15         be at the top I would imagine.                              I don't recall.

 16                   Q.       Do you know when the complaint was

 17         filed?

 18                   A.       I don't.             I mean shortly thereafter.

 19                   Q.       And at the time that you issued this

 20         press release, had you had any communications

 21         with any Democratic Party officials?

 22                   A.       Not at this time, no.



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                                                                                               Page 119
   1                  Q.       How did you get introduced to

   2        Mr. Shafer?

   3                  A.       I actually thought about this.                                  I do

   4        not recall.

   5                  Q.       How did you communicate with

   6        Mr. Shafer?

   7                  A.       We were at an event -- or not an

   8        event, but at a meeting where we both were that

   9        was in-person.

 10                   Q.       And did you have any further

 11         communications after that meeting?

 12                   A.       Only the one I referred to about the

 13         other complaint that got filed.

 14                   Q.       Did True the Vote engage in any poll

 15         watcher training in Georgia?

 16                   A.       No.

 17                   Q.       And when I say poll watcher, I also

 18         mean poll monitor or poll observer, whatever

 19         iteration, whatever you want to use?

 20                   A.       We had posted election worker

 21         training online, but that was the intent of

 22         anything we did.



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                                                                                               Page 120
   1                  Q.       Are you familiar with the title,

   2        Election Integrity 101?

   3                  A.       Yes.

   4                  Q.       Is that one of your trainings?

   5                  A.       I believe so, yes.

   6                  Q.       And what was the target audience for

   7        that training?

   8                  A.       Like any training, it was just open

   9        to the public.           So anybody that looked at it

 10         would be -- you know, no distinctions.

 11                   Q.       It wasn't specifically for election

 12         workers or for poll monitors or poll observers?

 13                   A.       Not, no.             Just basic background of

 14         events.

 15                   Q.       Has True the Vote conducted poll

 16         watcher trainings in Texas?

 17                   A.       Yes.

 18                   Q.       And did True the Vote conduct poll

 19         watcher trainings in Texas during the 2020

 20         election cycle?

 21                   A.       No.        The training was posted online.

 22                   Q.       When was the last time True the Vote



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                                                                                                 Page 121
   1        conducted a poll watcher training in Texas that

   2        was not simply just posted online?                                    In other

   3        words, a live training?

   4                  A.       Right.           I do not recall.

   5                  Q.       Are you familiar with an official --

   6                           Or have you used a Harris County

   7        Republican official in Texas to conduct your poll

   8        watcher trainings in the past?

   9                           MR. BOPP:               My assumption is you are

 10              talking from 2012.

 11                            MR. NKWONTA:                  Yes, from 2012,

 12              onward.

 13                            MR. BOPP:               Okay, thank you.

 14                            THE WITNESS:                  I don't recall.

 15         BY MR. NKWONTA:

 16                   Q.       Has True the Vote ever instructed

 17         any volunteers or any trainees to follow judges

 18         after voting has ended to ensure that they

 19         deliver ballots to the correct authority?

 20                   A.       True the Vote has never recommended

 21         that.     No.

 22                   Q.       Are you aware of anyone recommending



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                                                                                               Page 122
   1        that request?

   2                  A.       I am aware of someone who has said

   3        that in the past.

   4                  Q.       Who was that person?

   5                  A.       The person I am aware of who has

   6        said that is Alan Vera.

   7                  Q.       And what is your connection to Alan

   8        Vera?

   9                  A.       Alan was a volunteer who did

 10         participate in some of our trainings back in 2012

 11         and that is the affiliation.

 12                            MR. NKWONTA:                  Turning back to

 13              Exhibit 61 and turning back to that last

 14              paragraph.

 15         BY MR. NKWONTA:

 16                   Q.       We have discussed the signature

 17         verification training, the monitoring absentee

 18         ballot drop boxes.                What other nonpartisan

 19         election integrity initiatives did True the Vote

 20         engage in?

 21                   A.       I don't recall any of the -- let me

 22         restate that.



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                                                                                               Page 123
   1                           Our website is full of nonpartisan

   2        information.         There was information around --

   3        specific to Georgia, there was information around

   4        dates for when you can vote and drop box

   5        locations.         And things that you would, you know,

   6        just good guidance kinds of stuff.

   7                           Maybe that is -- would qualify for

   8        other initiatives.

   9                  Q.       Other than materials posted on the

 10         True the Vote website, are there any other

 11         election integrity initiatives that True the Vote

 12         engaged in?

 13                   A.       Can you define the time frame?                                  I

 14         want to make sure I'm answering properly.

 15                   Q.       Certainly.                So, the time frame would

 16         have been the same time frame in which this press

 17         release was issued.                 So in that period through

 18         the runoff election.                  It is between the November

 19         general election and the runoff election.

 20                   A.       Well, the -- we were working on

 21         the -- we had, we had had individuals that had

 22         requested support for knowing, because they knew



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                                                                                               Page 124
   1        that the rolls had not been cleaned.

   2                           So, we were looking at the project

   3        around -- during this time we have been looking

   4        at the project around the elector challenges.

   5                  Q.       Which individuals had requested

   6        assistance or noted that the rolls had not been

   7        cleaned?

   8                  A.       I mean, it was broadly known that

   9        the rolls hadn't been cleaned.                              That was well

 10         publicized.

 11                            Just, you know, various people,

 12         volunteers, people who follow True the Vote

 13         had -- we received e-mails saying could we do

 14         anything because the rolls aren't clean.                                     I mean

 15         very loose sort of realizations that people

 16         wanted to do something about it.

 17                   Q.       All right.                Well, let's turn to some

 18         of those activities and some of the folks

 19         involved with those activities.

 20                            How do you know Gregg Phillips?

 21                   A.       Gregg Phillips and I were introduced

 22         in late 2013, early 2014, because he -- at the



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                                                                                               Page 125
   1        time I was undergoing some pretty extensive

   2        targeting by the government.

   3                           And he had had his information, some

   4        of his donations released to -- kind of in the

   5        same vein.         And so there was an introduction

   6        based on that sort of common, this was happening

   7        to a lot of people.

   8                           From -- so then that is how I know

   9        him.    I was introduced in that vein of shared,

 10         just shared experience.

 11                   Q.       And when did True the Vote start

 12         working with OPSEC Group?

 13                   A.       It would have been late, late summer

 14         of 2020.

 15                   Q.       And True the Vote had worked with

 16         OPSEC Group before the late summer of 2020; is

 17         that right?

 18                   A.       No.

 19                   Q.       Had True the Vote worked with Gregg

 20         Phillips before the late summer of 2020?

 21                   A.       Yes.

 22                   Q.       And am I right that True the Vote



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                                                                                               Page 126
   1        worked with Gregg Phillips to conduct similar

   2        data and voter analysis to the landmark election

   3        challenge that True the Vote launched in the 2021

   4        runoff; is that correct?

   5                  A.       I'm sorry, could you ask that again?

   6                  Q.       Sure.          Did True the -- I will

   7        rephrase the question.

   8                           Did True the Vote work with Gregg

   9        Phillips on data analysis and voter analysis

 10         before September of -- or the summer of 2020?

 11                   A.       Yes.

 12                   Q.       Can you describe the types of voter

 13         analysis and data analysis that True the Vote

 14         worked with Gregg Phillips on?

 15                   A.       We reviewed a variety of things

 16         including reviewing how the changing laws

 17         around -- or changing guidance around the 2020

 18         election was impacting voters' engagements, you

 19         know, with respect to absentee ballots and so

 20         forth.

 21                            So, that was an example.

 22                            We have looked at, in the State of



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                                                                                               Page 127
   1        Texas, we looked at the distinctions between the

   2        way that counties managed their rolls or reported

   3        actions taken during the election via the voter

   4        rolls versus what counties were reporting to the

   5        secretaries of state, those kinds of data

   6        projects.

   7                  Q.       Did True the Vote work with Gregg

   8        Phillips on identifying voters who may have

   9        changed their addresses or who may have filed

 10         notices of a change of address with the Postal

 11         Service?

 12                   A.       We did, we worked -- yes, yes.                                  But

 13         it -- yes.         Yes.

 14                   Q.       When was that?

 15                   A.       That would have been probably

 16         starting the second week of December of 2020.

 17                   Q.       Before that, had True the Vote done

 18         any of that type of work with Gregg Phillips,

 19         meaning identifying voters who had moved or who

 20         had filed change of address notices?

 21                   A.       I don't recall.

 22                   Q.       Let me ask it this way.



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                                                                                               Page 128
   1                           Was December 2020 the first time

   2        that True the Vote had attempted to identify

   3        voters who had changed their address or had moved

   4        out of their current voting jurisdiction?

   5                  A.       It was not the first time True the

   6        Vote had done that, no.

   7                  Q.       When had True the Vote done that in

   8        the past?

   9                  A.       In Texas, True the Vote in 2020, had

 10         reviewed voter records that -- for that type of

 11         disqualification potential.

 12                            And done so recognizing the voter

 13         challenge that enabled citizens to ask those

 14         questions of their counties, encourage their

 15         counties to take a look at the record.

 16                   Q.       When in 2020 did that occur?

 17                   A.       I'm sorry.                I didn't -- if I said

 18         2020 that was a mistake.                       I meant 2012.               I

 19         apologize.

 20                   Q.       When True the Vote conducted that

 21         analysis in 2012, what did True the Vote do with

 22         that information?



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                                                                                                 Page 129
   1                  A.       We would have only recommended to

   2        voters that were interested in reporting the

   3        records that seemed to meet a standard of

   4        ineligibility, we would have referred them to the

   5        state standard that in Texas is the -- is the

   6        process for reporting those.

   7                           So, effectively a registered voter

   8        would recognize -- would document what the

   9        concern was about the record, the ineligibility,

 10         the ineligible factor and then submit that to the

 11         county.

 12                   Q.       But True the Vote conducted the

 13         analysis that the voter would then use to submit

 14         to the county, correct?

 15                   A.       True the Vote would have made the

 16         county level voter roll available.                                    Then the

 17         volunteer or the participant would have been able

 18         to, if they had personal knowledge or if they had

 19         some other form of confirmation, they would have

 20         made that assessment.

 21                   Q.       So, I want to make sure I'm

 22         understanding.



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                                                                                               Page 130
   1                           True the Vote provided the entire

   2        county voter roll to individuals?                                 Or did True

   3        the Vote conduct any analysis to identify

   4        individuals who had likely moved or likely

   5        changed their address?

   6                  A.       In 2020 -- excuse me, I'm sorry.                                   In

   7        2012, we would have only had the county voter

   8        rolls.      And that would have been available only

   9        to people who lived within the county because you

 10         can't file a challenge if you don't -- you know,

 11         if you are not registered in the county.

 12                            But, at that time, we were not using

 13         anything beyond the additional research that

 14         volunteers would bring to the, to that process

 15         themselves.

 16                   Q.       What are some examples of that

 17         additional research?

 18                   A.       Certainly personal knowledge.

 19         People registered at P.O. boxes, as their

 20         residential address.                  People that -- or records

 21         that weren't known to volunteers as being either

 22         commercial or in other ways nonstandard, for



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                                                                                               Page 131
   1        example, vacant lots and so forth.

   2                           Those would then be reported to the

   3        county for review.

   4                  Q.       What was the result of these

   5        challenges?

   6                  A.       The challenges, according to state

   7        law are -- and every state has a different

   8        standard. But in Texas, they are required to

   9        review the challenges and then determine whether

 10         or not there is cause to note the record for, you

 11         know, further review.

 12                   Q.       And how many counties did you submit

 13         these challenges in -- or how many counties did

 14         you provide the materials to allow voters to

 15         submit these challenges?

 16                   A.       I don't recall.

 17                   Q.       Do you recall which counties or can

 18         you name some of the counties?

 19                   A.       I mean, certainly Harris, Fort Bend.

 20                   Q.       Any others?

 21                   A.       Not that I specifically recall.

 22                   Q.       How did Harris County address the



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                                                                                               Page 132
   1        challenges?

   2                  A.       Appropriately.                    They would look at

   3        the challenges.             Of course, these were submitted

   4        by citizens.

   5                           So, these were not things that we

   6        necessarily had full, you know, insight into.

   7                           But, they would review them and take

   8        appropriate action.                 And that would just depend

   9        upon the nature of the, of the filing by the

 10         volunteer depending upon what they were asking or

 11         notifying the county of.

 12                   Q.       What action did Harris County take?

 13                   A.       They would either follow up with the

 14         voter.      Or if they were unable to reach the

 15         voter, they may put the record into an inactive

 16         status.       But they -- to be clear, they follow a

 17         process, as does every state, for citizen

 18         challenges to be, to be reviewed and then, you

 19         know, procedurally responded to.

 20                   Q.       If Harris County had determined that

 21         the voter had in fact moved or was incorrectly

 22         registered at a specific address, what would have



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                                                                                               Page 133
   1        been the result of that challenge?

   2                  A.       For our purposes and, you know, we

   3        would just be notified that the challenge had

   4        been received.

   5                           For the county's purposes, they

   6        would have followed through with the state

   7        process for notifying a voter that they -- that

   8        they had information that the address had been

   9        changed.       Or whatever state that record was in,

 10         if the record was already in an inactive state,

 11         there may be a different process to that at that

 12         point.

 13                            But we didn't have any -- there is

 14         no, no further action that anyone can take beyond

 15         what the state follows.

 16                   Q.       Do you have any information as to

 17         what specific action Harris County took with

 18         respect to any of those challenges?

 19                   A.       No.

 20                   Q.       What about Fort Bend County?

 21                   A.       No.

 22                   Q.       Aside from those challenges in Texas



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                                                                                               Page 134
   1        in 2012, has True the Vote attempted to identify

   2        voters with address issues and registration

   3        records elsewhere?

   4                           MR. BOPP:               I assume the question is

   5             limited to 2012, and onward, and the six

   6             states?

   7                           MR. NKWONTA:                  Yes.

   8                           MR. BOPP:               Okay, thank you.

   9                           THE WITNESS:                  Thinking.            I'm trying

 10              to be thorough here.

 11                            Other than clearly what we are here

 12              to discuss in Georgia, I don't, I don't

 13              recall.

 14         BY MR. NKWONTA:

 15                   Q.       Well, turning to Georgia, what is

 16         your understanding of how the list of potentially

 17         ineligible voters, as you described, was created?

 18                   A.       We started with the most recent

 19         Georgia voter roll.                 And then using a variety,

 20         which we can go into any level of specificity,

 21         but using a variety of databases and filters, we

 22         evaluated from the rolls what records showed up



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                                                                                                Page 135
   1        on the NCOA standard given additional filters

   2        like the cash filter and DPV filter.

   3                           What records indicated -- or what

   4        records were indicated at the NCOA USPS level

   5        that the resident at that address, with the

   6        matching name, had indicated to USPS that they

   7        had permanently changed their residence.                                      And

   8        that is how we derived the list.

   9                           MR. BOPP:               It is, it is after noon

 10              and I've got a conference call at 12:15.                                        I

 11              assumed that we would be -- I'm sorry, I kind

 12              of lost track of time here.

 13                            So, can we -- can we adjourn for

 14              lunch?

 15                            MR. NKWONTA:                  Sure.          We can do that.

 16              How long have we been on the record so far,

 17              Joe?

 18                            THE VIDEOGRAPHER:                        I can get that

 19              calculation for you real quick.                                  Do you want

 20              to stand by?

 21                            MR. NKWONTA:                  Sure.          It is 11

 22              central time, but it would be just an early



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                                                                                               Page 136
   1             lunch for Ms. Engelbrecht.

   2                           THE VIDEOGRAPHER:                        Two hours and

   3             46 minutes as of right now.

   4                           MR. NKWONTA:                  Okay.          When do you

   5             want to return from lunch?                             Should we say is

   6             half an hour enough?

   7                           MR. BOPP:               Well, I never seem to be

   8             able to get my lunch rustled up and eaten in

   9             a half an hour.

 10                            So, if you wouldn't mind doing it

 11              until one then we will be off to the races.

 12                            MR. NKWONTA:                  Okay, that is fine.

 13                            THE VIDEOGRAPHER:                        We are going off

 14              the record, the time is 11:11 a.m.

 15                            (Recess taken -- 11:11 a.m.)

 16                            (After recess -- 12:07 p.m.)

 17                            THE VIDEOGRAPHER:                        We are now going

 18              back on the record.                     The time is 12:07 p.m.

 19         BY MR. NKWONTA:

 20                   Q.       Good afternoon, Ms. Engelbrecht.                                   We

 21         just came back from a one-hour lunch break.

 22                            Do you understand that you are still



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                                                                                               Page 137
   1        under oath?

   2                  A.       Yes.

   3                  Q.       Before the break we were discussing

   4        your understanding of the NCOA challenge listed

   5        that were prepared in advance of the January 2021

   6        runoff election.

   7                           I have a quick follow-up question to

   8        that.

   9                           Did you conduct any of the analyses

 10         that went into identifying the voters who

 11         appeared on the challenges?

 12                   A.       I did not, no.

 13                   Q.       And you mentioned that other

 14         databases were incorporated in creating the

 15         matching lists and filtering the matching lists.

 16                            Were some of those databases or some

 17         of those filtering methods, were some of those

 18         outsourced to outside companies?

 19                   A.       Yes.

 20                   Q.       And were they outsourced to

 21         companies other than OPSEC Group?

 22                   A.       We outsourced to OPSEC and then



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                                                                                               Page 138
   1        OPSEC followed their process.

   2                  Q.       Do you know what OPSEC's process is?

   3                  A.       I do.          So, OPSEC used TrueNCOA and

   4        Smarty Streets.             And the reasons that those two

   5        were chosen, particularly NCOA, was because of

   6        the accreditations that they bring with them.

   7                  Q.       What is Smarty Streets?

   8                  A.       It is a web-based app that is used

   9        by corporations, those corporations that are

 10         needing to -- for purposes of distribution

 11         needing to resolve, needing to resolve addresses

 12         and it was being used in supplement.

 13                   Q.       And how does Smarty Streets

 14         supplement the NCOA database exactly?

 15                   A.       Well, so, there is -- Smarty Streets

 16         and TrueNCOA uses the NCOA as a basis.                                   And then

 17         on top of that with other filters like the cast

 18         filter, DPV filter that helps to better refine

 19         the NCOA list.

 20                   Q.       And is your understanding in your

 21         description, is that coming from your personal

 22         knowledge or is that coming from something that



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                                                                                               Page 139
   1        you have been told?

   2                  A.       That is my personal knowledge.

   3                  Q.       Have you used Smarty Streets before?

   4                  A.       Yes.

   5                  Q.       And did you use Smarty Streets to

   6        refine an NCOA list?

   7                  A.       Yes.

   8                  Q.       And in what context?                           For the

   9        Georgia election law challenges?

 10                   A.       Yes.         I should say, I did not

 11         personally do that, but that was my understanding

 12         as part of what was being used to, broadly to

 13         refine the NCOA list itself.

 14                   Q.       And you mentioned other databases

 15         like the Social Security database and a few

 16         others.       Do you know if OPSEC conducted all of

 17         those -- all of that analyses internally or

 18         whether it outsourced some of that analysis?

 19                   A.       I do not know.

 20                   Q.       How did you first get in contact

 21         with Mark Williams?

 22                   A.       Mark Williams is a printer that



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                                                                                               Page 140
   1        OPSEC was introduced to and that was the extent

   2        of my introduction.

   3                  Q.       Who introduced OPSEC to Mark

   4        Williams?

   5                  A.       I do not know.

   6                           MR. NKWONTA:                  Could we pull up

   7             Document 15.             Could we zoom in a little bit

   8             on the document below the redacted portion.

   9                                    (Exhibit 15 marked for

 10                                       identification.)

 11         BY MR. NKWONTA:

 12                   Q.       Ms. Engelbrecht, Document 15 or now

 13         Exhibit 15 is an e-mail from Mark Williams to

 14         Gregg Phillips and you are copied as well.                                       Is

 15         that your e-mail address on the cc line?

 16                   A.       Yes.

 17                   Q.       Do you recognize this e-mail?

 18                   A.       I do not.

 19                   Q.       But you don't dispute that this was

 20         an e-mail that was sent to you, right?

 21                   A.       No, I don't dispute it.                            I just

 22         don't recall it.



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                                                                                               Page 141
   1                  Q.       And then in the e-mail below, it is

   2        actually forwarding an e-mail or adding you to an

   3        e-mail chain below.

   4                           It says -- the e-mail from below is

   5        from Gregg Phillips.                  And it says, "Mark, you

   6        were referred to us by the chairman of the GOP.

   7        We have a large print job for which we need help.

   8        Please let me know if you have ten minutes to

   9        discuss."

 10                            Is that a correct reading of the

 11         e-mail from Gregg Phillips?

 12                   A.       Yes.

 13                   Q.       And the reference to Chairman of

 14         GOP -- of the GOP, is that the same individual,

 15         David Shafer, whom you spoke with before

 16         announcing True the Vote's partnership with the

 17         GOP in the press release that we discussed

 18         earlier?

 19                   A.       David Shafer is the Chairman of the

 20         GOP, yes.

 21                   Q.       And that was the same individual

 22         that you spoke with before True the Vote



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                                                                                               Page 142
   1        announced its partnership with the GOP?

   2                  A.       Yes.

   3                           MR. NKWONTA:                  You can pull that

   4             down, Joe.

   5        BY MR. NKWONTA:

   6                  Q.       How did you first get in contact

   7        with Mr. James Cooper?

   8                  A.       James Cooper I have never met.                                  I

   9        have been in e-mail communication with him.                                        And

 10         he was a friend or an acquaintance of Mark

 11         Williams.

 12                   Q.       And how did you first get in contact

 13         with James Cooper?

 14                   A.       I don't recall.

 15                   Q.       What was James Cooper's role in the

 16         Georgia elector challenges?

 17                            And by the Georgia elector

 18         challenges I'm referring to the landmark voter

 19         challenge program that True the Vote launched?

 20                   A.       Sure.          He was interested in

 21         participating and was interested in, knew other

 22         Georgians who were also interested in



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                                                                                               Page 143
   1        participating.           That was my connection.

   2                  Q.       When you say interested in

   3        participating, what do you mean by that?

   4                  A.       Interested in participating in the

   5        cleaning of their rolls, locally -- or not

   6        cleaning, but the elector challenges, to be more

   7        to the point.

   8                           And was interested in what could be

   9        accomplished in that regard.

 10                   Q.       And he expressed that interest to

 11         you?

 12                   A.       No.        He expressed that interest to

 13         Mark Williams which led to that introduction to

 14         OPSEC.

 15                   Q.       And what did you discuss with

 16         Mr. Cooper regarding his participation in the

 17         elector challenges?

 18                   A.       I do not specifically recall.

 19                   Q.       Did you ask him to be a challenger?

 20                   A.       I don't specifically recall.

 21                   Q.       How about Ron Johnson, when did you

 22         first get connected with Ron Johnson?



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                                                                                               Page 144
   1                  A.       My headphones are going dead so I

   2        may have to -- give me a second if I have to

   3        switch out.

   4                           Same situation, he was an

   5        acquaintance of Mark Williams.                              And that was the

   6        extent of my introduction.                         He was interested in

   7        participating in the program to look at their

   8        local voter rolls.

   9                  Q.       What was Ron Johnson's role in the

 10         challenges?

 11                   A.       He was a challenger.                           He was an

 12         elector challenger.                 And then he, he was very

 13         familiar with other people in the state and

 14         had -- there was e-mail back and forth between

 15         Ron and other -- others.

 16                   Q.       What was James Cooper's role in the

 17         challenges?

 18                   A.       I do not recall.                       I do not recall if

 19         he was a challenger.

 20                   Q.       Do you recall if he had any other

 21         role?

 22                   A.       He was sort of proximate to the



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                                                                                               Page 145
   1        initiative, and as I mentioned, knew other people

   2        who had expressed interest in being elector

   3        challengers in their county.                            I just don't

   4        remember if he himself participated.

   5                  Q.       How did you first get in contact

   6        with Derek Somerville?

   7                  A.       Through OPSEC, through Gregg who had

   8        been referred to him.                   And then Gregg suggested

   9        that I reach out to Derek.

 10                   Q.       Who referred Gregg to

 11         Mr. Somerville?

 12                   A.       I am not certain; I don't recall.

 13                   Q.       When was your first communication

 14         with Mr. Somerville?

 15                   A.       I don't recall that either.                               Around

 16         that time, but I don't recall the date.

 17                   Q.       Was there a phone call or was there

 18         an e-mail or a text?

 19                   A.       It was a phone call and then we --

 20         yes, it was a phone call and then we had dinner.

 21                   Q.       And what did you discuss with

 22         Mr. Somerville at that dinner?



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                                                                                                Page 146
   1                  A.        They were also -- he and another

   2        individual were also working through elector

   3        challenges and the thought was not to be at cross

   4        purposes.          And, you know, that is really the

   5        extent of it.

   6                  Q.        Was that other individual Mark

   7        Davis?

   8                  A.        Yes.

   9                  Q.        In what way were the challenges

 10         potentially at cross purposes?

 11                   A.        They were doing a much smaller

 12         challenge scope that included different -- a

 13         different approach to counties that I -- you

 14         know, a different approach to counties and a

 15         different approach to the registry as a whole,

 16         looking at only active voters where we looked at

 17         both active and inactive voters.

 18                   Q.        And in what ways was their challenge

 19         effort at cross purposes with True the Vote?

 20                   A.        I think only inasmuch as the fact

 21         that these challenges were going to be submitted

 22         around the same time and certainly for the same



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                                                                                                Page 147
   1        concerns.          And to not cause any undue, you know,

   2        consternation or just general confusion, because

   3        they had already been at work at, you know, at

   4        their project.

   5                            MR. NKWONTA:                  Could we pause for a

   6             second maybe to announce a counsel who just

   7             joined.

   8                            MS. SIEBERT:                  Good afternoon.                 Yeah,

   9             my name is Melena Siebert.                              I will be

 10              representing Ms. Engelbrecht and True the

 11              Vote here.

 12                             MR. NKWONTA:                  Hi, Melena.

 13                             MS. SIEBERT:                  Hello.

 14         BY MR. NKWONTA:

 15                   Q.        I will go back to my question,

 16         Ms. Engelbrecht.               Was there any potential for

 17         confusion between the two challenges?

 18                             Was that the concern, or were you

 19         concerned with confusion among election

 20         officials?

 21                   A.        We were just being observant that

 22         what they were doing, we could not, you know,



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                                                                                               Page 148
   1        attest to or confirm whether or not their

   2        methodology was, you know, based upon, for

   3        example, the active versus inactive, those kinds

   4        of things, because certainly with it all

   5        happening so proximate to one another, we were

   6        just aware, just broadly aware.

   7                  Q.       Did you all discuss the differences

   8        in methodology?

   9                  A.       To a limited degree.                           I'm not sure

 10         exactly how their process worked.

 11                            But those examples that I gave, I

 12         was aware of.

 13                   Q.       Other than the distinction between

 14         inactive and active voters, what other, what

 15         other differences in methodology created the

 16         different sizes and scope of the challenges that

 17         True the Vote submitted versus --

 18                   A.       I'm not sure other than to say that

 19         we reviewed the entire state.                             And they, to the

 20         best of my understanding, did not review the

 21         entire state.

 22                            I don't have any more information



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                                                                                               Page 149
   1        about why.

   2                  Q.       Did you have any concerns about

   3        Mr. Somerville's and Mr. Davis's methodology?

   4                  A.       My observation was that for our

   5        purposes the way to be most exacting was to not

   6        limit anything.             Any record that was available

   7        for review should be reviewed equally.

   8                           And so, to the extent that any other

   9        group did not do that, you know, they -- that was

 10         just not our choice.                  We wanted to look at

 11         everything equally.

 12                   Q.       In other words you wanted to include

 13         as many people as possible within your challenge?

 14                   A.       We wanted to review as many records,

 15         recognizing that the state hadn't cleaned their

 16         rolls in two years.                 And recognizing all of the

 17         new rules around the election process that would

 18         have impact.         We wanted to do as much as we could

 19         to afford an even review.

 20                   Q.       And affording that even

 21         comprehensive review, that meant including as

 22         many records as possible within your challenge?



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                                                                                               Page 150
   1                  A.       Correct.

   2                  Q.       Did Mr. Somerville or Mr. Davis

   3        express any concerns about True the Vote's

   4        methodology?

   5                  A.       They -- as I recall, Mr. Somerville,

   6        did want to know the methodology.                                 But beyond

   7        that I don't, I don't believe so.

   8                  Q.       Other than Mr. Somerville and

   9        Mr. Davis, was anyone else at that dinner?

 10                   A.       It was just Mr. Somerville and

 11         myself and Gregg Phillips.

 12                   Q.       And aside from the methodologies,

 13         what else did you discuss at the dinner relating

 14         to the challenges?

 15                   A.       I don't recall anything else.

 16                   Q.       What role did Mr. Somerville and

 17         Mr. Davis take going forward in the challenges?

 18                   A.       As the challenges began to be

 19         submitted, we became aware of some of the

 20         volunteers who had, who had indicated they wanted

 21         to be a part of challenging the records with the

 22         True the Vote project were also working with the



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                                                                                               Page 151
   1        other projects.

   2                           So, we were aware of that.                              And that

   3        caused some need to try to understand how to

   4        avoid that.

   5                           And then beyond that, when the

   6        animus around the project became more extreme,

   7        and our challengers were being threatened and

   8        more confused about what would have seemed to

   9        have been a very simple process that took a very

 10         different turn, we then were in communication

 11         with Derek and Mark as a broader group of, you

 12         know, people that were just generally involved in

 13         elector challenges and trying to understand what

 14         was happening.

 15                   Q.       What do you mean by a simple process

 16         that --

 17                            MR. BOPP:               Excuse me, excuse me.

 18              I'm sorry, I don't mean to interrupt, but I

 19              am bowing out.               Melena will take over here

 20              and defend the deposition, so good luck and

 21              thank you.          And we will -- I will talk to

 22              you, Melena after everything is done.                                     All



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                                                                                                Page 152
   1              right?

   2                             MS. SIEBERT:                 Sounds good.

   3                             MR. BOPP:              I am logging off.                   Bye

   4              Cathy.

   5                             THE WITNESS:                 All right.

   6        BY MR. NKWONTA:

   7                  Q.         Ms. Engelbrecht, could you explain

   8        what you meant by what should have been a simple

   9        process that, I forget your exact words, but went

 10         off the rails or something along those lines?

 11                   A.        Sure, sure.                 Would you like me to

 12         describe the process as I understood it should

 13         have been conducted?

 14                   Q.         Yes, please.

 15                   A.        Okay.          So, the way that the standard

 16         reads and what we were expecting was -- and this

 17         was informed by a meeting we had with the

 18         Secretary of State, which I'm sure we will get

 19         to.

 20                             But the elector challenges should

 21         have been taken in by the -- or accepted by the

 22         counties.          They should have been reviewed for the



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                                                                                               Page 153
   1        determination by the boards, whether or not they

   2        wanted to move those challenges forward.

   3                           If they wanted to move the

   4        challenges forward or to review them, then what

   5        would have -- let me say that differently.

   6                           Not to review them but to accept

   7        them, what would have happened would have been

   8        they would have taken or should have taken the

   9        spreadsheets that were provided electronically,

 10         submitted those to the state.                             The state then

 11         therefore the rolls would have flagged the

 12         record.

 13                            And if the voter that had a flagged

 14         record did choose to vote, then if they voted in

 15         person and their record was challenged, they,

 16         they would at the point of -- in the polling

 17         place they would show their ID which of course is

 18         a Georgia standard anyway.

 19                            If the challenge was incorrect then

 20         the challenge would have been resolved

 21         immediately.

 22                            And if they voted in-person and



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                                                                                               Page 154
   1        didn't have ID that showed their correct address

   2        or the address as it was listed on the

   3        registration, then they would have voted a

   4        provisional ballot and then been given the

   5        opportunity in the extended hearing window to

   6        resolve that so they could still vote and cast a

   7        regular ballot.

   8                           And then the last example would have

   9        been if someone had voted via absentee, the -- as

 10         that came in and before they were separated, the

 11         security envelope, the carrier envelope from the

 12         ballot, there would have been a designation of

 13         challenge.

 14                            And then similarly they would have

 15         been given the opportunity to cure if they, the,

 16         the indication inside the ballot was that the

 17         address was in fact different.

 18                            And, that it should have been -- it

 19         should have been a very organized process.

 20                   Q.       An organized process that would have

 21         resulted in all 364,000 challenged voters having

 22         to present evidence of residency if they



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                                                                                               Page 155
   1        attempted to vote in Georgia; is that right?

   2                  A.       It should have been organized

   3        inasmuch as the flow of steps.                              That should have

   4        been resolved -- resolvable easily.

   5                  Q.       And in your view, in True the Vote's

   6        view, if everything went according to plan, all

   7        364,000-plus challenged voters would have to

   8        submit evidence of residency if they attempted to

   9        vote in Georgia during the runoff; is that

 10         correct?

 11                   A.       I would not -- I would not use the

 12         terminology that you chose, all according to

 13         plan.     Our view was that the registry had not

 14         been maintained over a two-year period.

 15                            That people move.                        And that

 16         particularly in the 2020 election, where we saw

 17         the influx of absentee ballots with no

 18         requirement for submitting proof of

 19         identification, that where -- and that was true

 20         for both active and inactive voters, that there

 21         was reason for concern that -- oh, gosh my

 22         headphones are going to go dead any second, guys.



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                                                                                               Page 156
   1                           There is reason for concern that

   2        there would be no way to know whether or not an

   3        absentee ballot was sent to an inaccurate address

   4        because the basic maintenance requirement had not

   5        been fulfilled by the state.

   6                           THE WITNESS:                  Give me one second.

   7             Hang on guys.

   8                           MR. NKWONTA:                  Can we just take a

   9             minute and go off the record while

 10              Ms. Engelbrecht changes her headphones.

 11                            THE VIDEOGRAPHER:                        We are now going

 12              off the video record.                       The time is 12:34 p.m.

 13                            (Recess taken -- 12:34 p.m.)

 14                            (After recess -- 12:35 p.m.)

 15                            THE VIDEOGRAPHER:                        We are now going

 16              back on the video record.                            The time is

 17              12:35 p.m.

 18         BY MR. NKWONTA:

 19                   Q.       Ms. Engelbrecht, you took issue with

 20         my phrasing according to plan so let me rephrase

 21         that.

 22                            If the challenges had been addressed



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                                                                                               Page 157
   1        the way you had expected them to, or the way you

   2        envisioned they would have been, all 364,000

   3        challenged voters would have been required to

   4        provide evidence of their residence if they

   5        attempted to vote in Georgia.                             Is that correct?

   6                  A.       They would have been expected to

   7        show an identification that shows their residence

   8        which is also Georgia law, so they wouldn't have

   9        had to do anything other than what they would

 10         have normally had to have done in casting a

 11         ballot.

 12                   Q.       Well, you just indicated that would

 13         not have been required for absentee voters.

 14         Absentee voters would not have been required to

 15         present identification, right?

 16                            So, and, and that may not have been

 17         required for in-person voters, if their

 18         identification was from, you know, from somewhere

 19         else.

 20                            So, let me pose my question again.

 21         Not having addressed those sort of underlying

 22         assumptions, let me pose my question again.



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                                                                                               Page 158
   1                           If the challenges had gone according

   2        to the way you had envisioned them being

   3        addressed, it would have resulted in 364,000-plus

   4        challenged voters being required to present

   5        evidence of residency before voting in the

   6        Georgia runoff elections; is that correct?

   7                  A.       Well, for those voters that were

   8        voting in-person, they would have, by law, been

   9        required to show identification that supports

 10         their residency.              That is -- that would have been

 11         true in any case, whether or not a challenge

 12         would have been issued.

 13                            You are right, with respect to

 14         absentee ballots.               This was a change in standard

 15         where the absentee ballot recipient did not have

 16         to show any form of identification.

 17                            And so, there, what -- that, in that

 18         instance, had somebody been challenged.                                    But it

 19         is important to remember that the only records

 20         that were challenged were those records that the

 21         elector had also notified the United States

 22         Postal Service that they had permanently changed



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                                                                                               Page 159
   1        their residence.

   2                           So, this was not without, you know,

   3        causation.         But yes, then in the case of absentee

   4        ballots, that would have been given the curing

   5        process -- or resolved during the curing process.

   6                  Q.       And what would -- we'll return to

   7        the specific operation of the curing process and

   8        of the challenge process.                        I do want to get back

   9        to the meeting between you and Mr. Davis and

 10         Mr. Somerville.

 11                            MR. NKWONTA:                  Joe, could we pull up

 12              Exhibit 19.            And can we enlarge that a little

 13              bit as well.             Great.

 14                                     (Exhibit 19 marked for

 15                                       identification.)

 16         BY MR. NKWONTA:

 17                   Q.       Do you recognize Exhibit 19,

 18         Ms. Engelbrecht?

 19                   A.       Yes.

 20                   Q.       What is it?

 21                   A.       That was a notice that was sent from

 22         True the Vote to all the elector challengers who



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                                                                                                Page 160
   1        we were working with.

   2                             And this, as I mentioned earlier,

   3        was part of the discussions that we had with

   4        Derek, because of the confusion and concern that

   5        was being experienced by the elector challengers

   6        who were a part of our project.

   7                             And so this was an invitation to

   8        participate in a Zoom call where we could talk

   9        about what people were experiencing.

 10                   Q.        And what did you all discuss during

 11         those Zoom calls?

 12                   A.        The process that was to have been

 13         followed.          And the people shared their concerns

 14         of threats that they were receiving.                                   And we gave

 15         direction as to where to submit those to so that

 16         we would have them on record.

 17                   Q.        And where did you ask them to submit

 18         the threats to?

 19                   A.        I don't recall.                      Somewhere, within

 20         True the Vote.            I don't recall the specific

 21         e-mail address or whatever.

 22                   Q.        And do you still have a record of



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                                                                                                Page 161
   1        those threats?

   2                  A.       Yes.

   3                           MR. NKWONTA:                  Could we pull that

   4             down and pull up Exhibit 30.

   5                                    (Exhibit 30 marked for

   6                                      identification.)

   7                           MR. NKWONTA:                  And then before I get

   8             into this, I will note that I have referred

   9             to these documents as either document number

 10              or exhibit number interchangeably.

 11                            We will just say either Document

 12              Number 30 or Exhibit Number 30.                                  I'm

 13              referring to the exhibits.

 14         BY MR. NKWONTA:

 15                   Q.       So, Exhibit Number 30 is an e-mail

 16         from you Ms. Engelbrecht to Brian Robinson.                                         And

 17         beneath it an e-mail to Senator Williams; is that

 18         correct?

 19                   A.       Yes.

 20                   Q.       Do you recognize that e-mail?

 21                   A.       Yes.

 22                   Q.       And what was the date of that



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                                                                                               Page 162
   1        e-mail?

   2                  A.       The date of the e-mail to Senator

   3        Williams was the 21st.

   4                           The date of the e-mail to Brian

   5        Robinson was the 28th.

   6                  Q.       And is it your understanding that

   7        Senator Williams is a Democratic senator?

   8                  A.       That was my understanding, yes.

   9                  Q.       And was that your understanding when

 10         you reached out to Senator Williams?

 11                   A.       Yes.

 12                   Q.       Was this your first attempt to reach

 13         out to the Democratic Party official or --

 14                   A.       Yes.

 15                   Q.       -- or legislator?

 16                   A.       Yes.

 17                            MR. NKWONTA:                  Can you pull this

 18              down, Joe, and pull up Exhibit 84.

 19                                     (Exhibit 84 marked for

 20                                       identification.)

 21         BY MR. NKWONTA:

 22                   Q.       Ms. Engelbrecht, Exhibit 84 is True



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                                                                                               Page 163
   1        the Vote's Response or Amended Responses to

   2        Plaintiff's First Request For Admissions.

   3                           Are you familiar with this document?

   4                  A.       Yes.

   5                           MR. NKWONTA:                  And can we scroll to

   6             Request Number 17.                    So, Request Number 17

   7             says, "Admit that in December 2020 you

   8             reached out to and announced a partnership

   9             with the Georgia Republican Party before

 10              reaching out to the Democratic Party of

 11              Georgia."

 12                            Is that an accurate reading?

 13                   A.       That is an accurate reading of that

 14         statement, yes.

 15                   Q.       And is that an accurate statement?

 16                   A.       As I can see there, we denied that

 17         statement, but on its face I would say it is

 18         inaccurate.

 19                   Q.       And why is it inaccurate?

 20                   A.       We did not reach out to the Georgia

 21         Republican Party.               I was introduced and a

 22         conversation came from that.                            And the first of



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                                                                                               Page 164
   1        the following week I reached out to the

   2        Democratic Party.

   3                           So, it is accurate to say that the

   4        introduction to the Georgia Republican Party

   5        came, preceded my outreach to the Democratic

   6        Party, but we did not initiate that outreach to

   7        the Republican Party, sorry.

   8                           MR. NKWONTA:                  Could we pull up

   9             Exhibit 81, please.

 10                                     (Exhibit 81 marked for

 11                                       identification.)

 12         BY MR. NKWONTA:

 13                   Q.       Ms. Engelbrecht, Exhibit 81 is the

 14         response that True the Vote filed to Plaintiffs'

 15         First Interrogatories.

 16                            MR. NKWONTA:                  And, Joe, can you go

 17              to Page 25.            Can you scroll up a little bit

 18              to catch the Interrogatory No. 8?                                 Scroll up

 19              a little bit to the end of Page 24.                                   Okay.

 20         BY MR. NKWONTA:

 21                   Q.       Ms. Engelbrecht, Interrogatory No. 8

 22         says, "Describe your self-proclaimed partnership



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                                                                                               Page 165
   1        with the Georgia Republican Party to assist with

   2        the Senate runoff election process as announced

   3        in your December 14, 2020 press release,

   4        including but not limited to the names and

   5        contact information of each of the entities and

   6        individuals with whom True the Vote has been and

   7        intends to work with in this partnership and the

   8        approximate date when the partnership began and

   9        the purpose and/or goals of the partnership."

 10                            Is that a correct reading of

 11         Interrogatory No. 8?

 12                            THE WITNESS:                  Can we advance to the

 13              Page 25?

 14                            Yes.

 15         BY MR. NKWONTA:

 16                   Q.       And the response, the first sentence

 17         of the response says, "The partnership with the

 18         Georgia Republican Party was announced on

 19         December 14, 2020, shortly after a meeting with

 20         David Shafer, Executive Director Stewart Bragg,

 21         and Florida Elections Day Operations Director

 22         Alyssa Gonzalez Specht."



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                                                                                               Page 166
   1                           Is that a correct reading of the

   2        first sentence of the response?

   3                  A.       Yes.

   4                  Q.       Is it your testimony that that is

   5        not outreach to the GOP?

   6                  A.       We did not -- we were introduced.                                    I

   7        was introduced.             I did not initiate that

   8        introduction.

   9                  Q.       But at some point you would have to

 10         have reached out in order to schedule a meeting

 11         and conduct a meeting, correct?

 12                   A.       I mean, yes, we could say it that

 13         way, yes.

 14                   Q.       So, it is fair to say that True the

 15         Vote had some outreach with the GOP before

 16         reaching out to any Democratic Party official or

 17         legislator and announced the partnership with the

 18         GOP before reaching out to any Democratic

 19         official or legislator?

 20                   A.       We -- I would say that the outreach

 21         consisting of acknowledgment that we would meet

 22         or be at a place where these folks were.                                     And



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                                                                                               Page 167
   1        inasmuch as partnership meant them, to make them

   2        aware of the, of the election integrity

   3        initiatives that were already posted on line,

   4        then yes.

   5                           MR. NKWONTA:                  You can pull down

   6             Exhibit 81.

   7        BY MR. NKWONTA:

   8                  Q.       I would like to talk about True the

   9        Vote's coordination with the Secretary of State's

 10         office.       Did True the Vote reach out to the

 11         Secretary of State's office before launching the

 12         challenge effort?

 13                   A.       Yes.

 14                   Q.       Can you walk me through how that

 15         outreach occurred?

 16                   A.       We were working with a

 17         communications consultant who knew the staff at

 18         the Secretary of State's office.

 19                            And so, through him I asked to set

 20         up a meeting.          And we attended that meeting -- or

 21         I attended take meeting.

 22                   Q.       Who was the communications



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                                                                                               Page 168
   1        consultant?

   2                  A.       Brian Robinson.

   3                  Q.       And when you attended that meeting,

   4        who was present at the meeting?

   5                  A.       Jordan Fuchs, Ryan Germany, Brian

   6        Robinson, for a brief period of time Secretary

   7        Raffensperger, and myself.                         And that is all I

   8        recall.

   9                  Q.       When did this meeting occur?

 10                   A.       I don't recall specifically.                                It was

 11         in, you know, mid-December, somewhere in there.

 12                   Q.       How long did it last?

 13                   A.       I don't recall that, either.

 14                   Q.       What did you all discuss at this

 15         meeting?

 16                   A.       I went with the express purpose of

 17         describing the elector challenge and the wanting

 18         to make sure that we understood, as best as we

 19         could, what that process would look like at the

 20         county level for the electors who wanted to

 21         participate in their -- with their counties to

 22         avoid any friction or inappropriate process.



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                                                                                               Page 169
   1                           And, I expressed that I was

   2        concerned about the size of the number, how large

   3        it was.       And I expressed that, you know, even

   4        though we had done what we could to refine the

   5        list so to be, you know, as exact as possible,

   6        but the number was still large.

   7                           Secretary Raffensperger quickly

   8        commented that he thought the number was about

   9        right because they hadn't been able to clean the

 10         list and so people move.                       And he did some fast

 11         math in his head, yeah, XYZ, it should be about

 12         that number.

 13                            And I remember the feeling of

 14         saying, you know, this is a -- the only way we

 15         can see to do this is to run the whole list, and

 16         he agreed.

 17                            And again it is a process that

 18         electors can participate in, and it is afforded

 19         in state law.          And that was kind of it. And then

 20         we went through the specific steps of what would

 21         happen.

 22                            Another thing I recall crisply is my



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                                                                                               Page 170
   1        conversation exchange with Ryan Germany, where I

   2        wanted to understand if this was a burden on

   3        counties and what that would look like and the

   4        timing, because they were beginning to prepare

   5        to -- for the early opening of absentee ballot

   6        applications.

   7                           And Mr. Germany saying that it would

   8        be a very simple process, that counties could

   9        forward on the spreadsheet to the state.                                     The

 10         state would forward it to their vendor.                                    And it

 11         would be flagged as I have described in previous

 12         comments.

 13                            So, the, the -- our understanding,

 14         my understanding leaving that meeting was

 15         following the process would be a, a smooth way to

 16         support these electors who had, you know, come to

 17         us with concern, out of concern for the fact that

 18         the rolls weren't being maintained.

 19                   Q.       You mentioned you were concerned

 20         about the size of the challenges and how large it

 21         was.    Why were you concerned about the size of

 22         the challenges?



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                                                                                               Page 171
   1                  A.       It is just because it is a big

   2        number.        It is a big number.                      But when you don't

   3        clean the rolls for two years and, you know,

   4        13 percent of the population moved, it is just

   5        going to be a big number, but it's a lot.

   6                  Q.       So, what concerns did that create

   7        for you, the fact that the number was big.

   8                           Why was that concerning to you?

   9                  A.       Because of the recognition that it

 10         was going to draw attention, as it should,

 11         because it is a -- it is worthy of attention that

 12         our rolls would ever be that bad.

 13                            But I also knew that it would draw

 14         negative attention in which I didn't want.

 15                            But, you know, were we to do less,

 16         my feeling was we would have been potentially

 17         accused of targeting or trying to be selective,

 18         and that is not what we wanted either.

 19                            So, we just applied the same

 20         standard statewide.

 21                   Q.       In that meeting what information did

 22         you provide the Secretary of State's office?



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                                                                                               Page 172
   1                  A.       I described what we had done and,

   2        you know, with our -- with respect to the

   3        methodology.         And beyond that I remember that I

   4        offered -- we have, I said at the time, that we

   5        thought that we might keep in accord with state

   6        process or standards, that we might need to

   7        actually physically print all of these

   8        challenges.

   9                           And so we, I say we, I asked whether

 10         or not that would be necessary or how we would

 11         need to be in compliance.                        Would I need to

 12         provide a copy straight to the state or would the

 13         county provide that?                  We talked about that.

 14                            And then the other things I have

 15         described, the little bits of the conversation,

 16         but it was wholly about the elector challenges.

 17                   Q.       You didn't provide them with a

 18         challenge list, did you?

 19                   A.       I don't, I don't think so.                              I don't

 20         recall, but I don't think so.

 21                   Q.       You didn't provide them with any

 22         written description or summary of the



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                                                                                                Page 173
   1        methodology, did you?

   2                  A.        Nothing, I don't recall.                            I don't

   3        think so.          No.

   4                  Q.        Okay.          Did you provide any other

   5        written materials to the Secretary of State's

   6        office or anyone in that meeting?

   7                  A.        I don't recall.

   8                            MR. NKWONTA:                  I would like to pull

   9             up Exhibit 20, please.

 10                                      (Exhibit 20 marked for

 11                                        identification.)

 12         BY MR. NKWONTA:

 13                   Q.        Ms. Engelbrecht, do you recognize

 14         Exhibit 20?

 15                   A.        A text from me to Derek, yes.

 16                   Q.        And do you recall sending this text?

 17                   A.        I don't recall it, but I,                             clearly I

 18         did.

 19                   Q.        Is this text referring to the same

 20         meeting with the Secretary of State and other

 21         individuals that you just described?

 22                   A.        I'm sorry.                Can you -- I was -- I'm



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                                                                                               Page 174
   1        sorry.      I was reading that.

   2                           Could you restate your question?

   3                  Q.       Sure.          Is this text describing the

   4        meeting with the Secretary of State's office that

   5        we were just discussing?

   6                  A.       I believe so, yes.

   7                  Q.       You mentioned that you got some

   8        guidance in that text message.

   9                           What guidance were you referring to?

 10                   A.       Specifically that would have been

 11         the guidance that we don't have to actually

 12         print,      didn't have to actually print all of the

 13         challenges.

 14                   Q.       Any other guidance?

 15                   A.       Not that I recall.                         No, not that I

 16         recall.

 17                   Q.       Do you know if --

 18                   A.       Actually, let me -- there was,

 19         because we went through the process.                                  And I

 20         explained as I -- according to my read and

 21         sometimes, you know, as standards are written,

 22         they are not practically applied in that way.



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                                                                                               Page 175
   1                           So, I wanted to understand the flow

   2        of, as I mentioned, their observation that

   3        digital physical files would be sent to them and

   4        to their vendor so that kind of guidance was

   5        offered as well.

   6                  Q.       Do you know if the Secretary of

   7        State's office ever analyzed your challenge

   8        lists?

   9                  A.       I do not know.

 10                   Q.       Or ever reviewed your challenge

 11         lists?

 12                   A.       I do not know.

 13                   Q.       And why did you share this

 14         information with Mr. Somerville?

 15                   A.       Because they were also doing elector

 16         challenges, and as I mentioned earlier we did not

 17         want to cause confusion.

 18                            And so my comments would have been

 19         oriented towards, you know, our timing so as to

 20         not cause confusion.

 21                   Q.       I notice this text message came from

 22         your phone but was produced by Mr. Somerville.



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                                                                                                Page 176
   1        Is there a reason why it was not produced from

   2        you directly?

   3                  A.        I do not keep texts.

   4                  Q.        How often do you delete your texts?

   5                  A.        It varies, but generally I just

   6        every once and again go in and clean them, wipe

   7        them out.          So, I couldn't tell you.

   8                  Q.        When is the last time that you

   9        cleaned your texts?

 10                   A.        I don't recall.

 11                   Q.        Would it have been within the past

 12         six months?

 13                   A.        I, given that this lawsuit was in

 14         place I wouldn't have, probably not.                                   I would

 15         have to look.

 16                             But, I would not have -- knowing

 17         that these things would have needed to have been

 18         preserved, I wouldn't have gotten rid of them

 19         during this period.

 20                   Q.        So, in other words are you saying

 21         that you have not deleted any of -- you have not

 22         wiped your texts since this lawsuit was filed?



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                                                                                               Page 177
   1                  A.       I have not -- I have not wiped my

   2        texts since it was any of these records related

   3        to anything related to this lawsuit; that is

   4        true.

   5                  Q.       So, you should still have this text,

   6        right?

   7                  A.       I'm not sure when the lawsuit was

   8        filed, but, you know, that was a year ago, over a

   9        year ago.

 10                   Q.       Fair enough.                  But any text relating

 11         to the challenge efforts or your, or these types

 12         of communications, you would not have deleted.

 13         You would still have them, you know, as long as

 14         they existed since the lawsuit was filed; is that

 15         correct?

 16                   A.       After the lawsuit was filed and I

 17         was notified to preserve documents, I preserved

 18         documents.

 19                            But between the time that this text

 20         occurred and the lawsuit was filed, I, it is

 21         entirely possible that I cleaned my texts.

 22                            MR. NKWONTA:                  You can pull that



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                                                                                                Page 178
   1             down.         I want to turn next to your work with

   2             OPSEC Group -- or turn back to your work with

   3             OPSEC Group.

   4                            Can we pull up Exhibit 21, please.

   5                                     (Exhibit 21 marked for

   6                                       identification.)

   7        BY MR. NKWONTA:

   8                  Q.        Ms. Engelbrecht, do you recognize

   9        Exhibit 21?

 10                   A.        Yes.

 11                   Q.        What is it?

 12                   A.        That was an invoice presented to

 13         True the Vote from OPSEC.

 14                   Q.        And you have reviewed this invoice

 15         before, correct?

 16                   A.        Yes.

 17                   Q.        And did you have a chance to review

 18         this invoice before paying it?

 19                   A.        Before payment, oh, absolutely, yes.

 20                   Q.        When was the invoice issued?

 21                   A.        It appears to have been issued

 22         December 7th.



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                                                                                               Page 179
   1                  Q.       And when was payment made?

   2                  A.       I don't know.

   3                  Q.       The invoice shows an amount due of

   4        zero.

   5                           Was the payment made before the

   6        invoice was issued or at some point after?

   7                  A.       I don't know.

   8                  Q.       Is there someone else within True

   9        the Vote who would know?

 10                   A.       I mean I would know if I looked at

 11         the records.         I just don't recall.

 12                   Q.       When was the work for which this

 13         invoice was related completed?

 14                   A.       Well, this was -- most of this

 15         was -- almost all of this was about data

 16         acquisition.         So that was a, you know, an ongoing

 17         concerns for all manner of things.

 18                   Q.       Oh, this invoice was just for data

 19         acquisition?

 20                   A.       Data acquisition and then the

 21         subsequent data management, like the

 22         normalization of data across disparate databases



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                                                                                               Page 180
   1        requires standardization.                        That is the reference

   2        to ETL.

   3                           And then you know they indicate here

   4        analyses, so that would come back to us over time

   5        in the form of analysis.

   6                           And litigation support, which was

   7        another, you know, a manner, a matter of their

   8        involvement.

   9                  Q.       When did this work start?

 10                   A.       I am not sure.                    I don't know.

 11                   Q.       Did this work start before

 12         December 7th?

 13                   A.       I don't recall.

 14                   Q.       So, it is possible this work started

 15         after December 7th?

 16                   A.       No, because litigation support would

 17         have occurred in November.

 18                   Q.       What does that term, litigation

 19         support, mean?           Litigation support for what

 20         exactly?

 21                   A.       We had served in support of OPSEC's

 22         analyses for lawsuits that were filed post the



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                                                                                               Page 181
   1        general election that were heavily dependent on

   2        OPSEC's ability to review data that should have

   3        been made available by the state.

   4                           And, so that was their -- that was

   5        their role and we were supporting that effort.

   6                  Q.       Are you referring to the lawsuits

   7        filed in battle ground states like Georgia,

   8        Michigan, Pennsylvania, Wisconsin?

   9                  A.       Yes.

 10                   Q.       And the lawsuits filed shortly after

 11         the November general election?

 12                   A.       Yes.

 13                   Q.       So, part of this invoice includes

 14         work that was done in connection with lawsuits

 15         that were filed shortly after the November

 16         presidential election?

 17                   A.       Yes.

 18                   Q.       Can you identify other line items

 19         that relate to the November general election,

 20         aside from litigation support?

 21                   A.       Well, all of the data acquisition

 22         could conceivably have been used for the



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                                                                                               Page 182
   1        litigation support.

   2                  Q.       So, this invoice and all of the

   3        analysis is not specific to the Georgia runoff

   4        election?

   5                  A.       No.

   6                  Q.       It is all combined; it is all one

   7        invoice?

   8                  A.       Yeah, just a listing of all manner

   9        of things.

 10                   Q.       But in terms of the work OPSEC was

 11         doing for True the Vote, was it sort of all one

 12         combined project?

 13                            In other words, the analyses for the

 14         general election or the November presidential

 15         election and the analyses for the runoff, was it

 16         all one combined project?

 17                   A.       No, the analyses for the lawsuits

 18         that were filed post election would have been in

 19         support of those lawsuits specifically.

 20                            And True the Vote was, you know,

 21         the, financially supporting the effort, but it

 22         was being used in lawsuits or should have been



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                                                                                               Page 183
   1        used in lawsuits.

   2                  Q.       Right.           I'm saying there is no

   3        differentiation here between analysis for those

   4        lawsuits and the analysis for the Georgia elector

   5        challenges suit?

   6                           So I'm asking whether there was all

   7        one project, at least as far as OPSEC was

   8        concerned?

   9                  A.       Yeah, I don't, I don't recall.

 10                   Q.       So, I understand you may not recall

 11         exactly how it was set up.

 12                            But, the invoice does reflect --

 13         they are combined on the invoices; is that

 14         correct?

 15                   A.       Yes.         I mean there is an element of

 16         combination here, yes.

 17                   Q.       What does Eyes on Georgia mean?

 18                   A.       That was the term that OPSEC had,

 19         and I guess they in their system set that up for

 20         part of the description.

 21                   Q.       What were they describing?

 22                   A.       At that point it would have -- I



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                                                                                                Page 184
   1        mean their terminology for looking at what could

   2        be, what could be addressed in Georgia or what

   3        could be -- let me say that a little differently.

   4                            What could be done to address the

   5        concerns of Georgians relative to citizen

   6        engagement.         What could be done.                          And that is

   7        where you see where it says Georgia Code

   8        Analysis.          That is kind of the beginning of

   9        figuring out, you know, what could we do for

 10         citizens.

 11                   Q.        What other types of analyses did

 12         OPSEC conduct aside from generating a list of

 13         challenged voters in Georgia?

 14                   A.        I know that they looked at, looked

 15         post the -- sorry guys, post -- my apologies,

 16         give me a second.                A rogue pet.                  Hang on.

 17                             They looked at other data

 18         elements -- I'm sorry.                      Can you repeat the

 19         question?

 20                   Q.        Sure.          What other types of analyses

 21         did OPSEC conduct in Georgia aside from preparing

 22         challenge lists for the runoff election?



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                                                                                               Page 185
   1                  A.       They looked at other data elements

   2        that are tracked in the Georgia file.                                  When it

   3        was mentioned that there was bias, we wanted to

   4        see what the records of the state would show, so

   5        they did that analysis.

   6                  Q.       What other analysis did they

   7        conduct?

   8                  A.       Relative to all of this, I don't

   9        recall.

 10                   Q.       Is there anyone from True the Vote

 11         who would recall?               Are there any -- sorry, let

 12         me -- you were -- I think you were shaking your

 13         head but I will let you answer.

 14                   A.       Sorry, no.                I'm sorry, no.                I'm --

 15         that is my thinking nod.                       No, I don't think so.

 16         No.

 17                   Q.       Are there any documents that you

 18         could review that would help refresh your

 19         recollection of any other analyses that you

 20         conducted?

 21                   A.       No.        I don't recall.                     I don't think

 22         so.



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                                                                                               Page 186
   1                  Q.       What does Political Lists mean?

   2                  A.       I believe that that was made, or was

   3        a reference to a list called L2 that can be

   4        referred to as a political list because L2 tracks

   5        the voter turnout by party.

   6                           And so, that would have stood to

   7        reason on this invoice because we did have L2

   8        data just to see what they were reporting as a

   9        supplemental source.

 10                   Q.       Why did OPSEC want to analyze voter

 11         turnout by party?

 12                   A.       It was -- L2 has really good

 13         visualization, and so to be able to show in the

 14         early election periods how many people had

 15         already voted.           And just the broad, the broad

 16         sort of filling in of counties.

 17                            It is just a really good visual.

 18         And we use that sometimes in the podcast just to

 19         show, you know, how people were turning out.

 20                   Q.       Why was it important to show those

 21         data points by party or to identify those data

 22         points by party?



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                                                                                               Page 187
   1                  A.       It would -- I mean, it is not.                                  That

   2        is just how L2 is known.                       But for our purposes it

   3        was just of interest because they do a great

   4        visualization.

   5                           And also -- and they visualize

   6        according to a variety of substrates.                                  I mean,

   7        you know, by age, by whether or not people

   8        normally voted absentee ballot.

   9                           It is just a very strong

 10         visualization platform and database.

 11                   Q.       And in those -- going back to those

 12         lawsuits that OPSEC provided support for or

 13         litigation support for, those lawsuits sought to

 14         enjoin election results or a certification of

 15         election results in specific counties; is that

 16         correct?

 17                   A.       Yes.

 18                   Q.       And why did True the Vote seek that

 19         relief?       Or why did True the Vote support those

 20         losses?

 21                   A.       We supported the, the plaintiffs,

 22         the citizens of those counties, of those states,



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                                                                                               Page 188
   1        in counties where there appeared to have been

   2        unequal application of election standards made,

   3        made more pronounced by the changes to election

   4        law that were occurring, you know, throughout the

   5        process.

   6                           And that position -- our position

   7        was that many of those changes were in fact

   8        unconstitutional.               And so the thought was to use

   9        data sources to try to support that position.

 10         That is what OPSEC would have been doing in the

 11         lawsuits.

 12                   Q.       So, OPSEC was retained by True the

 13         Vote to use data analysis to try to identify the

 14         counties to sue; is that correct?

 15                   A.       Not the counties to sue.                            OPSEC

 16         would have been -- we had an extensive list of

 17         data requests of the states to afford a really

 18         good look at the accuracy of the rolls, because

 19         in most of these states they had all manner of

 20         inaccuracies.

 21                            And so that is what they were being

 22         retained to do.



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                                                                                               Page 189
   1                  Q.       How did True the Vote identify the

   2        counties to sue in these lawsuits?

   3                  A.       Based on the residency of the

   4        plaintiffs.

   5                  Q.       I'm not sure I understand, because

   6        there is some --

   7                  A.       So --

   8                  Q.       I will finish and then I will let

   9        you speak.

 10                   A.       Sure.

 11                   Q.       There is some cases in which the

 12         plaintiffs did not reside in any of the counties

 13         that were sued.

 14                            So, and we can get into that in more

 15         detail with exhibits, et cetera.

 16                            But I wanted to sort of get your

 17         explanation on behalf of True the Vote, how True

 18         the Vote identified the counties that were named

 19         as defendants in those lawsuits.

 20                   A.       I don't recall the specifics around

 21         that.

 22                   Q.       Is there anyone at True the Vote who



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                                                                                               Page 190
   1        would recall the specifics?

   2                  A.       No.

   3                  Q.       Are there any documents that

   4        would -- that you can review that would inform

   5        you of that?

   6                  A.       No, other than to, you know, review

   7        again the briefings themselves, no.

   8                  Q.       The amount of this invoice, 400,000,

   9        is that -- have you paid an outside vendor that

 10         amount for data analysis before?

 11                   A.       For data analysis?                         No.

 12                   Q.       Or for the type of analysis that

 13         OPSEC conducted here?

 14                   A.       In -- if we were to have gone and

 15         purchased this type of data individually from,

 16         you know, from a number of print third parties

 17         then, if that is your question then yes, the data

 18         is, you know, particularly nationwide data is

 19         very expensive.

 20                   Q.       My question was slightly different

 21         which is, has True the Vote ever spent this

 22         amount on the type of data analysis that OPSEC



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                                                                                               Page 191
   1        conducted here as reflected in this invoice?

   2                  A.       It has been a year, I don't recall.

   3                  Q.       Approximately when did True the Vote

   4        start working on its landmark election challenge

   5        in Georgia?

   6                  A.       Can you expand on what you mean by

   7        working on?

   8                  Q.       Approximately when did True the Vote

   9        start preparing its landmark election challenge

 10         in Georgia?

 11                   A.       It would have been that first or

 12         second week of December.

 13                   Q.       Were there any additional invoices

 14         that followed this December 7th invoice from

 15         OPSEC?

 16                   A.       We have been invoiced by OPSEC for

 17         things since, yes.                Is that what you are -- could

 18         you rephrase your --

 19                   Q.       I missed that last part.                            Could you

 20         repeat your answer?

 21                   A.       I mean, we have worked with OPSEC in

 22         a variety of fronts, you know, post some of these



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                                                                                               Page 192
   1        things, if that is -- I'm not sure if that is

   2        what you are asking.

   3                  Q.       Sure.          I will rephrase the question.

   4                           Did True the Vote receive any other

   5        invoices from OPSEC relating to data analysis in

   6        Georgia for the 2020 presidential election or the

   7        runoff election?

   8                  A.       Related to the elector challenges,

   9        no.

 10                   Q.       Did OPSEC continue to conduct

 11         analysis for True the Vote after the 2021 runoff

 12         election -- after the January 2021 runoff

 13         election?

 14                   A.       Yeah, we continued to work together,

 15         yes.

 16                   Q.       And did OPSEC -- or was OPSEC

 17         continuing to analyze the voter registration list

 18         and prepare lists of voters who have potentially

 19         changed their address?

 20                   A.       Yes.

 21                   Q.       Has True the Vote issued any

 22         challenges since the landmark elector challenge



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                                                                                               Page 193
   1        effort in advance of the January 2021 runoff

   2        election?

   3                  A.       Could you repeat that one more time?

   4                  Q.       Sure.          Since the January 2021 --

   5                  A.       No.

   6                  Q.       -- has True the Vote issued any

   7        challenges in Georgia?

   8                  A.       No.

   9                  Q.       Has True the Vote or OPSEC provided

 10         any data to any challengers since the

 11         January 2021 runoff election?

 12                            MS. SIEBERT:                  I'm going to object

 13              and maybe I don't need to object, but are you

 14              speaking specifically in Georgia?                                 It is a

 15              little unclear about --

 16                            MR. NKWONTA:                  Yes.

 17                            MS. SIEBERT:                  Okay.          Then I withdraw

 18              my objection.              Thank you.

 19                            THE WITNESS:                  I, I'm not sure that I

 20              understand exactly what you are asking.

 21                            We have not done any other

 22              challenges.            There has not been any other



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                                                                                               Page 194
   1             information provided for challenges.

   2                           There were -- you know, there has

   3             been correspondence that is about what has

   4             happened with the challenges, you know, that,

   5             that did occur.

   6                           Did that answer the question?

   7        BY MR. NKWONTA:

   8                  Q.       I think so.                 And just to clarify my

   9        question a little bit more, in prior discovery

 10         responses, True the Vote has indicated that True

 11         the Vote itself does not actually issue

 12         challenges.        It supports voters to issue

 13         challenges.

 14                            So, I was trying to be a little bit

 15         more precise in my question asking you whether

 16         True the Vote has provided any analysis or any

 17         information to others to file challenges in

 18         Georgia since the January 2020 election?

 19                   A.       Oh, I think I understand.                             No.       No.

 20                   Q.       And has True the Vote provided any

 21         data analysis or any lists of potential

 22         nonresidence to any election officials in Georgia



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                                                                                               Page 195
   1        or any counties in Georgia since the January 2021

   2        runoff election?

   3                  A.       No.

   4                  Q.       So, the additional analysis that

   5        OPSEC has been conducting during the January 2021

   6        runoff election, what has come of that analysis?

   7        What has it been used for?

   8                  A.       OPSEC has helped us develop some

   9        additional programs that will be -- that are

 10         available for citizens to look at their local

 11         voter rolls, to understand the process of just

 12         broadly their election process.

 13                            OPSEC has been helpful in organizing

 14         that, organizing our, just data broadly.

 15                            We have worked with OPSEC on a

 16         project to identify whether or not there were

 17         abuses of drop box locations and processes.                                        And

 18         OPSEC has been involved in that.

 19                   Q.       You mentioned something earlier

 20         about allowing citizens to use or look at voter

 21         rolls.      And I wanted you to expand on that a

 22         little bit.



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                                                                                               Page 196
   1                           MS. SIEBERT:                  I'm going to object to

   2             this, if it is outside the scope of -- if we

   3             are speaking about a nationwide effort as

   4             beyond the scope of the court's order to

   5             limit to this six states.

   6                           And instruct Ms. Engelbrecht not to

   7             answer beyond those states and the court's

   8             order.

   9        BY MR. NKWONTA:

 10                   Q.       And you can interpret my question,

 11         Ms. Engelbrecht, as limited to the six states.

 12                   A.       Can you repeat the question?

 13                   Q.       Sure.

 14                            MR. NKWONTA:                  Actually it might be

 15              better if the court reporter could read the

 16              question back, please.

 17                            (Whereupon, the record was read by

 18              the reporter as requested.)

 19                            THE WITNESS:                  Okay, thank you.                  To

 20              clarify, did you want me to explain the

 21              process of how a citizen that wants to look

 22              at their local rolls would go about that with



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                                                                                               Page 197
   1             True the Vote?               Is that -- or is there

   2             another way you would like me to frame, to

   3             consider that question?

   4        BY MR. NKWONTA:

   5                  Q.       I should probably clarify.

   6                           Does that program entail allowing

   7        citizens to review lists of voters who have

   8        potentially moved or who have potentially changed

   9        their addresses?

 10                   A.       No.

 11                            MR. NKWONTA:                  I would like to ask

 12              you to take a look at Exhibit 26.                                 If you

 13              could pull this down.                       Pull up Exhibit 26 --

 14                            Actually before that I'm sorry,

 15              could we pull up Exhibit 25, first.

 16                                     (Exhibit 25 marked for

 17                                       identification.)

 18         BY MR. NKWONTA:

 19                   Q.       Ms. Engelbrecht, do you recognize

 20         Exhibit 25?

 21                   A.       Yes.

 22                   Q.       And is that an e-mail from Amy



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                                                                                               Page 198
   1        Holsworth to you?

   2                  A.        Yes.

   3                  Q.        And is Amy Holsworth an employee of

   4        True the Vote?

   5                  A.        No.

   6                  Q.        What is her position within True the

   7        Vote?

   8                  A.        She is no longer with True the Vote.

   9                  Q.        What was her position at the time

 10         she sent this e-mail?

 11                   A.       She was, I guess, a support

 12         personnel.         She helped with managing all of the

 13         incoming inquiries from the Election Integrity

 14         Hotline.

 15                   Q.       So, she was an employee at the time?

 16                   A.       She was a contractor at the time.

 17                   Q.       So, in that e-mail, which was sent

 18         Wednesday, December 30th, says, "I'm sure you all

 19         have thought of this, but the elector challenge

 20         that was filed before the November election and

 21         denied, do we have that list from the lawsuit?

 22         Can we sort it against the list of people that



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                                                                                               Page 199
   1        voted and find matches, et cetera, and determine

   2        if they were valid votes?

   3                           "Then check that list against our

   4        new list to see if any that could -- that

   5        couldn't or shouldn't have voted are still on the

   6        voter lists of challenge voters we have."

   7                           Is that a correct reading of Amy

   8        Holsworth's e-mail to you?

   9                  A.       Yes.

 10                   Q.       What is the challenge that she is

 11         referring to from before the November election?

 12                   A.       I do not -- I do not know.

 13                   Q.       If you scroll down to your response.

 14         You respond, "Yes, absolutely doing it!"

 15                   A.       Uh-huh.

 16                   Q.       So it seems like you knew what she

 17         was referring to then.

 18                   A.       Yes, I did.                 There could have

 19         been -- because we did not file any elector

 20         challenges.

 21                            And it, in all likelihood was a

 22         mischaracterization of that term.                                 But just, you



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                                                                                               Page 200
   1        know, in casual conversation thinking I knew what

   2        Amy was referring to, I responded in that way.

   3                           But, I'm not -- in this moment, it

   4        could have been -- there is so many things

   5        happening in so many states that we were not a

   6        part of but observant of, that it really could

   7        have been a number of things.

   8                  Q.       Were you aware of any other

   9        challenges filed in Georgia before the November

 10         election?

 11                   A.       No.        But I'm also not sure that this

 12         is even about Georgia.

 13                   Q.       Well, it was produced in this case.

 14         And if it is not about --

 15                   A.       It is -- I'm sorry.

 16                   Q.       What other jurisdictions could this

 17         e-mail have been referring to?

 18                   A.       It could have been Wisconsin.                                 To

 19         clarify, we did not file anything in Wisconsin,

 20         but there were -- and again this is, I believe,

 21         an incorrect use of the term, elector challenge.

 22                            But there were subsets that were



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                                                                                               Page 201
   1        being, in many states, were being challenged in

   2        court that could have been used for analysis.

   3                           I don't recall the specifics any

   4        longer about what this exchange specifically was.

   5                           MR. NKWONTA:                  Okay.          Let's pull this

   6             down and pull up Exhibit 26.                               And could you

   7             enlarge Exhibit 26 a little bit?

   8                                    (Exhibit 26 marked for

   9                                      identification.)

 10         BY MR. NKWONTA:

 11                   Q.       Ms. Engelbrecht, do you recognize

 12         Exhibit 26?

 13                   A.       Yes.

 14                   Q.       What is it?

 15                   A.       This was an e-mail that began as

 16         comments and clarifications that I had sent to

 17         the elector challengers, who we were working

 18         with.

 19                            And then Amy forwarded this to James

 20         Cooper and then James Cooper responded back.

 21                            MR. NKWONTA:                  And can you scroll

 22              down to the second e-mail.                             Great.



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                                                                                               Page 202
   1        BY MR. NKWONTA:

   2                  Q.       And, it includes talking points that

   3        were shared by you, according to Amy.                                  That

   4        e-mail says, "Good afternoon.                             Here is an excerpt

   5        from an e-mail in which a few talking points were

   6        shared by Catherine Engelbrecht.                                Hope this

   7        helps."

   8                           Is that a correct reading of that

   9        second e-mail from Amy Holsworth?

 10                   A.       Yes.

 11                   Q.       And do you agree that the talking

 12         points that follow were shared by you or came

 13         from you?

 14                   A.       Yes.

 15                   Q.       And looking at those talking points,

 16         you describe sort of the process of the NCOA

 17         matching.

 18                            I wanted to ask you specifically

 19         about the enhanced NCOA search to identify

 20         military addresses.                 What does that mean?

 21                   A.       When you are using NCOA link with

 22         the filters that I referred to earlier, the, the



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                                                                                               Page 203
   1        DPV, the delivery point, the verification, and --

   2        well specifically that.

   3                           And then the NCOA link version gives

   4        you the opportunity to filter out any recognized

   5        military address.

   6                           And then further, there were efforts

   7        made to recognize the standard zip codes,

   8        orientations of bases that have certain -- the

   9        way that the address looks, you can tell that it

 10         was a military base and so those were filtered

 11         out.    And that is what it meant.

 12                   Q.       And to be clear you are referencing

 13         the enhanced NCOA search to remove identifiable

 14         military addresses.                 That appears on Page 2 of

 15         the PDF or Bates Number TTV 1453; is that

 16         correct?

 17                            MR. NKWONTA:                  If you could scroll

 18              down, Joe, to the next page, so

 19              Ms. Engelbrecht can see that.

 20                            THE WITNESS:                  Yes.

 21                            MR. NKWONTA:                  You might scroll down

 22              a little bit more.                    There we go.               It is Item



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                                                                                               Page 204
   1             Number 1 on TTV 1453.                       Right.

   2                           THE WITNESS:                  Uh-huh.

   3        BY MR. NKWONTA:

   4                  Q.       Who conducted the scrub of the list

   5        for military addresses specifically?

   6                  A.       That was through OPSEC.

   7                  Q.       And why did you think it was

   8        important to scrub the military addresses from

   9        the list?

 10                   A.       Just due to the sensitivity around

 11         military addresses broadly.                          It was just -- the

 12         numbers were already so large and it was just

 13         not -- we thought it would be, you know, better

 14         to just not even have include that to the best of

 15         our ability.

 16                   Q.       When you say sensitivity around

 17         military addresses, what do you mean by that?

 18                   A.       I mean that the military is --

 19         people move very often.                      There is a lot --

 20         oftentimes having worked with veterans groups and

 21         veterans for an extended period of time, mail is

 22         just always sensitive.



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                                                                                               Page 205
   1                           It is typically lagging.                            It is just

   2        an area that we would want to, not -- that we

   3        recognize is not as exacting as more typical

   4        residential filter.

   5                  Q.       Your challenges as True the Vote has

   6        acclaimed, your challenges did not lead to any,

   7        you know, challenged person being removed.

   8                           That is, I believe, True the Vote's

   9        claim; is that correct?

 10                   A.       Right.           Our elector challenges were

 11         in accordance with the code which had never led

 12         to anybody.        You said it differently.

 13                            Our, the standard, the 230 standard

 14         was not about removing anybody from the rolls but

 15         rather asking the county to confirm the

 16         eligibility of the record.

 17                            And then they follow their process

 18         that we have nothing to do with, clearly.

 19                   Q.       And True the Vote has also claimed

 20         that the purpose of the challenge is just to get

 21         the counties to confirm residency, right?

 22                   A.       Well, just the purpose of the



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                                                                                               Page 206
   1        challenges was to bring to the -- to help

   2        electors bring to the attention of their local

   3        counties, records that appeared not to comply

   4        with eligibility standards.

   5                           And it is within state law for them

   6        to -- for citizens to participate in that way to

   7        ask that question.                And that is the extent of the

   8        elector challenge.

   9                  Q.       And if the challenges, as True the

 10         Vote claims, does not result in a person be

 11         removed, then why go through the effort of

 12         scrubbing military addresses?

 13                   A.       As I have said, it was just a choice

 14         that we made to not -- I mean, there are, you

 15         know, deployments.                There are different ways in

 16         which addresses are identified.

 17                            And because there is a filter that

 18         exists within the expanded NCOA, we just chose to

 19         remove them.

 20                   Q.       You chose to remove them because

 21         there are a lot of valid reasons why someone in

 22         the military might file a notice of change of



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                                                                                               Page 207
   1        address even while maintaining permanent

   2        residence in Georgia; is that right?

   3                  A.       No.        To be clear, NCOA is in the

   4        database of, that is NCOA is the result of the

   5        resident notifying -- ostensibly is the result of

   6        the resident notifying the United States Postal

   7        Service that they have permanently moved their

   8        residence.

   9                           It is also worth noting that inside

 10         of the expanded NCOA you can, you can as a

 11         resident or as a reviewer of the data, you can

 12         select a temporary move, right, so who moved only

 13         temporarily.         And there are classifications

 14         around all of that.

 15                            So, we only looked at permanence.

 16         Nonetheless, I just, our recognition that

 17         military, because of the nature of the military,

 18         can fall outside of some of the stricter

 19         standards in postal and in the delivery services,

 20         it was really just a choice to not take that --

 21         not include them.

 22                   Q.       So, according to True the Vote's



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                                                                                                Page 208
   1        claims then, the challenge list would have only

   2        included members of the military who indicated or

   3        provided a notice of permanent address changes;

   4        is that right?

   5                  A.         That would have been true for the

   6        entire list.          That we would have only been given

   7        notice based upon our aggregation of the data

   8        from USPS as they provide it.

   9                             They are attestation through that

 10         data is that the selection had been made by the

 11         resident.          That the move -- the residential move

 12         to a new address was permanent.

 13                   Q.        And that would be true for -- that

 14         would be true for members of the military as

 15         well, right?

 16                   A.        For everyone.                   According to what we

 17         were provided, uh-huh.

 18                   Q.        So, what I am -- the question I am

 19         trying to get at is what prompted the exception

 20         for members of the military who had already

 21         indicated that their move was permanent?

 22                   A.        As I said, it is just a -- I think



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                                                                                               Page 209
   1        being aware of the sensitivities around the

   2        military, because they do move so often.                                     And as

   3        I have mentioned, because of the number of

   4        elector challenges, because the rolls had not

   5        been cleaned in two years, the number was already

   6        so large that that seemed like -- and because the

   7        filters were available, that seemed like an

   8        appropriate action to take.

   9                  Q.       Did -- what is the difference

 10         between a temporary move and a permanent move

 11         when it comes to reporting through the NCOA?

 12                   A.       Um --

 13                   Q.       Let me rephrase it this way.                                I

 14         think I can make my question a little bit

 15         clearer.

 16                   A.       Sure.

 17                   Q.       Am I right that any move that lasts

 18         longer than a year is considered a temporary --

 19         is considered a permanent move?

 20                   A.       I'm not certain what time lines are

 21         put on the -- I'm not sure what time lines govern

 22         the actual input when a resident goes to USPS or



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                                                                                               Page 210
   1        through some other forum, puts the date in.                                        I

   2        don't know if the year is the governance or not.

   3                           I think -- I should leave it at

   4        that.     I'm not certain.                   But there are

   5        distinctions between permanent and temporary.

   6                           We chose only to look at permanent.

   7        And we chose only to look at permanent with the

   8        date that was at minimum 90 days -- how do I say,

   9        90 days pre the generals.                        So that it would have

 10         been a substantial period of time, so that when

 11         we rescreened everything, if there was a change,

 12         we would have caught that.

 13                            I hope that makes sense.                            That is

 14         confusing.

 15                   Q.       If an individual wanted to change

 16         their address for 18 months, would they be able

 17         to do that by filing a temporary address change,

 18         or would they be forced to file a permanent

 19         address change and then file another address

 20         change when they return home?

 21                   A.       I know that you can submit the dates

 22         that you want the change to be effective for.



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                                                                                               Page 211
   1        I'm not certain what other guidance USPS may

   2        follow.

   3                  Q.       As you sit here today, you can't

   4        tell me what definition of a permanent move is

   5        according to the USPS guidelines or according to

   6        the reporting on the NCOA database?

   7                  A.       I can't affirm exactly what their

   8        statutes or their guidelines say, no.

   9                  Q.       Did you scrub the challenge list for

 10         college students as well who tend to move often?

 11                   A.       I, I, it was discussed.                            I'm not

 12         sure whether or not that was done in whole or in

 13         part.     I'm not sure.

 14                   Q.       Has True the Vote participated in

 15         challenges involving students in the past in

 16         Georgia?

 17                   A.       Not that I recall.

 18                            MR. NKWONTA:                  Could we pull up

 19              Exhibit 46, please.                     I would like to show you

 20              Exhibit 46 to see if you recall this.

 21                                     (Exhibit 46 marked for

 22                                       identification.)



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                                                                                               Page 212
   1                           MR. NKWONTA:                  Can you scroll to the

   2             second page, please.                      And can you start

   3             reading from the -- could you scroll down a

   4             little bit more, Joe.

   5        BY MR. NKWONTA:

   6                  Q.       So, the fourth line from the bottom

   7        says -- and this is an article by the way.                                       Inter

   8        Press Service article from November 5th, 2012.

   9        It says, "True the Vote has challenged some

 10         people at the Atlanta University Center and

 11         saying they couldn't vote because they were

 12         students and were out of state."

 13                            Do you recall that?

 14                   A.       Not in any way, no.

 15                   Q.       Are you aware of any other

 16         challenges that True the Vote has been involved

 17         in, in any of the target jurisdictions that we

 18         have discussed that are directed towards

 19         students?

 20                   A.       No -- can you repeat your question?

 21                   Q.       Sure.          Are you aware of any other

 22         challenges that True the Vote has participated in



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                                                                                               Page 213
   1        or been involved in that alleged or that asserted

   2        that students were ineligible to vote for

   3        nonresidence?

   4                  A.       Sorry, can you hear me?

   5                  Q.       You are coming in and out.                              Do you

   6        mind repeating your answer?

   7                  A.       No.        I'm going to switch again, but

   8        my answer was --

   9                           MR. NKWONTA:                  Can we please briefly

 10              go off the record while we sort out the sound

 11              issues.

 12                            THE VIDEOGRAPHER:                        We are now going

 13              off the video record.                       The time is 1:56 p.m.

 14                            (Recess taken -- 1:56 p.m.)

 15                            (After recess -- 1:58 p.m.)

 16                            THE VIDEOGRAPHER:                        We are now going

 17              back on the video record.                            The time is

 18              1:58 p.m.

 19         BY MR. NKWONTA:

 20                   Q.       Ms. Engelbrecht, would you agree

 21         that students who go out of state or out of their

 22         county to attend school do not lose their



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                                                                                                Page 214
   1        residency?

   2                  A.        I mean, it is their choice.                               They

   3        can choose to move their residency.

   4                  Q.        Would you agree that students who

   5        attend school out of state or out of their county

   6        do not automatically lose their residency by

   7        changing their address for school?

   8                  A.        I'm trying to think through your

   9        question.          I would agree that it does not

 10         automatically occur, but it is their choice.

 11                   Q.        What is their choice?

 12                   A.        If they choose to move their

 13         residency.

 14                   Q.        Right.           But, they don't lose their

 15         residency by attending school outside of their

 16         county or outside of their state.                                  Is that right?

 17                             In other words, if they are actively

 18         attending school outside of one's county, outside

 19         of one's state is not enough to deprive one's

 20         residency in their home state; is that correct?

 21                   A.        That is correct.                       But it is a choice

 22         if they choose to move their residency.



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                                                                                               Page 215
   1                  Q.       I think I asked you this earlier,

   2        but I just want to make sure I get a clear

   3        answer.

   4                           Did True the Vote scrub the

   5        challenge list or do anything to remove students

   6        from the challenge lists?

   7                  A.       There were discussions about

   8        removing certain zip codes and potentially

   9        addresses that looked as though they were

 10         dormitories of sorts.

 11                            But beyond that I couldn't comment.

 12                   Q.       Why did True the Vote consider

 13         removing certain zip codes or addresses that

 14         looked like they were dormitories?

 15                   A.       For the very reason you just pointed

 16         out.    That it is like military.                             Those are just

 17         two groups that are perceived as being in a state

 18         of transit that is not a normal, you know,

 19         long-term residential.

 20                            Even though again the only way they

 21         would have appeared on their list is their choice

 22         to indicate that the change of permanent



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                                                                                               Page 216
   1        residence is just for -- the numbers already

   2        being as large as they were, we tried to exclude

   3        groups that, you know, would cause conflict.

   4                  Q.       And they made the same choice to

   5        enter a change of address to receive mail where

   6        they are located, they made the same choice that

   7        the members of the military did to enter the

   8        change of addresses as well; is that right?

   9                  A.       The only way they would have been on

 10         the list, the NCOA list, certainly after the

 11         additional advanced hygiene filters were applied,

 12         would have been if they would have, or should

 13         have been if they were -- if they had indicated a

 14         permanent change of residence.

 15                            MR. NKWONTA:                  Could we pull up

 16              Exhibit 84, please.

 17         BY MR. NKWONTA:

 18                   Q.       Ms. Engelbrecht, I have shown you

 19         Exhibit 84 before.                And I wanted to pull it up

 20         again to direct you to RFA Number 14 on Page 6.

 21                            MR. NKWONTA:                  Would you scroll down

 22              to Page 6.



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                                                                                                Page 217
   1        BY MR. NKWONTA:

   2                  Q.        RFA Number 14 says, "Admit that your

   3        challenge lists include voters who are enrolled

   4        in universities in other states."

   5                            To which True the Vote responded,

   6        "Denied."          Is that an accurate response,

   7        Ms. Engelbrecht?

   8                  A.        Give me one second to fully read the

   9        response here.

 10                             That response is a little muddled.

 11         I mean, the -- I -- I don't know if you have a

 12         question beyond that.                    Or actually could you

 13         restate your question and let me make sure I'm

 14         addressing it?

 15                   Q.        Yes.         So, Request for Admission

 16         Number 14 says, "Admit that your challenge lists

 17         include voters who are enrolled in universities

 18         in other states."

 19                             The first word in the response is,

 20         "Denied".

 21                   A.        I mean we would have no way of

 22         knowing --



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                                                                                               Page 218
   1                  Q.       That is not, that is not accurate,

   2        is it?

   3                  A.       Well, we would have no way of

   4        knowing.

   5                  Q.       You don't have any information to

   6        deny that, correct?

   7                  A.       I mean, we would have no way of

   8        knowing.       I appreciate the remainder of that

   9        response which I think tries to clarify.

 10                            But, specifically the admittance, we

 11         have no way of knowing.                      And then you get into,

 12         you know, enrolled in online universities.

 13                            I mean we could take this to, you

 14         know, the extremity.                  We would not know where

 15         people are enrolled.

 16                   Q.       So, as you are testifying today, you

 17         would not be able to deny that statement; is that

 18         right?

 19                   A.       As I am testifying today --

 20                   Q.       If I were to ask you today whether

 21         your challenge lists include voters who are

 22         enrolled in universities in other states, would



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                                                                                               Page 219
   1        you be able to respond no?

   2                  A.       I couldn't admit that they were.                                   I

   3        also couldn't admit that they weren't.                                   I don't

   4        know.     And I couldn't admit that they were.

   5                           MR. NKWONTA:                  If you would pull down

   6             Exhibit 84 for me now.                        I want to turn to

   7             communications with potential challengers

   8             next, but sorry before we do that, can we

   9             pull up Exhibit 13.

 10                                     (Exhibit 13 marked for

 11                                       identification.)

 12                            MR. NKWONTA:                  And, yes, thank you.

 13              Zoom in on the unredacted portion.

 14                            And can we pull up Exhibit 9

 15              actually first before we go to 13.

 16                                     (Exhibit 9 marked for

 17                                       identification.)

 18                            MR. NKWONTA:                  And do you mind

 19              zooming in or enlarging the unredacted

 20              portion?        And could we scroll all the way

 21              down to the bottom of the -- well, the last

 22              e-mail on the second page.



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                                                                                               Page 220
   1        BY MR. NKWONTA:

   2                  Q.       Ms. Engelbrecht, do you recognize

   3        that e-mail?

   4                  A.       Can you enlarge --

   5                  Q.       E-mail in Exhibit 9 from you to

   6        Gregg Phillips -- or from you to Mark Williams,

   7        copying Gregg Phillips.

   8                           THE WITNESS:                  An you enlarge just a

   9             bit.

 10                            THE VIDEOGRAPHER:                        I apologize,

 11              Catherine.          It is stuck.                   Bear with me for

 12              one second.            Sorry.

 13                            MR. NKWONTA:                  Keep scrolling.                 Keep

 14              scrolling, there we go.

 15         BY MR. NKWONTA:

 16                   Q.       Do you recognize this e-mail,

 17         Ms. Engelbrecht?

 18                   A.       It is my e-mail.

 19                   Q.       And this was addressed to Mark

 20         Williams?

 21                   A.       Uh-huh, yes.

 22                   Q.       And Mark Williams is the printer,



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                                                                                               Page 221
   1        right?      Or he owns the print shop, right?

   2                  A.       The print, yes.

   3                  Q.       In the e-mail in the third

   4        paragraph, or the third line, fourth line, it

   5        says, "Also please remove addresses that would

   6        suggest that they are military bases."                                   And lists

   7        some potential military bases; is that correct?

   8                  A.       Yes.

   9                  Q.       So, as you were sending the

 10         challenge list to the printer, you were also

 11         instructing him to remove the addresses that

 12         would suggest that they are military bases; is

 13         that right?

 14                   A.       Yes.

 15                   Q.       That would suggest that they were

 16         not scrubbed; is that right?                            At least not in the

 17         analysis?

 18                   A.       No, that would have suggested that,

 19         if they saw anything that slipped through, just

 20         to try to notate it and remove it.

 21                   Q.       In other words, was it your view

 22         that there may have been some military addresses



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                                                                                               Page 222
   1        or addresses on military bases that still

   2        remained on the list when the list went to

   3        Mr. Williams?

   4                  A.       It would -- conceivably, yes.

   5                           MR. NKWONTA:                  Could we pull up

   6             Exhibit 13 now.

   7        BY MR. NKWONTA:

   8                  Q.       Exhibit 13 is Mark's response.                                  And

   9        it says, "We will replace them on our files as we

 10         go forward.        It's not going to matter enough on

 11         the printed ones to back up and reprint.                                     Just

 12         remove them from the electronic copy as you send

 13         them."

 14                            Do you know whether those military

 15         addresses were ever removed?

 16                   A.       As I stated, we did all of the

 17         filtering out on our side and gave Mark notice

 18         that if they were to see any, remove them.                                       That

 19         is really all I can attest to.

 20                            This also has to do with, you know,

 21         whether or not anything even needed to be

 22         printed.       Whether or not Mark even needed to be



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                                                                                               Page 223
   1        involved because we have been given indication

   2        from the Secretary of State that they didn't need

   3        printed copies.

   4                           So, there is a lot of there is a lot

   5        that is inherent within this trying to understand

   6        what the process was going to be going forward.

   7                  Q.       Are you able to testify today that

   8        your challenge list did not include voters who

   9        lived on military installations?

 10                   A.       No.        I can testify that we did -- we

 11         put the data through all of the filters and

 12         followed the process that I have described.

 13                            But, data is data.                         It is possible.

 14                            MR. NKWONTA:                  We can pull down

 15              Exhibit 9 -- or Exhibit 13.

 16         BY MR. NKWONTA:

 17                   Q.       Ms. Engelbrecht, how did you go

 18         about recruiting challengers to submit these

 19         challenges in various counties in Georgia?

 20                   A.       Some had already -- some Georgians

 21         had already come to us which was really the

 22         impetus behind the idea that there might be



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                                                                                               Page 224
   1        something that we could help them with.

   2                           And Georgia's elector challenge laws

   3        are unique in that it did afford an opportunity

   4        for citizens to engage in that way.

   5                           So, there were some that had come to

   6        us initially.

   7                           And our thought was that others that

   8        would be interested would either come to us or be

   9        referred if that was something that was of

 10         interest.

 11                   Q.       Were some of these voters referred

 12         by Republican Party officials?

 13                   A.       They were referred by, that group of

 14         James Cooper and Mark Williams as people that

 15         they knew for different counties, but we never

 16         did any deeper dives into their affiliations.

 17                   Q.       Were any of the voters who

 18         approached you, were any of them referred by the

 19         Republican Party officials?

 20                   A.       I don't recall.                      I don't think so,

 21         but I don't recall specifically.

 22                   Q.       When the voters approached you or



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                                                                                                Page 225
   1        when you identified whether you were going to

   2        submit challenges, what did True the Vote tell

   3        these voters about the challenge process and

   4        about the lists and what it meant to challenge a

   5        voter?

   6                  A.       We described the project.                              And we

   7        had a, an agreement of sorts that kind of

   8        outlined what the process was in the state, what

   9        the outcome would be which would have been just

 10         essentially asking the county to look at the

 11         records.

 12                            We had them sign indicating what

 13         they understood what the project was going to be

 14         about, if they were to participate.                                   And did our

 15         best to work them -- you know, work with them

 16         through that process.

 17                            But, is that your question?

 18                   Q.       Yes.         And I have a follow-up

 19         question to that.

 20                   A.       Sure.

 21                   Q.       Was there an agreed upon

 22         communication to propose challengers or agreed



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                                                                                               Page 226
   1        upon language to propose challengers to inform of

   2        the process?

   3                  A.       There was agreed upon language in

   4        that we provided a standard online document that

   5        everybody could read and understand what it was

   6        that a citizen, that an elector challenge in

   7        Georgia consisted of.                   And what the steps

   8        following would be if that was something that

   9        they wanted to do.

 10                            MR. NKWONTA:                  Could we pull up

 11              Exhibit 36.

 12                                     (Exhibit 36 marked for

 13                                       identification.)

 14                            MR. NKWONTA:                  And can we scroll down

 15              to Page 9 of Exhibit 36.

 16         BY MR. NKWONTA:

 17                   Q.       Ms. Engelbrecht this is a long

 18         e-mail chain in which your e-mail address is

 19         included, and several e-mails have been sort of

 20         forwarded here or responded to, but if you scroll

 21         down a bit further to the following page,

 22         Page 10, Bates Number Williams 383, you will see



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                                                                                               Page 227
   1        the original e-mail from James Cooper.

   2                           And the first thing I want to ask

   3        you about is James Cooper's address is James

   4        Cooper GOP at Gmail dot com.

   5                           Were you aware that James Cooper was

   6        a Republican Party official -- or let me ask it

   7        differently.

   8                           What is James Cooper's affiliation

   9        with the Republican Party?

 10                   A.       I have no clue.                      Clearly something

 11         but I have no clue.                 I have never even met James

 12         Cooper.

 13                   Q.       Okay.          And this e-mail that James

 14         Cooper wrote, would you agree that it is similar

 15         to the e-mail that Amy Holsworth wrote as well

 16         and that others wrote to potential challengers?

 17                            And if you want to scroll through

 18         the e-mail chain, we can do that as well.

 19                   A.       Sure, that would be helpful.                                I

 20         would have to look at Amy's.                            This is not --

 21                            MR. NKWONTA:                  Could we go to Page 1?

 22         BY MR. NKWONTA:



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                                                                                                Page 228
   1                  Q.       And you will see there Amy's e-mail

   2        at the bottom of Page 1, starting at the bottom

   3        of Page 1 and goes to Page 2.

   4                  A.       Uh-huh.

   5                           MR. NKWONTA:                  And can you scroll to

   6               the next page?

   7                           THE WITNESS:                  Can you scroll over.

   8                           MR. NKWONTA:                  Could you scroll

   9               slightly -- oh, sorry.                      Could you scroll up

 10              just slightly so that we can see the e-mail

 11              address that it came from.                             Just slightly to

 12              the very bottom of Page 1.                             No.       The other

 13              way.      All right.

 14                            So, if we scroll down or scroll -- I

 15              guess scroll up, sorry.                         Scroll up.             And then

 16              keep scrolling up.

 17         BY MR. NKWONTA:

 18                   Q.       So at the bottom it is signed by

 19         Amy.    And the e-mail above came -- it shows sent

 20         from Amy at True the Vote dot org on

 21         December 17th, 2020.

 22                            And that is at the bottom of



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                                                                                               Page 229
   1        Williams 374, at the bottom of Page 1 of

   2        Exhibit 36.

   3                           MR. NKWONTA:                  Can you scroll down so

   4             we can get the full e-mail.                              The other way.

   5             Great.

   6                           THE WITNESS:                  I'm sorry, could you

   7             ask your question again?

   8        BY MR. NKWONTA:

   9                  Q.       Well, I wanted you to take a minute

 10         to review the e-mail.

 11                   A.       Oh, sure.               Okay.

 12                   Q.       And this is a communication that

 13         went to potential challengers, correct?

 14                   A.       I can't, I can't confirm that -- let

 15         me, let me state that differently.

 16                            I guess if we looked at the address

 17         and if that was one of the challengers, but there

 18         are some things in this e-mail that give me pause

 19         sufficient to not be able to confirm that this

 20         came from Amy yet.                I'm not sure.

 21                   Q.       Okay.          Well, let's scroll down to

 22         Page 4 of this exhibit.                      And is part of that



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                                                                                               Page 230
   1        because of the redactions in the e-mail?

   2                  A.       No.

   3                           THE WITNESS:                  Would you continue to

   4             scroll?       This is just a different take on it.

   5                           MR. NKWONTA:                  Yes.         If you could

   6             stop there.

   7        BY MR. NKWONTA:

   8                  Q.       It shows on December 17th, 2020, Amy

   9        Holsworth wrote, and it shows Amy's e-mail

 10         address there.

 11                            And this document was produced, by

 12         the way, by one of the defendants.

 13                   A.       Yeah, I mean it appears in this, in

 14         this exhibit as though it came from Amy's e-mail

 15         address.       There are a number of things that stand

 16         out to me as not being normal.

 17                            But, it does appear, according to

 18         this, that it came from Amy's e-mail address.

 19                            MR. NKWONTA:                  And can you scroll a

 20              little bit so we can see the full e-mail?                                        I

 21              think there are a few more lines down.

 22              Perfect.



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                                                                                               Page 231
   1        BY MR. NKWONTA:

   2                  Q.       Do you want to take a minute just to

   3        read that e-mail?

   4                  A.       Okay.

   5                  Q.       How many challengers did the True

   6        the Vote reach out to?

   7                           How many potential challengers did

   8        True the Vote reach out to in order to seek

   9        assistance in submitting these challenges?

 10                   A.       I don't know.

 11                   Q.       Did True the Vote try to recruit

 12         challengers in all Georgia counties?

 13                   A.       We were open to that for sure and

 14         prepared the analysis to support that.

 15                            But as far as the individuals and

 16         the voters who wanted to participate that was --

 17         you know, as much as people coming to us as it

 18         was people being referred that were also coming

 19         to us, so --

 20                   Q.       So this e-mail that went to

 21         potential challengers stated that True the Vote

 22         has identified over 500,000 people on the Georgia



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                                                                                               Page 232
   1        voter list that shouldn't be there.

   2                           Is that correct that True the Vote

   3        identified over 500,000 people in the Georgia

   4        voter lists?

   5                  A.       They are in -- yeah, there are a

   6        number of things in this e-mail that are not

   7        correct which is what is giving me pause, so --

   8                  Q.       Okay.          So, we will start first with

   9        that 500,000 figure.                  Is that correct?

 10                   A.       Sure.          Um, that is not the number

 11         that we had for our challenges, no.

 12                   Q.       And states that the 500,000 people

 13         should not be on the challenge list.

 14                            Is it True the Vote's position that

 15         all individuals on those challenges should not be

 16         registered in Georgia or should not be on the

 17         voter list?

 18                   A.       It was and is our position that

 19         according to the analysis that we provided, or

 20         that we supported, records corresponded with

 21         individual decisions to permanently change their

 22         residence.



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                                                                                               Page 233
   1                           And therefore it would have made

   2        their record ineligible and appropriate in the

   3        scope of an elector challenge.

   4                           That sentence is -- doesn't indicate

   5        those nuances that I think are critical.

   6                  Q.       At that point had True the Vote

   7        concluded that these voters should not be on the

   8        voter rolls or that they were not legally

   9        registered?

 10                   A.       Well, again on the basis of our

 11         analysis, the, all that is and should have been

 12         done was the recognition of the information that

 13         was available and the provision of that to the

 14         counties.

 15                            This is, you know -- this e-mail is,

 16         doesn't clearly make those distinctions known or

 17         understood.

 18                   Q.       The e-mail also, I think the fourth

 19         paragraph down asked the voter to take a photo of

 20         and scan your signature and e-mail it with their

 21         voter registration information.

 22                            But it doesn't offer the voter an



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                                                                                                 Page 234
   1        opportunity to review the list, does it?

   2                  A.        This e-mail does not offer that, no.

   3                  Q.        At the third paragraph from the

   4        bottom, in the last sentence of that paragraph,

   5        it says, "True the Vote has assured me that the

   6        list that they are challenging is 99.9 percent

   7        likely to be incorrectly registered."

   8                            Do you have any way of knowing

   9        whether 99.9 percent of your challenge list is

 10         incorrectly registered?

 11                   A.       No.        And my data background would

 12         never make that kind of statement.                                    And the

 13         statement itself is odd in the way the sentence

 14         is written, "True the Vote has assured me that

 15         the list."

 16                            It seems odd that Amy would have

 17         written that because Amy was part of the True the

 18         Vote team.         That is a distinction that you

 19         probably didn't -- well, you didn't ask for, no.

 20                            But specific to your inquiry about

 21         the 99.9, this data is -- data is data.                                      You

 22         shouldn't make assertions like that.



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                                                                                               Page 235
   1                  Q.       And regardless of who wrote it, you

   2        don't dispute that Amy sent it, right?

   3                  A.       I, according to what I'm looking at

   4        on the screen, the markings are there to support

   5        it.

   6                           It just does not --

   7                  Q.       If Amy testified that she sent it,

   8        would you have any reason to --

   9                  A.       No, if Amy testified that she sent

 10         it, if she said she sent it, then she sent it.

 11                   Q.       And if this document was produced by

 12         defendants, would you have any reason to doubt

 13         that this was sent by defendants?

 14                   A.       I mean if they said they did this,

 15         then they did this.

 16                            MR. NKWONTA:                  Can we go to Page 16

 17               of Exhibit 36.              And can you scroll a little

 18               bit so we get that full e-mail below from

 19               James Cooper.

 20                            THE VIDEOGRAPHER:                        Sorry, guys.            It

 21               is just -- stand by.

 22                            MR. NKWONTA:                  Okay.



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                                                                                               Page 236
   1                           THE VIDEOGRAPHER:                        And then you said

   2             Page 16 of 36?

   3                           MR. NKWONTA:                  Yes, Page 16.

   4                           THE VIDEOGRAPHER:                        Roger that.

   5        BY MR. NKWONTA:

   6                  Q.       And then you see that the e-mail

   7        from James Cooper is also on -- in Exhibit 36,

   8        and also includes similar language?

   9                  A.       Yes.

 10                   Q.       And if you look at the second

 11         paragraph, second to the last sentence, there is

 12         an additional sentence there that says, "If this

 13         very type action" -- I think there is a typo.                                         I

 14         will start again.

 15                            "If this very type action had been

 16         taken back in October, it is very likely Trump

 17         would have won Georgia."                       Do you see that there?

 18                   A.       I do.

 19                   Q.       At the very top, do you see the

 20         response from the voter to James Cooper that

 21         says, "True the Vote has my permission to use my

 22         signature to challenge the illegal votes in Cobb



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                                                                                               Page 237
   1        County."

   2                           Is that right?

   3                  A.       That is what it says, yes.

   4                  Q.       You mentioned that the challenges

   5        were not technically meant to remove voters from

   6        the voter rolls.

   7                           But isn't it true that some voters

   8        got that impression from the communications that

   9        were issued to these voters?

 10                            MS. SIEBERT:                  Objection.            You are

 11              asking her to testify about other people's

 12              state of mind.

 13                            Catherine, go ahead.

 14                            THE WITNESS:                  I mean, this is what

 15              James Cooper wrote.                     It is really all I can

 16              say.      It is what somebody else wrote.

 17                            MR. NKWONTA:                  Could we pull up

 18              Exhibit 39, please.

 19                                     (Exhibit 39 marked for

 20                                       identification.)

 21         BY MR. NKWONTA:

 22                   Q.       Exhibit 39 is a little bit clearer.



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                                                                                               Page 238
   1        And you will see at the top of Exhibit 39, James

   2        Cooper forwards the e-mail chain below to a

   3        number of individuals, including yourself.

   4                           And you can see that the body of the

   5        e-mail below that he forwarded is similar; is

   6        that right?

   7                  A.       Yes.

   8                  Q.       And in response to James Cooper's

   9        e-mail, the perspective challenger responds,

 10         "James, Here is my," it is redacted.                                  I'm

 11         assuming it is a registration number.

 12                            "I give True the Vote permission to

 13         use my name and signature in the pursuit of

 14         purging the rolls of the deceased, nonexistent

 15         and nonresidents of my county."

 16                            Is that a correct reading of the

 17         proposed challenger's response?

 18                            THE WITNESS:                  Can you scroll up a

 19              little bit, Joe?                 Or down.              Sorry.       Yes.

 20                            So, that is what you just read and

 21              that is what the document says, yes.

 22         BY MR. NKWONTA:



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                                                                                               Page 239
   1                  Q.       So, you would agree that that

   2        proposed challenger was of the belief that he or

   3        she was purging the voter rolls?

   4                  A.       I -- that is what that statement

   5        indicates.

   6                           MR. NKWONTA:                  Can we pull that down

   7             and pull up Exhibit 38.

   8                                    (Exhibit 38 marked for

   9                                      identification.)

 10         BY MR. NKWONTA:

 11                   Q.       Exhibit 38 is an e-mail that was

 12         also forwarded to you, Ms. Engelbrecht?

 13                            Do you see that?

 14                   A.       Yes.

 15                   Q.       And do you recognize this exhibit?

 16                   A.       I don't recall this, but --

 17                   Q.       Do you dispute that you received

 18         this e-mail?

 19                   A.       I mean, all of the indications in

 20         this exhibit would suggest that I would have

 21         received this e-mail, yes.

 22                   Q.       And the response to James Cooper's



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                                                                                               Page 240
   1        e-mail below, the one that he forwarded to you

   2        and others states, the voters name is redacted.

   3        "Has agreed to be the designated challenger for

   4        Jones County and True the Vote has expressed

   5        permission to use her attached digital signature

   6        for the limited and specific purpose of

   7        challenging voter registrations in Jones County."

   8                           Is that an accurate reading of the

   9        proposed challenger's response?

 10                   A.       That is what it says.

 11                   Q.       And this e-mail came from the Jones

 12         County GOP Chairman, right?

 13                            MR. NKWONTA:                  Could you scroll to

 14              the bottom.

 15                            THE WITNESS:                  To James Cooper, yes.

 16                            MR. NKWONTA:                  Could we take that

 17              down and pull up Exhibit 40.

 18                                     (Exhibit 40 marked for

 19                                       identification.)

 20         BY MR. NKWONTA:

 21                   Q.       Exhibit 40 is another e-mail that

 22         was forwarded to a number of folks, including



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                                                                                               Page 241
   1        yourself.

   2                           Do you see that?

   3                  A.       Yes.

   4                  Q.       And the response from the proposed

   5        challenger or the challenger below says, "True

   6        the Vote has my permission to use my name for

   7        challenging the voters in my county that I

   8        believe voted illegally."

   9                           And then the voter provides their

 10         address.

 11                            Is that a correct reading of that

 12         prospective challenger's response?

 13                   A.       That is a correct reading, yes.

 14                            MR. NKWONTA:                  Could we take that

 15              down and pull up Exhibit 37.

 16                                     (Exhibit 37 marked for

 17                                       identification.)

 18         BY MR. NKWONTA:

 19                   Q.       Exhibit 37 is another e-mail that

 20         James Cooper forwarded to a number of people,

 21         including yourself.

 22                            MR. NKWONTA:                  If you scroll down to



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                                                                                               Page 242
   1             the response from the prospective challenger.

   2        BY MR. NKWONTA:

   3                  Q.       It says, "James, Please find my

   4        digital signature and in the body of this e-mail

   5        you will find the necessary information you

   6        requested.         You and True the Vote have my

   7        permission to use my name, digital signature and

   8        other necessary information to challenge voter

   9        registrations in my County of Dodge."

 10                            Is that a correct reading of the

 11         prospective challenger's response?

 12                   A.       Yes.

 13                   Q.       These prospective challengers that

 14         are shown, would you agree that they believed

 15         they were either purging voters or asserting

 16         challenges to purge voters from the rolls or to

 17         accuse voters of voting illegally?

 18                            MS. SIEBERT:                  Again, objection to

 19              the extent that you are asking her for

 20              somebody's state of mind.

 21                            But, go ahead, Catherine.

 22                            THE WITNESS:                  Yeah, I mean this



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                                                                                               Page 243
   1             is -- this is between what James sent out and

   2             the response.

   3                           If those people for whom the, their

   4             information has been redacted went on to be

   5             associated with, as an elector in their

   6             county and work through the True the Vote

   7             arrangement, there would have been

   8             distinctions throughout.

   9                           So at this point I can't state to

 10              their state of mind, but this is between

 11              James Cooper and people, other people.                                      So, I

 12              don't know.

 13         BY MR. NKWONTA:

 14                   Q.       In their responses, they are

 15         expressly providing permission to challenge voter

 16         registrations, to challenge illegal voting, or to

 17         purge the voter rolls; is that correct?

 18                   A.       That is what these e-mails, you

 19         know, how they read, yes.

 20                            MR. NKWONTA:                  We can pull down

 21              Exhibit 37.            I want to ask you a little bit

 22              about the data analysis once again.                                   And I



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                                                                                                 Page 244
   1              want to return to Exhibit 8.

   2                                    (Exhibit 8 marked for

   3                                      identification.)

   4        BY MR. NKWONTA:

   5                  Q.       I guess this is the first time you

   6        are seeing Exhibit 8 in this deposition.

   7                           Ms. Engelbrecht, do you recognize

   8        Exhibit 8?

   9                  A.       This is the first time I have seen

 10         it.

 11                   Q.       And you have never seen any analysis

 12         of any political party breakdown or racial or

 13         demographic breakdown of the challenge lists?

 14                   A.       No, I have seen that.                              I have seen

 15         that.

 16                   Q.       Where did you see that?

 17                   A.       It was provided when there were

 18         comments being made of, you know, as I mentioned

 19         earlier of bias being entered in.                                 And because

 20         Georgia uniquely tracks those elements, you can

 21         run, you know, the data or an analysis around

 22         whether or not that was true or whether or not



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                                                                                                 Page 245
   1        the, what the data shows.

   2                           So, I knew that that had occurred.

   3                  Q.       Do you know when this analysis was

   4        first conducted?

   5                  A.       The analysis on this exhibit?                                   Or --

   6                  Q.       The analysis of the demographic

   7        breakdown of the challenge list.

   8                  A.       I don't know exactly.                              It came later

   9        as a form of reputation of the assertion that

 10         there was -- that that was part of this.

 11                            But, I don't know the date, no.

 12                   Q.       True the Vote announced its

 13         challenge program on December 18th, 2020; is that

 14         correct?

 15                   A.       I don't recall exactly.                             It would

 16         have been around then, yes.

 17                   Q.       And if I told you the date was --

 18         the date that had been provided by defendants was

 19         December 18th, would you have any reason to

 20         dispute that?

 21                   A.       No real reason to dispute it, no.

 22                   Q.       And if you look at this file here,



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                                                                                               Page 246
   1        it says create date, 12/16/2020.

   2                           Is that what you see there on OPSEC

   3        Number 9?

   4                  A.       Uh-huh, I do see that.

   5                           MR. NKWONTA:                  And if we scroll down

   6             to the chart, I just want to make sure that

   7             you have a chance to look at the charts in

   8             here.

   9                           If you scroll to Page 18 of this

 10              PDF, for instance.

 11         BY MR. NKWONTA:

 12                   Q.       Have you seen this chart before?

 13                   A.       I don't think that I have, no.

 14                   Q.       Do you know why OPSEC would have

 15         created this chart?

 16                   A.       I knew that there were, in the

 17         TrueNCOA, they have an extension that is part of

 18         their platform called TrueAppend that

 19         automatically prints these out.

 20                            So, I read about this in the

 21         exhibits.

 22                            MR. NKWONTA:                  Could we go to Page 8.



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                                                                                               Page 247
   1        BY MR. NKWONTA:

   2                  Q.       Have you seen this chart or this

   3        breakdown before?

   4                  A.       I don't recall seeing the chart, no.

   5                  Q.       Have you seen any demographic

   6        breakdowns of the challenge list in any other

   7        form, maybe not in this chart but in another

   8        format?

   9                  A.       I have seen a sort of a TXT file

 10         that had just the very -- the elements,

 11         categorical elements contained in the Georgia

 12         voter registry that were tracking of

 13         identification by race and identification by

 14         primary preference.

 15                            And of course, you know, those are

 16         loosely defined by the state because you,

 17         Number 1, don't have to indicate that.                                   And then

 18         there are also, you know, undisclosed, undefined.

 19                            So, but I do remember seeing what

 20         appeared to be sort of a text, like a text chunk

 21         that include that information.

 22                            MR. NKWONTA:                  Could we pull down



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                                                                                               Page 248
   1             Exhibit 8 and pull up Exhibit 16.

   2                                    (Exhibit 16 marked for

   3                                      identification.)

   4        BY MR. NKWONTA:

   5                  Q.       Ms. Engelbrecht, Exhibit 16 is based

   6        as OPSEC 61.         Is this the text file that you are

   7        referring to?

   8                  A.       No, this looks more -- this is sort

   9        of a classic dot TXT presentation of the

 10         information looks like it would have been that,

 11         but it is not that, as I recall.                                That looks like

 12         more of an Excel or standard spreadsheet format.

 13                   Q.       Have you seen this breakdown before?

 14                   A.       I can't attest to the absolute

 15         numbers but broadly, something broken down by the

 16         race that is tracked inside of the state rolls,

 17         yes.

 18                   Q.       And when was this analysis

 19         conducted?

 20                   A.       I could not tell you except to say

 21         that it was post the elector challenge effort or

 22         initiative.



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                                                                                                Page 249
   1                  Q.         And would this analysis have been

   2        conducted by Gregg Phillips or OPSEC?

   3                  A.         Yeah, I would believe so, yes.

   4                  Q.         Would that have been done at True

   5        the Vote's direction?

   6                  A.         I just, I don't recall.                           It is -- I

   7        don't recall.           It is possible.                      I don't recall.

   8                             MR. NKWONTA:                 We can pull this down.

   9        BY MR. NKWONTA:

 10                   Q.        The text file you were referring to,

 11         under what circumstances did you have a chance to

 12         review that text file?

 13                   A.        You asked me if I had ever seen

 14         anything.          I'm just saying I recall seeing

 15         something like that.                   And it would have been -- I

 16         mean I just from the recesses of my mind I recall

 17         seeing it.

 18                             And in my, in my background in data

 19         and technology, I associate the look of something

 20         a little bit different than what I just saw.

 21                             But, I hope that is helpful.

 22                             MR. NKWONTA:                  I would like to turn



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                                                                                               Page 250
   1             next to the press release, the launch that we

   2             have discussed, the December 18th launch of

   3             the elector challenges.                         Could we pull up

   4             Exhibit 62, please.

   5                                    (Exhibit 62 marked for

   6                                      identification.)

   7                           MR. NKWONTA:                  And could we go to the

   8             second page, Exhibit 2 or Exhibit 62.

   9        BY MR. NKWONTA:

 10                   Q.       Ms. Engelbrecht, do you recognize

 11         Exhibit 62?

 12                   A.       Yes.

 13                   Q.       What is it?

 14                   A.       A post to our website that describes

 15         the challenge of, the elector challenge.

 16                   Q.       The title of the post says, "True

 17         the Vote partners with Georgians in Every County

 18         to preemptively challenge 364,541 potentially

 19         ineligible voters."

 20                            When you issued this post, had you

 21         in fact partnered with Georgians in Every County

 22         to preemptively challenge 364,000-plus voters?



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                                                                                               Page 251
   1                  A.       No.        This was just the beginnings of

   2        the -- I mean this is the first announcement.                                         We

   3        had people that had come to us, but we were, you

   4        know, had already -- we were prepared to,

   5        certainly.         But, no.

   6                  Q.       So, why does it say True the Vote

   7        partners with Georgians in Every County to

   8        preemptively challenge 364,000 potentially

   9        ineligible voters?

 10                   A.       Partnering in the sense of capable

 11         of partnering with, it is the best I can explain.

 12                   Q.       Would it be fair to say that it is

 13         not accurate?

 14                   A.       No.        I wouldn't, I wouldn't think

 15         that is fair.          This is sort of a forward looking

 16         statement of the willingness to partner with

 17         Georgians in Every County.

 18                   Q.       And the next paragraph you state,

 19         "We are proud to be working alongside patriots

 20         across the Peach State, Derek Sommerville of

 21         Forsyth County and Mark Davis of Gwinnett County

 22         who have been leading citizen efforts to



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                                                                                               Page 252
   1        highlight issues in Georgia's voter rolls."

   2                           And you also mention Mark Williams

   3        and Ron Johnson and James Cooper.

   4                           What did you mean by working

   5        alongside these individuals?

   6                  A.       Just that they were also involved

   7        in -- in the case of Derek and Mark Davis, they

   8        were -- you know, they were working through their

   9        own elector challenges.                      And in the case of the

 10         other gentlemen, you know, the Mark Williams'

 11         support with helping to work on the printing and

 12         the fact that he had connected the other

 13         gentlemen who were, you know, interested in

 14         participating.

 15                            And frankly, it was a comment meant

 16         more to show just support for the engagement of

 17         citizens.

 18                   Q.       So, at the time you issued this

 19         press release, is it fair to say that you had not

 20         submitted 364,541 elector challenges?

 21                   A.       That is correct.                       We did not do

 22         that.



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                                                                                               Page 253
   1                  Q.       And at the time you issued this

   2        press release is it fair to say that you had not

   3        identified challengers in all 159 counties?

   4                  A.       Yeah, I think that is fair to say,

   5        yes.

   6                  Q.       How many challengers had you

   7        identified at the time True the Vote issued this

   8        press release?

   9                  A.       That I do not recall.

 10                   Q.       Do you know how many counties or how

 11         many challenges True the Vote had submitted at

 12         the time that it issued this press release or

 13         website post?

 14                   A.       At this point I don't believe that

 15         there had been any submitted.                             But I do not --

 16         let me rephrase that.

 17                            I do not specifically recall that.

 18         I have a general recollection, but I do not

 19         specifically recall.

 20                   Q.       How many challenges did True the

 21         Vote end up filing for the, for the runoff

 22         election?



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                                                                                                Page 254
   1                  A.         We ended up with electors that

   2        wanted to challenge, totaling 65 total counties.

   3        And, so submissions were made in those counties

   4        on behalf of those electors.

   5                  Q.         And why didn't True the Vote file

   6        challenges in all 159 counties as it stated in

   7        the press release?

   8                             THE WITNESS:                 Guys, I just got a

   9             password required notice.                             Can you all see

 10              that on the screen or is it just me?

 11                             THE VIDEOGRAPHER:                        Sorry, Catherine.

 12              This is Joe.              That might be on your end.                            I'm

 13              not sure what it is relating to.

 14                             THE WITNESS:                  It is, it is.               I

 15              apologize.           I just Xed out of it and it is

 16              gone.         I apologize.

 17                             THE VIDEOGRAPHER:                        Okay.

 18                             THE WITNESS:                  I'm sorry, could you

 19              repeat the question?

 20         BY MR. NKWONTA:

 21                   Q.        Sure.

 22                             MR. NKWONTA:                  Can the court reporter



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                                                                                               Page 255
   1             read back the question, please.

   2                           (Whereupon, the record was read by

   3             the reporter as requested.)

   4                           THE WITNESS:                  Again, I think the

   5             press release was meant to acknowledge that

   6             we had done the analysis to support that.

   7             The reason that we didn't ultimately is

   8             because it wasn't for us to do.

   9                           It was for electors in the, in their

 10              respective counties.                      And that is just the

 11              way the process works.

 12         BY MR. NKWONTA:

 13                   Q.       But True the Vote said it was going

 14         to do this in the press release, in the very

 15         first line, right?

 16                   A.       Yeah.          Again, I think that the

 17         intent of the line was to suggest that we -- that

 18         True the Vote was prepared to do that and do that

 19         in every county.

 20                            But, you know, we go quickly into

 21         the description of an elector challenge.                                     And it

 22         is, you know, the qualifications therein, so that



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                                                                                               Page 256
   1        is, that is what was -- that is how it was meant

   2        to be taken.

   3                  Q.       So, True the Vote did not actually

   4        intend to file challenges in all 159 counties?

   5                  A.       Oh, no.            We were definitely prepared

   6        to do that, but it was up to electors.

   7                           I mean the reason the True the Vote

   8        exists is to help support citizens who want to

   9        engage in their process.                       And this is a process

 10         in Georgia that is afforded to electors and, you

 11         know, that is -- we were ready to do that.

 12                            But, the process is that you only

 13         work with electors from their specific counties.

 14                            MR. NKWONTA:                  Can we take a brief

 15              five-minute break?

 16                            THE VIDEOGRAPHER:                        We are now going

 17              off the record --

 18                            MR. NKWONTA:                  Is that okay with you

 19              all?

 20                            MS. SIEBERT:                  Sure.

 21                            THE VIDEOGRAPHER:                        The time is

 22              3:00 p.m.



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                                                                                               Page 257
   1                           (Recess taken -- 3:00 p.m.)

   2                           (After recess -- 3:07 p.m.)

   3                           THE VIDEOGRAPHER:                        We are now going

   4             back on the video record.                            The time is

   5             3:07 p.m.

   6        BY MR. NKWONTA:

   7                  Q.       Ms. Engelbrecht, we just took a

   8        short break.         Do you understand that you are

   9        still under oath?

 10                   A.       Yes.

 11                   Q.       Has True the Vote ever discussed or

 12         considered publishing the list of challenged

 13         voters in Georgia?

 14                   A.       No.

 15                   Q.       Has True the Vote issued the list of

 16         challenged voters to the challengers, for

 17         instance, who requested them?

 18                   A.       Yes.         If an elector asked for the

 19         list, given that they had already signed off on

 20         our, you know, agreement and terms that this is,

 21         you know, to be, to be used for review purposes

 22         and so forth.          And, but, yes.



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                                                                                                 Page 258
   1                  Q.       I want to go back to an organization

   2        that we discussed earlier in this deposition,

   3        Time For A Hero.              That was the organization that

   4        you ran with Gregg Phillips; is that right?

   5                  A.       Uh-huh.

   6                           MR. NKWONTA:                  Could we pull up

   7             Exhibit 72.

   8                                    (Exhibit 72 marked for

   9                                      identification.)

 10         BY MR. NKWONTA:

 11                   Q.       Do you recognize Exhibit 72?                                  Is

 12         that Time for a Hero's Facebook page?

 13                   A.       I really don't -- I can't confirm

 14         that.

 15                   Q.       Well, does it say Time For A Hero on

 16         that Facebook page?

 17                   A.       It does, it does say Time For A

 18         Hero.

 19                   Q.       And does Time For A Hero have a

 20         Facebook page?

 21                   A.       I can't confirm that.                              I don't know.

 22         I never did any of this.



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                                                                                               Page 259
   1                  Q.       Who would be able to confirm whether

   2        Time For A Hero has a Facebook page?

   3                  A.       The last person who ran the

   4        organization managed all of the social media, so

   5        he would be able to.

   6                  Q.       And who was that person?

   7                  A.       I couldn't recall his name earlier,

   8        but his name is Ty Bathurst.

   9                  Q.       How do you spell that?

 10                   A.       T-Y, B-A-T-H-U-R-S-T.

 11                   Q.       And do you have any reason to doubt

 12         that this is Time for a Hero's Facebook page?

 13                   A.       Well, Time for A Hero is no longer

 14         an organization that I am connected with.                                      I

 15         filed their closing tax return a couple years

 16         ago.    If this was still there I, I am -- I can't

 17         say that I have reason to doubt it, but I

 18         can't -- I don't know about it.

 19                            MR. NKWONTA:                  Can we go to Page 19.

 20              But before we do, I noticed some sound issues

 21              when Ms. Engelbrecht was responding.                                    I just

 22              want to make sure that we were able to



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                                                                                               Page 260
   1             capture the response. If there is anything to

   2             resolve.

   3                           THE REPORTER:                   I'm happy to read

   4             back the answer if you'd like or do you want

   5             her -- do you want me to read back what I

   6             have?

   7                           MR. NKWONTA:                  Yes, please.

   8                           (Whereupon, the record was read by

   9             the reporter as requested.)

 10         BY MR. NKWONTA:

 11                   Q.       And you have no reason to doubt that

 12         Time For A Hero created a Facebook page?                                     In fact

 13         you acknowledged that Time For A Hero created a

 14         Facebook page?

 15                   A.       I, acknowledge that when the

 16         organization was active, we had somebody that was

 17         managing, or, you know, overseeing social media.

 18                            And so, it is not outside of the

 19         realm of possibility, but I can't confirm it.

 20                            I mean I can confirm that I'm

 21         looking at a document that says Time For A Hero,

 22         but I can't confirm anything past that.



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                                                                                                Page 261
   1                           MR. NKWONTA:                  Could we go to Page 19

   2             of the Facebook page, of Exhibit 72.

   3        BY MR. NKWONTA:

   4                  Q.       Is that -- is that you in that

   5        Facebook post from August 8, 2020?

   6                  A.       That is me, that is me.

   7                           MR. NKWONTA:                  And could we go to the

   8             next post on the following page, Page 20.

   9        BY MR. NKWONTA:

 10                   Q.       It says, "Crusade for Freedom coming

 11         soon."

 12                            What is the Crusade for Freedom?

 13                   A.       I don't, I don't know.                             I don't have

 14         any affiliation with Crusade for Freedom.

 15                            I, I guess that Ty was posting some

 16         stuff from True the Vote here just to keep stuff

 17         on social media.              I don't know about Crusade for

 18         Freedom.

 19                   Q.       So, he was posting stuff from where?

 20                   A.       From True the Vote.                          But, I don't

 21         know about this.

 22                   Q.       Uh-huh.            Have you heard that phrase



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                                                                                                 Page 262
   1        before?

   2                  A.       Have I heard the phrase, Crusade for

   3        Freedom?

   4                  Q.       Yes.

   5                  A.       I don't recall.

   6                  Q.       Have you seen this symbol before?

   7                  A.       This --

   8                  Q.       This diagram, this symbol here, this

   9        Crusade for Freedom symbol?

 10                   A.       Not specific to this.                              I feel like I

 11         have seen it broadly before.                            May I ask, is this

 12         current?       Is this currently -- I don't know if I

 13         can ask that.

 14                            But, is this currently on Facebook?

 15                   Q.       Yes, if you look at the top left

 16         corner, you will see the download date.

 17                   A.       I didn't know if that is when it

 18         was.

 19                   Q.       Yes.

 20                   A.       Okay.          Well, okay.                 Thank you.

 21                            MR. NKWONTA:                  So, we can pull down

 22              Exhibit 72.            Could we pull up Exhibit 73.



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                                                                                               Page 263
   1                                    (Exhibit 73 marked for

   2                                      identification.)

   3        BY MR. NKWONTA:

   4                  Q.       And could we go to the second page.

   5                           Ms. Engelbrecht, do you recognize

   6        that tweet in Exhibit 73, the tweet at the top?

   7                  A.       No.

   8                  Q.       The Twitter handle and the name on

   9        top of it states Crusade for Freedom, right?

 10                   A.       Uh-huh.

 11                   Q.       It is the same -- it is the same

 12         slogan that was on the Time For A Hero Facebook

 13         page; is that right?

 14                   A.       Yes.

 15                   Q.       And that symbol, the logo or the

 16         symbol for that Twitter handle, that is the same

 17         or similar logo that was on the Time For A Hero

 18         Facebook page, correct?

 19                   A.       Yes.

 20                   Q.       And the tweet says, "We have just

 21         prospectively challenged the eligibility of

 22         360,000 voters in Georgia."                          Is that right?



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                                                                                               Page 264
   1                  A.       That is what it says, yes.

   2                  Q.       Are you aware of any other groups

   3        that challenged the eligibility of approximately

   4        360,000 voters in Georgia during the runoff

   5        elections?

   6                  A.       No.

   7                  Q.       The hashtag, Eyes on Georgia, that

   8        was the same slogan that has appeared on several

   9        True the Vote documents, I think including that

 10         invoice from OPSEC, correct?

 11                   A.       Yes.

 12                   Q.       And then the second hashtag,

 13         Validate the Vote Georgia, that was the slogan

 14         that was recommended to you by the consultant; is

 15         that correct?

 16                   A.       Yes, yes.

 17                   Q.       And that tweet was followed up by

 18         the one right under it.                      It says, "If the Georgia

 19         counties refuse to handle the challenges of

 20         366,000 ineligible voters in accordance with the

 21         law, I plan to release the entire list so America

 22         can do the QC."



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                                                                                               Page 265
   1                           Is that a correct reading of the

   2        tweet underneath?

   3                  A.       It is a correct reading of it, yes.

   4                  Q.       And this tweet also has a Crusade

   5        for Freedom Twitter handle name and symbol that

   6        appeared on the Time For A Hero page?

   7                  A.       Yes.

   8                  Q.       And the hashtags underneath say

   9        Validate the Vote Georgia, which is the slogan

 10         that is the True the Vote uses, correct?

 11                            And Eyes on Georgia, which is

 12         another slogan that True the Vote uses, correct?

 13                   A.       During that period, yes, that is

 14         correct.

 15                   Q.       And this tweet was dated

 16         December 20, 2020, correct?

 17                   A.       Correct.

 18                   Q.       So, moving on from those tweets, I

 19         wanted to ask you specifically about the Validate

 20         the Vote program.

 21                            And I wanted to explore that in a

 22         little bit more depth.



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                                                                                               Page 266
   1                           MR. NKWONTA:                  Could we pull up

   2             Exhibit 1, please.                    Can we -- is there any

   3             way to enlarge that a little bit?

   4                                    (Exhibit 1 marked for

   5                                      identification.)

   6        BY MR. NKWONTA:

   7                  Q.       Ms. Engelbrecht, do you recognize

   8        this document?

   9                  A.       Yes.

 10                   Q.       What is it?

 11                   A.       This is a one-page document that was

 12         asked for by, asked to be provided to a donor who

 13         had come to True the Vote and wanted a one-page

 14         document to describe some of the activities that

 15         we were planning to work through.

 16                   Q.       And did the donor have any requests

 17         or any suggestions for activities that True the

 18         Vote should engage in?

 19                   A.       This donor is connected with the

 20         consultant that I mentioned earlier.

 21                            So, the contribution was to use the

 22         name Validate the Vote and to put a one-pager



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                                                                                                Page 267
   1        together for this donor's use.

   2                  Q.         And is this, this one pager, is this

   3        essentially the framework for the Georgia elector

   4        challenge or the activities that occurred in

   5        Georgia afterward?

   6                  A.         I -- no.            This doesn't have any -- I

   7        mean, we could look at it.                          I would like to look

   8        at the whole thing.                  But, I don't believe so, no.

   9                  Q.         So, this document -- let's look at

 10         the first sentence underneath which says, "Goal:

 11         To ensure the 2020 election returns reflect one

 12         vote cast by one eligible voter and therefore

 13         protect the right to vote and the integrity of

 14         the election."

 15                             Is that correct?                       Does that reflect

 16         your understanding?

 17                   A.         Yes.

 18                   Q.        And, underneath that, the Problem,

 19         it says, "There is significant evidence that

 20         there are numerous instances of illegal ballots

 21         being cast and counted in the 2020 general

 22         election.          Most of these illegal votes are being



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                                                                                               Page 268
   1        counted in Democratic counties and are

   2        suppressing legitimate results."

   3                           Do you see that first paragraph

   4        underneath Problem?

   5                  A.       I do.

   6                  Q.       And who wrote that?

   7                  A.       Pardon me, sorry.                        I don't, I don't

   8        specifically recall.

   9                  Q.       But the document came from True the

 10         Vote, right?

 11                   A.       That is correct, yes.

 12                   Q.       How did True the Vote determine that

 13         most of the illegal votes were being counted in

 14         Democratic counties?

 15                   A.       I would not know why that would have

 16         been written that way.

 17                   Q.       This was prepared shortly after the

 18         November presidential election, correct?

 19                   A.       Yes.

 20                   Q.       Before new results had been

 21         published --

 22                   A.       That's correct.



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                                                                                               Page 269
   1                  Q.       -- or certified I should say; is

   2        that correct?

   3                  A.       That is correct.

   4                  Q.       And by then True the Vote had

   5        indicated in this Validate the Vote document that

   6        there is significant evidence of illegal ballots,

   7        most of which were being counted in Democratic

   8        counties; is that right?

   9                  A.       That is what this says, yes.

 10                   Q.       The next paragraph starts with,

 11         "This is a result of Democrat official's refusal

 12         to obey state election laws and counting illegal

 13         votes."       Is that --

 14                   A.       That is what it says, yes.

 15                   Q.       How did True the Vote reach that

 16         conclusion?

 17                   A.       I, as a -- you know, as a

 18         promotional piece, this was, you know, those --

 19         that phraseology was used.                         I, you know, I don't

 20         really have much more to say about that than

 21         that.

 22                   Q.       The next sentence says, "It is also



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                                                                                               Page 270
   1        the result of deliberate election fraud."

   2                           What evidence did True the Vote have

   3        to make that statement?

   4                  A.       I don't recall.

   5                  Q.       The next sentence, "The situation

   6        has been aided by the Democrat's deliberate

   7        effort to radically expand mail-in balloting,

   8        creating myriad opportunities for voter fraud

   9        that does not exist with in-person voting."

 10                            Did True the Vote have any evidence

 11         to support that statement?

 12                   A.       That statement in particular I would

 13         say yes in that the -- there was an effort to

 14         radically expand mail-in balloting or mail-in

 15         voting.

 16                            And it has been documented over time

 17         that mail-in balloting, mail-in voting does

 18         increase the opportunity for vote fraud or

 19         election fraud.

 20                   Q.       Had True the Vote identified any

 21         flood of illegal votes as referenced in that

 22         following paragraph?



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                                                                                                 Page 271
   1                  A.       This was a promotional piece.                                   I

   2        believe that the third paragraph there was to tie

   3        to the one above saying that there was a radical

   4        expansion and therefore it would precipitate a

   5        flood.

   6                  Q.       It says, "This flood of illegal

   7        votes violates the U.S. Constitution's right to

   8        vote," and the sentence continues, "by diluting

   9        the votes of legitimate voters."

 10                            But, had True the Vote identified

 11         any flood of illegal votes at this point?

 12                   A.       No, this was a promotional piece

 13         that was written.

 14                   Q.       And then we get to the plan.                                  It

 15         says, "Solicit whistleblower testimonies for

 16         those impacted by or involved in election fraud."

 17                            Did True the Vote obtain those

 18         whistleblower testimonies?

 19                            MS. SIEBERT:                  I'm sorry.              I'm just

 20              going to object one more time.                                   And maybe it

 21              is just a point of clarification.

 22                            Are you limiting these questions to



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                                                                                               Page 272
   1             the six states, the jurisdictions?

   2                           MR. NKWONTA:                  I don't believe I have

   3             to.      This is specifically about the Validate

   4             the Vote program which is -- so this is in --

   5             in other words I don't read our deposition

   6             notice or the court's order to say every

   7             single topic is constrained to these six

   8             states.

   9                           So, if I ask Ms. Engelbrecht, for

 10              instance, what Validate the Vote program

 11              means, you can't limit her testimony to six

 12              states.

 13                            MS. SIEBERT:                  Well, the court's

 14              order says that "True the Vote shall present

 15              a witness that is adequately prepared to

 16              answer questions relating to topics listed in

 17              the plaintiff's respective 30(b)(6)

 18              deposition notice with the following

 19              limitations:

 20                            "Plaintiff shall limit their

 21              questions regarding True the Vote's and OPSEC

 22              Group LLC's pre and post-election activities



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                                                                                               Page 273
   1             to 2012, onward, and the following states:

   2             Georgia, Texas, Ohio, Pennsylvania, Michigan,

   3             Wisconsin."

   4                            So, the court specifically stated

   5             the topics listed in the 30(b)(6) were to be

   6             limited and would include that following

   7             limitation.

   8                            So that is directly part of the

   9             court's order.

 10                            MR. NKWONTA:                  I understand your

 11              point.        I disagree that we cannot ask her

 12              about soliciting whistleblower testimonies

 13              unless we say soliciting whistleblower

 14              testimonies in a specific state, because we

 15              are literally asking to explain a document.

 16                            So, if -- my question to you is are

 17              you instructing her not to answer this

 18              question with respect to any state outside of

 19              the target jurisdictions that we have

 20              identified?

 21                             MS. SIEBERT:                 Yes, I am.

 22         BY MR. NKWONTA:



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                                                                                               Page 274
   1                  Q.       Ms. Engelbrecht, are you going to

   2        follow your counsel's instruction?

   3                  A.       Yes, I will.

   4                  Q.       So, can you answer my question with

   5        respect to the six target states that we

   6        discussed?

   7                  A.       Can you repeat the question?

   8                  Q.       Sure.

   9                           MR. NKWONTA:                  Can the court reporter

 10              read back the question.

 11                            (Whereupon, the record was read by

 12              the reporter as requested.)

 13                            THE WITNESS:                  We did not obtain any

 14              whistleblower testimonies.

 15         BY MR. NKWONTA:

 16                   Q.       The second bullet in the plan says,

 17         "Build public momentum through broad publicity."

 18                            Does that include -- well, why don't

 19         you explain to me what type of broad publicity

 20         was anticipated.

 21                   A.       Again, this is the first -- I have

 22         seen an orientation of a one-pager like this.



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                                                                                               Page 275
   1        This is the first time I have seen this one-pager

   2        with some of this language.

   3                           So, I can only respond to -- you

   4        know, I mean, to repeat back build public

   5        momentum through broad publicity.                                 We didn't do

   6        any advertising of any sort.                            I had a podcast, I

   7        mean that was it.

   8                  Q.       Would you consider a press

   9        release --

 10                   A.       Oh, I'm so sorry.                        Yes, and if we

 11         did press releases, that would be considered in

 12         that, in that bullet, yes.

 13                   Q.       The next bullet, "Galvanize

 14         Republican legislative support in key states."

 15                            Why the focus on Republican

 16         legislative support?

 17                   A.       I, I don't know.                       I don't know why

 18         that was written that way.

 19                   Q.       The next is, "Aggregate and analyze

 20         data to identify patterns of election

 21         subversion."         And that task is assigned to OPSEC

 22         group.      Do you see that?



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                                                                                               Page 276
   1                           THE WITNESS:                  Can you scroll up, can

   2             you scroll a little bit, Joe?

   3                           That would have been going back to

   4             the litigation support for the cases that

   5             were being filed shortly after the election.

   6        BY MR. NKWONTA:

   7                  Q.       So, the items that we discussed on

   8        that OPSEC invoice including litigation support,

   9        that was part of the aggregating and analyzing

 10         data to identify patterns of election subversion

 11         that we see in this document?

 12                   A.       I mean I would, aggregate and

 13         analyze data to identify patterns full stop.

 14         But, that would have been part of that, yes.

 15                   Q.       "File lawsuits in federal court with

 16         capacity to be heard by SCOTUS," the Supreme

 17         Court of the United States; is that correct?

 18                   A.       That is what it says, yes.

 19                   Q.       And is that referring to the

 20         lawsuits that were filed in Georgia,

 21         Pennsylvania, Michigan, Wisconsin, Arizona?

 22                            And also it lists the key states



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                                                                                                Page 277
   1        here below as well, Arizona, Nevada --

   2                  A.        Uh-huh.

   3                  Q.        Are those the lawsuits or legal

   4        actions that that plan is referring to?

   5                  A.        Yes.         Those would have been in that

   6        timeline of lawsuits.

   7                  Q.        And then next it goes on to the

   8        legal strategy for the Validate the Vote program.

   9                            And it states that, "Jim Bopp will

 10         file federal suits in the seven closest

 11         battleground states to investigate voter fraud,

 12         expose it and nullify the results of the state's

 13         election so that the presidential electors can be

 14         selected in a special election or by the state

 15         legislature."

 16                             Why was the goal to nullify the

 17         results of the state's election even before the

 18         election had been certified?

 19                   A.        I do not know why this was -- I

 20         don't -- that was not the goal.                                Let me answer it

 21         that way.          That was not the goal.

 22                             As we discussed earlier the goal was



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                                                                                                Page 278
   1        to recognize counties that had, that had been

   2        caught in the crossfire of unequal application of

   3        the election laws and processes.                                 And that is

   4        what we were focused on.

   5                  Q.         You would agree that that is not

   6        what the document says?

   7                  A.         I would agree that that is not what

   8        this document says, yes.

   9                  Q.         And Step 1 of this legal strategy

 10         is, "A federal civil rights lawsuit will be filed

 11         in each targeted state.                       This will provide the

 12         vehicle to serve subpoenas on state election

 13         officials to produce critical election data."

 14                             THE WITNESS:                  Could you scroll down

 15              more.         Up a little bit more.                         Okay.

 16                             Yes, that is what that says.

 17         BY MR. NKWONTA:

 18                   Q.        And essentially the purpose of this

 19         is to have the state's election results

 20         overturned.         That is what it appears in this

 21         strategy; is that correct?

 22                   A.        I can say that the thought behind



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                                                                                               Page 279
   1        the lawsuits that we had -- that were filed was

   2        to look at the county-by-county status.                                    But I

   3        mean that is different than what this indicates.

   4        But that was, in fact, if you look at the

   5        lawsuits what the orientation of the suits were.

   6                           MR. NKWONTA:                  We can pull this

   7             document down for now.

   8        BY MR. NKWONTA:

   9                  Q.       Ms. Engelbrecht, you agreed this

 10         document was distributed, correct?

 11                   A.       I agree that the -- I mean the

 12         document has the format of a one-pager that we

 13         have and has the logo on it.

 14                            So -- and to the extent that we

 15         provided it, it has been, you know, it has been

 16         distributed.

 17                   Q.       You mentioned earlier that you

 18         prepared materials for a donor or a funder.

 19                            Did True the Vote commit to seeking

 20         to overturn the results or attempting to overturn

 21         the results of the 2020 election to this donor?

 22                   A.       No.        We committed absolutely nothing



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                                                                                               Page 280
   1        to the donor except our continued existence, I

   2        guess.

   3                  Q.       Did True the Vote have any contact

   4        with the Trump campaign regarding the specific

   5        actions that it was taking to try to overturn the

   6        results of the 2020 election?

   7                  A.       I don't think so.                        I don't recall.

   8        That was a lot of people in and out of the time

   9        that I just -- I don't recall.

 10                   Q.       So it is possible that those

 11         communications occurred?

 12                   A.       I don't think so.                        I don't think so.

 13         I don't recall any.

 14                   Q.       Let's talk a little bit about the

 15         lawsuits themselves that were referenced in this

 16         strategy document.

 17                            MR. NKWONTA:                  I would like to start

 18              with the Georgia lawsuit, Exhibit 66.

 19                                     (Exhibit 66 marked for

 20                                       identification.)

 21         BY MR. NKWONTA:

 22                   Q.       Do you recognize Exhibit 66?



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                                                                                               Page 281
   1                  A.        I do not know.

   2                            MR. NKWONTA:                 Maybe if we scroll

   3             down.

   4        BY MR. NKWONTA:

   5                  Q.        Well, I will represent to you

   6        Exhibit 66 was a lawsuit filed in the U.S.

   7        District Court for the Southern District of

   8        Georgia.       It is file stamped -- it is filed on

   9        November 11, 2020.

 10                            And if we go down to Page 22 of that

 11         complaint, you see it is signed by a number of

 12         attorneys.         And then it is also signed by

 13         Mr. Bopp and Ms. Siebert.                        And underneath it says

 14         True the Vote, Inc.

 15                            Was this one of the lawsuits that

 16         True the Vote supported in the immediate

 17         aftermath of the November election?

 18                   A.        Yes.

 19                   Q.       And what was True the Vote's

 20         involvement in this lawsuit?

 21                   A.       We were providing support for the

 22         plaintiffs as named, and with the concern both



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                                                                                               Page 282
   1        in -- well, in Georgia and in our other states

   2        that counties were executing election processes

   3        without equal application statewide.

   4                  Q.       And is it your understanding that

   5        this lawsuit was filed against a number of

   6        counties within the state of Georgia?

   7                  A.       I don't know if it was with counties

   8        or county, specifically.                       I mean, we can scroll

   9        back up, you know, we will see it for certain.

 10                            But, I can't tell you without

 11         looking at it.

 12                   Q.       I want to draw your attention to an

 13         allegation from this lawsuit in Paragraph 41,

 14         which appears on Page 14.                        This is still in

 15         Exhibit 66.

 16                            It says, "Just Facts conducted a

 17         study using data from the Census Bureau past

 18         surveys in which noncitizens admitted they were

 19         registered to vote and did in fact vote and other

 20         data driven analysis to arrive at an estimate

 21         that as many as 73,975 votes were cast for Joe

 22         Biden in Georgia by noncitizens."



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                                                                                               Page 283
   1                           Is that a correct reading of

   2        Paragraph 41?

   3                  A.       Yes, it is a correct reading.

   4                  Q.       And other than that link, did True

   5        the Vote have any evidence to support the

   6        allegation that noncitizens, or as many as

   7        70,000-plus noncitizens, voted for Joe Biden in

   8        Georgia?

   9                  A.       I think it was just this link.                                  No.

 10         No.

 11                   Q.       Are you aware of any analysis or any

 12         study that has been done to confirm this or any

 13         additional corroborating evidence that has been

 14         provided to support this?

 15                   A.       No.

 16                   Q.       Do you believe this to be true?

 17                   A.       I believe that Just Facts wrote that

 18         article.       Yes, I would have to look at the

 19         underpinnings but I mean that is plausible,

 20         certainly.

 21                   Q.       If we go to the Prayer for Relief,

 22         starting on Page 20 and which spills over to



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                                                                                               Page 284
   1        Page 21.

   2                           Under Paragraph 65, would you agree

   3        that that paragraph seeks to invalidate the

   4        defendant counties' presidential election

   5        results?

   6                  A.       That is what that communicates, yes.

   7                  Q.       And just the counties that were

   8        named as defendants in this lawsuit, correct?

   9                  A.       I apologize.                  Can you restate the --

 10                   Q.       Sure.          So, this request to

 11         invalidate the results, this request is to

 12         invalidate the results of the counties that were

 13         named as defendants in this lawsuit; is that

 14         right?

 15                   A.       Well, the -- what it says is in

 16         contested counties or in the state overall.

 17                            So that the -- oh, so that the

 18         counties -- yeah, I, I -- that appears to be what

 19         it communicates.              I'm not a lawyer, but that

 20         appears to be what it communicates.

 21                   Q.       The Validate the Vote program

 22         document that I showed you earlier made reference



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                                                                                                Page 285
   1        to targeting Democratic counties.

   2                           Does this complaint carry out that

   3        that strategy?

   4                  A.       I would have to, I guess look at --

   5        I mean I would have to run the numbers to see if

   6        the counties were leaning in that way.                                    I

   7        don't -- it is certainly not part of my mindset

   8        on any of it, so --

   9                  Q.       Why is True the Vote focused on

 10         enjoining the results of the presidential

 11         election in this lawsuit -- let me rephrase.

 12                   A.       Sure.

 13                   Q.       There were a number of elections

 14         that occurred in November, both elections for

 15         president -- both for the presidential race and

 16         there were a number of other state and federal

 17         races on the same ballot.

 18                            This lawsuit is focused on the

 19         presidential election results only.                                   Why is that?

 20                   A.       I don't know.

 21                   Q.       The Validate the Vote program

 22         document that we just discussed, Exhibit 1, would



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                                                                                               Page 286
   1        you agree that was also focused on overturning

   2        the results of the presidential election?

   3                  A.       That was the language on that page,

   4        yes.

   5                           MR. NKWONTA:                  Could we take a quick

   6             ten-minute recess, I just want to see how

   7             much I have left.

   8                           THE VIDEOGRAPHER:                        We are now going

   9             off the video record.                       The time is 3:49 p.m.

 10                            (Recess taken -- 3:49 p.m.)

 11                            (After recess -- 4:00 p.m.)

 12                            THE VIDEOGRAPHER:                        We are now going

 13              back on the video record the time is

 14              4:00 p.m.

 15         BY MR. NKWONTA:

 16                   Q.       Ms. Engelbrecht, we just took a

 17         short break.         You understand you are still under

 18         oath?

 19                   A.       Yes.

 20                   Q.       So, before we went on break we

 21         discussed the Georgia lawsuit that was filed

 22         immediately after the November election.



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                                                                                               Page 287
   1                           Did True the Vote also participate

   2        in filing a lawsuit in Pennsylvania shortly after

   3        the November general election?

   4                  A.       Yes.

   5                  Q.       And in that lawsuit True the Vote

   6        sued specific counties, correct?

   7                  A.       I don't recall.

   8                  Q.       Do you have any reason to dispute

   9        that?

 10                   A.       No.        I mean the briefing will show

 11         it.    So, no, it is whatever the briefing says.

 12                   Q.       And do you dispute that that lawsuit

 13         also sought to enjoin certification of the

 14         election results in specific counties?

 15                   A.       If that is what the brief says,

 16         then --

 17                   Q.       Does True the Vote have or did True

 18         the Vote submit any evidence to support the

 19         allegations of voter fraud in the Pennsylvania

 20         lawsuit?

 21                   A.       There were a number of --

 22                            I'm sorry, could you repeat the



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                                                                                                Page 288
   1        question?          I want to make sure I get it right.

   2                            MR. NKWONTA:                  Could the court

   3             reporter read the question back, please.

   4                            (Whereupon, the record was read by

   5             the reporter as requested.)

   6                            THE WITNESS:                  I'm aware that there

   7             were points added into the filing that

   8             supported the concerns around election fraud

   9             so that is what I would say.

 10         BY MR. NKWONTA:

 11                   Q.        Beyond what was written in the

 12         actual filings, are you aware of any evidence or

 13         have any additional evidence to support the

 14         claims of voter fraud in the Pennsylvania

 15         lawsuit?

 16                   A.        At the time, what we had was what

 17         was put into the file with the -- yeah, that is

 18         at the time it was just what was filed.

 19                   Q.        Did you obtain any additional

 20         evidence since then?

 21                   A.        For the purposes of the lawsuit, no.

 22                   Q.        I will ask you the same question



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                                                                                               Page 289
   1        about Michigan.

   2                           Did True the Vote participate in

   3        filing a lawsuit in Michigan shortly after the

   4        November election to challenge the election

   5        results or to prevent certain counties from

   6        certifying the election results?

   7                  A.       Yes.

   8                  Q.       And does True the Vote have any

   9        evidence, other than what was written in the

 10         filings, to support the claims of voter fraud

 11         asserted in the Michigan complaint?

 12                   A.       What was put in the brief was what

 13         we had.

 14                   Q.       And True the Vote hasn't obtained or

 15         does not have any additional evidence beyond?

 16                   A.       None of the suits were dismissed, so

 17         no.

 18                   Q.       I will ask you the same question for

 19         Wisconsin.

 20                            Did True the Vote participate in the

 21         filing of a lawsuit in Wisconsin shortly after

 22         the November general election?



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                                                                                               Page 290
   1                  A.       Yes.

   2                  Q.       And does True the Vote have or did

   3        True the Vote collect any additional evidence

   4        beyond what was written in the complaints to

   5        support the allegations of voter fraud in the

   6        Wisconsin lawsuit?

   7                  A.       No.        Not beyond what was in the

   8        filing we didn't -- nothing else was done and

   9        then the case was dismissed.

 10                   Q.       And that case -- those cases that I

 11         just mentioned, the Georgia case, the Michigan

 12         case, the Pennsylvania case, the Wisconsin case,

 13         all of those cases were voluntarily dismissed.

 14         Is that correct, by the plaintiffs?

 15                   A.       Yes, or withdrawn.                         I'm not certain

 16         what the proper term is.                       But, yes.

 17                   Q.       And those lawsuits were voluntarily

 18         dismissed without providing any additional

 19         evidence or support to the court; is that

 20         correct?

 21                   A.       Correct.

 22                   Q.       Why were those lawsuits dismissed



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                                                                                               Page 291
   1        shortly after they were filed?

   2                  A.       The data that was necessary to be

   3        exacting in the support of the filing or in --

   4        not support necessarily but in the ongoing filing

   5        and the way that the case would naturally sort of

   6        unfold, that data was not available.

   7                           And that specifically would have

   8        been the complete record from the state of voters

   9        who actually voted in the 2020 election.                                     And

 10         then we had quite a number of other documents

 11         that we were requesting, but most specifically it

 12         was the final register of who voted in the 2020

 13         election which was not available for months.

 14                            MR. NKWONTA:                  I would like to pull

 15              up another exhibit.                     Exhibit 71 please.                    And

 16              I would like to go to Page 246 of Exhibit 71.

 17                                     (Exhibit 71 marked for

 18                                       identification.)

 19                            THE VIDEOGRAPHER:                        I'm so sorry, I

 20              missed that page.                  I apologize.

 21                            MR. NKWONTA:                  Sure.          Page 246.

 22         BY MR. NKWONTA:



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                                                                                               Page 292
   1                  Q.       Ms. Engelbrecht, do you recognize

   2        this document, Page 246 of Exhibit 71?

   3                  A.       Yes.

   4                  Q.       What is it?

   5                  A.       This was an e-mail sent to me by

   6        Fred Eshelman -- excuse me.                          This is an e-mail

   7        sent to, sent by Fred Eshelman to his consultant

   8        and copied me.

   9                  Q.       And was the e-mail directed to you?

 10                   A.       I'm not sure.

 11                            THE WITNESS:                  Could we scroll down?

 12                            I don't know.                   It could have been

 13              either to me or his consultant who he worked

 14              very closely with.

 15                            MR. NKWONTA:                  Okay.          Could you

 16              scroll backup to the first e-mail.

 17         BY MR. NKWONTA:

 18                   Q.       So first can you tell me who is Fred

 19         Eshelman?

 20                   A.       Fred Eshelman is someone who, on

 21         November the 5th, ostensibly at the behest of his

 22         two consultants, Tom Crawford being one, called



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                                                                                               Page 293
   1        True the Vote, first the consultants and then

   2        they put Mr. Eshelman on, in the interests of

   3        making a donation.

   4                           And that was the first time I had

   5        ever heard of or spoken with any of the three of

   6        them, the two consultants or Mr. Eshelman.

   7                  Q.       In Mr. Eshelman's e-mail, the second

   8        sentence says, "However I do want to know what

   9        money is accomplishing and where this is headed

 10         and the odds of winning."

 11                            What is he referring to?

 12                   A.       I, I don't know specifically.                                 I

 13         will say that his consultants, from what I

 14         gathered, had other activities going on that were

 15         more political that I don't know, I can't speak

 16         to.

 17                   Q.       Was his goal to overturn the results

 18         of the election?

 19                   A.       I don't know what his goal was.

 20                   Q.       Did he express to you or to anyone

 21         at True the Vote that his interest in overturning

 22         the results of the election?



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                                                                                               Page 294
   1                           THE VIDEOGRAPHER:                        Catherine, this

   2             is Joe.       It is not your -- I don't think it

   3             is your headset.                 I'm checking your

   4             bandwidth.          And when it dips low, you cut

   5             out.      I don't think it is anything that you

   6             can control, but if you have a new set of

   7             headphones, we will try that.

   8                           Counsel just so everyone knows the

   9             bandwidth is dipping quite low and it is

 10              cutting her off.

 11                            THE WITNESS:                  Is this any better?

 12                            THE VIDEOGRAPHER:                        You sound great.

 13                            THE WITNESS:                  Okay.          So the answer

 14              is not as far as I know with respect to what

 15              he communicated to True the Vote, no.

 16                            Whatever else they had going on, I

 17              don't know.

 18         BY MR. NKWONTA:

 19                   Q.       And if you look below at, there are

 20         a couple of references to the likelihood of a

 21         favorable outcome.                What is that referring to,

 22         what outcome?



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                                                                                               Page 295
   1                  A.       I'm going to make sure that I'm

   2        tracking with you.                Likelihood of a favorable

   3        outcome.

   4                           I, I don't know.                       I would presume

   5        this is what he is talking to his consultant

   6        about and I'm copied, but I don't specifically

   7        know.

   8                           MR. NKWONTA:                  Can we jump to

   9             Page 300, please.

 10         BY MR. NKWONTA:

 11                   Q.       Do you recognize the e-mail on

 12         Page 300, Ms. Engelbrecht?

 13                   A.       Yes, yes.

 14                   Q.       And can you tell me, you know, what

 15         is Mr. Eshelman seeking here in this e-mail?

 16                   A.       He is reaching out to me for

 17         information that -- actually let me take another

 18         second to read it because it has been a minute

 19         since I have seen this.

 20                   Q.       And actually can I ask that you read

 21         the e-mail out loud into the record.

 22                   A.       Sure. "Catherine, I hope we are all



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                                                                                               Page 296
   1        fighting hard and spending precious resources on

   2        the most important thing for our democracy

   3        probably since World War II.                            Everyone is full

   4        out on this.         Mr. Bopp thinks he has the right

   5        track on legal but needs data and communications

   6        support.

   7                           "Dialogue is open with Senator

   8        Graham, Hannity, and other senators.                                  They are

   9        not getting ahead of this until they see/verify

 10         whistleblowers and see the data.

 11                            "Tom has got all kinds of comms set

 12         up (as we all agreed) but can't go any further

 13         without real information.                        I am funding this but

 14         can't get any real information.                               Please, this has

 15         to stop for the good of our effort and what we're

 16         trying to accomplish for the country.

 17                            "I am beseeching you to give the

 18         data/whistleblower information to Senator Graham,

 19         Mr. Bopp, Tom and myself, and then let Tom handle

 20         the comms end of it.                  We can do this together but

 21         not divided.

 22                            "Thank you for considering my



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                                                                                               Page 297
   1        assessment and request.                      I look forward to the

   2        detailed report that has been promised on at

   3        least two occasions.                  We are trying to support

   4        the effort, not compete with you."

   5                  Q.        And can you explain what he is

   6        seeking there?           It appears that he is seeking

   7        evidence to support the claims of voter fraud in

   8        the 2020 November presidential election; is that

   9        correct?

 10                   A.       I would agree that that is what this

 11         indicates.         This was a very unusual situation in

 12         which Mr. Eshelman's consultants were the only

 13         source of contact I was to have with

 14         Mr. Eshelman.

 15                            And so when this e-mail came, I was

 16         surprised to see some of these details that I had

 17         no clue about, making things very awkward.

 18                   Q.       Were you able to provide or did you

 19         provide any evidence in response to this request

 20         from him?

 21                   A.       I don't recall.                      Post this

 22         communication, very shortly after that he -- we



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                                                                                                Page 298
   1        parted ways.          So, I don't recall.

   2                  Q.         And this e-mail was sent on

   3        November 15th at 12:43 p.m., right?

   4                  A.         Yes.

   5                             MR. NKWONTA:                 Can we jump to

   6             Page 301.          And let's go to the e-mail below.

   7        BY MR. NKWONTA:

   8                  Q.         And this e-mail appears later in the

   9        day November 15th at 4:18 p.m.

 10                             And can you read Mr. Eshelman's

 11         e-mail to you -- first, do you recognize this

 12         e-mail as well?

 13                   A.         Yes.

 14                   Q.        Can you read Mr. Eshelman's response

 15         to you into the record?

 16                   A.        He writes, "Thank you for your

 17         response.          I would like to get on the phone

 18         tomorrow and get granularity on whistleblowers

 19         and exactly what validated data we have on vote

 20         fraud.      Just citing registration data won't get

 21         it done as you know.                   After we talk may I suggest

 22         that we get on the phone with Tom and Jim and



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                                                                                               Page 299
   1        really sort this out.

   2                           "I'm not trying to be difficult, but

   3        like all the folks who can make this happen, I

   4        need details.          Please let me know what is

   5        convenient for you tomorrow."

   6                  Q.       What is Mr. Eshelman seeking

   7        granularity on?             Is he referring to evidence of

   8        election fraud or voter fraud?

   9                  A.       It is difficult to know because this

 10         was a very unusual situation.                             I can only read

 11         what he has written here to get granularity on

 12         whistleblowers and validated data.

 13                            But again, with the exception of a

 14         very few exchanges of e-mail, all my

 15         communication was coordinated through his

 16         consultant, and I'm not sure what was being

 17         shared or not shared.

 18                            MR. NKWONTA:                  Can we jump to

 19              Page 310.

 20         BY MR. NKWONTA:

 21                   Q.       Ms. Engelbrecht, do you recognize

 22         Page 310 and the e-mail there that was sent to



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                                                                                               Page 300
   1        you and others?

   2                  A.       Yes.

   3                  Q.       And it appears as a list of topics

   4        from upcoming meeting or a list of action items;

   5        is that correct?

   6                  A.       Yes.

   7                  Q.       So, the first action item, Data

   8        Whistleblowers.             Can you read that action item

   9        into the record?

 10                            THE WITNESS:                  Please scroll down a

 11              bit.

 12                            This was from Mr. Eshelman.

 13              "Data/Whistleblowers.                       Specific, detailed,

 14              granular report on exactly what data we have

 15              and where.          Is it voter/votes data or just

 16              registration data?                    Have we actually shown

 17              fraud anywhere?                Which ones of the nine

 18              attributes are we using to screen?

 19                            "Specific detailed report on exactly

 20              who the whistleblowers are, where they are,

 21              what real info they have, status of vetting.

 22              Reward program being used or advertised -- or



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                                                                                               Page 301
   1             used/advertised?

   2                            "Understand that some of this has

   3             been shown to Republican AGs and they did not

   4             act.      These steps are crucial and rate

   5             limiting to other steps/efforts and

   6             ultimately the outcome."

   7        BY MR. NKWONTA:

   8                  Q.        Now, the question posed in the third

   9        sentence, "Have we actually shown fraud

 10         anywhere?"         What was the response to that?

 11                   A.       I don't recall what the response

 12         would have been.              This is, you know, days after

 13         this person and his consultants ever, you know,

 14         contacted me for the very first time.                                  So, I

 15         don't recall what the answer would have been

 16         there at that point.

 17                   Q.       It was about 11 days after True the

 18         Vote filed its lawsuits to overturn election

 19         results in a few states.

 20                             Do you see the date,

 21         November 16, 2020?                And at that time what was

 22         your response to this, have we actually shown



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                                                                                               Page 302
   1        fraud anywhere?

   2                  A.       I don't recall what the response

   3        was.

   4                  Q.       Do you recall providing any

   5        evidence?

   6                  A.       Well, as a practical matter, this

   7        e-mail was sent but not, not followed on the

   8        call.

   9                           So, yeah.               I was to report to Tom,

 10         his consultant, also the suggester of the name

 11         Validate the Vote, and not to have contact with

 12         Mr. Eshelman.          And so I don't know what he had

 13         been or not provided at the time.

 14                   Q.       Did you provide anyone with evidence

 15         of fraud?

 16                   A.       Not -- no.                I mean we were just

 17         beginning the research.

 18                   Q.       And there is another reference there

 19         at the last line under Data/Whistleblowers.                                        It

 20         says, "Understand that some of this has been

 21         shown to Republican AGs and they did not act."

 22                            Why the focus on Republican AGs?



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                                                                                                Page 303
   1                  A.        I, I don't know.                       I don't know if

   2        that refers to other activities he had going on

   3        with Tom.          I don't know.                Or maybe that he is

   4        reacting to the news.                    I shouldn't speculate.                        I

   5        don't know.         I do not know.                    That is my answer.

   6        I don't know.

   7                  Q.        If we go to Item Number 3, can you

   8        read into the record the action item there under

   9        Item Number 3?

 10                   A.        It says Number 3, "Status of Bopp

 11         cases by state, deal with Trump people and

 12         details, dates for orders by state, how long to

 13         implement.         Who is forensic team deciding bases

 14         for tests to prove fraud and present to courts?

 15         Strategy still county by county

 16         disqualification?"

 17                   Q.        What does the reference to deal with

 18         Trump people and details mean?

 19                   A.        In this context I -- deal with

 20         details -- I don't recall.

 21                   Q.        Were there any communications or

 22         coordinations with the Trump campaign or the



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                                                                                               Page 304
   1        Trump people relating to this effort?

   2                  A.       I know that others, you know, were

   3        in touch with them.                 We were not.

   4                           So, yeah, I mean, further up in this

   5        you can see where there was a comment made that

   6        Jim, in his individual capacity, had been on a

   7        call, but we were not otherwise engaged in any of

   8        that.

   9                           MR. NKWONTA:                  Can we go to Page 314.

 10         BY MR. NKWONTA:

 11                   Q.       Ms. Engelbrecht, do you recognize

 12         Page 314?

 13                   A.       Yes.

 14                   Q.       What is it?

 15                   A.       This is an e-mail that I sent to

 16         Mr. Eshelman post, post a call that we had.

 17                   Q.       And this was dated

 18         November 16th, 2020?

 19                   A.       Yes.

 20                   Q.       Can you read the first paragraph of

 21         that e-mail into the record?

 22                   A.       "Fred, I have attached the budget we



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                                                                                               Page 305
   1        provided to Tom and Dikran on November 5th.                                        Our

   2        not having full funding was well known and often

   3        discussed.         I had written in my 11/14 e-mail to

   4        you that it appeared our legal fees would have

   5        been covered by the Trump campaign which I

   6        described in a statement of our cash position,

   7        described as best as possible given the tight

   8        timeline with so many moving parts."

   9                  Q.       What do you mean -- sorry, continue.

 10                   A.       I didn't know if you wanted me to

 11         read the second paragraph.

 12                   Q.       Sure.

 13                   A.       Go ahead with your question.

 14                   Q.       Sure, why don't you read the second

 15         paragraph.

 16                   A.       "We have done a tremendous amount of

 17         work in the 11 days since we first met.                                    Have

 18         talked with Tom routinely about status and

 19         provided him with access to all comms, press

 20         releases and briefings.

 21                            "Tom and Dikran both asked that I

 22         communicate directly through them and indicated



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                                                                                               Page 306
   1        that the information was being passed to you.

   2        Moving forward I will keep you directly apprised

   3        of continued developments in the whistleblower

   4        situation unless I hear otherwise from you."

   5                  Q.       Now going back to the first

   6        paragraph and the second sentence, what did you

   7        mean that it appears that your legal fees would

   8        have been covered by the Trump campaign?

   9                  A.       Initially we had thought that our

 10         lawsuits would be, would, you know, be very

 11         expensive and cost -- you know, we had a budget

 12         anticipated around those lawsuits.

 13                            This is, this is a -- that is a

 14         ham-handed way of saying that the research was --

 15         and I don't understand all of the legal

 16         maneuverings or how cases come together

 17         necessarily.

 18                            But that our research was possibly

 19         going to be used in the move forward of the cases

 20         that would have been part of the Trump defense, I

 21         guess, or cases.

 22                            And, what this was attempting to



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                                                                                               Page 307
   1        communicate was that there would not be any legal

   2        fees.

   3                           So, when Mr. Eshelman was asking

   4        about the budget and so forth, I have -- you

   5        know, I had written this to say we would not have

   6        those expenses if the research was going to be

   7        used in a different direction.                              That is all that

   8        meant.

   9                  Q.       So it was your belief that the Trump

 10         campaign would pay for True the Vote's legal fees

 11         to pursue evidence of voter fraud and to pursue

 12         the lawsuits that True the Vote had filed?

 13                   A.       No, it was, this was just not --

 14         this was ill worded, but the intent was to say

 15         that we would not have legal expenses for these

 16         cases.      The cases wouldn't -- we wouldn't be a

 17         part of those anymore.

 18                            That, the, you know, they would

 19         be -- we wouldn't have that expense.

 20                   Q.       Because the phase would be covered

 21         by the Trump?

 22                   A.       Again, it is a ham-handed way to say



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                                                                                               Page 308
   1        it, but it was the research that was being done

   2        that we were covering the research for, we would

   3        no longer be a part of.                      If the Trump campaign

   4        wanted to use it, they would cover that and we'd

   5        be out, so we wouldn't have those expenses.

   6                  Q.       Why was the Trump campaign

   7        interested in covering your fees?

   8                  A.       Well, it wouldn't be covering our

   9        fees.     It would just be -- well, it wouldn't be

 10         covering our fees.                It would, we would have not

 11         needed to pursue the lawsuits.

 12                   Q.       And we discussed earlier how the

 13         post election effort in Georgia, and when I say

 14         post election, I'm referring to post November

 15         presidential election, the immediate post

 16         election effort in Georgia and the data analysis

 17         conducted by OPSEC was combined with the analysis

 18         conducted by OPSEC in advance of the, of the

 19         elector challenges for the runoff election.

 20                            Do you recall that?

 21                   A.       I recall us talking about broadly

 22         that in the context of that invoice and what it



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                                                                                                Page 309
   1        meant, yes.

   2                           MR. NKWONTA:                  Could we jump to

   3             Page 797.

   4        BY MR. NKWONTA:

   5                  Q.       Now this is an e-mail between Tom

   6        Crawford and Fred Eshelman.                          But I wanted you to

   7        read the, both paragraphs.

   8                           They are fairly short.                             And I have a

   9        couple of follow-up questions about what is going

 10         on in that discussion.

 11                   A.       Sure.          This is from Tom Crawford to

 12         Fred Eshelman.

 13                            "Gregg reached out to Dikran.                                  He

 14         was very upset with Catherine and Bopp.                                     He said

 15         what they conveyed was not the way events had

 16         unfolded and he gave clarification.                                   I will relay

 17         when we speak.

 18                            "He has a plan for something he

 19         could help us with in Georgia, keeping the state

 20         from doing their mail-out program to the entire

 21         state.      It is worth a listen.                         He has agreed to

 22         speak with us tomorrow without Catherine.                                       He



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                                                                                                Page 310
   1        also said he supports getting your money back to

   2        you.    I think we can get a sense of what really

   3        exists if we can get him in the phone alone."

   4                  Q.       What is that plan that Gregg was

   5        referring to?          Is it at all related to the work

   6        that he was doing post election on that, that is

   7        reflected in that invoice?

   8                  A.       I don't -- I can't comment on this.

   9        I can't comment on whether or not there was even

 10         a real call.         I have no clue.                      That doesn't even

 11         make sense.

 12                   Q.       The invoice for $400,000, was any of

 13         that paid with the funds that you received from

 14         Mr. Eshelman?

 15                   A.       Probably not, because if I recall

 16         that was on the 7th.                  I don't know.                   I don't

 17         recall.

 18                   Q.       So, they are discussing an alternate

 19         plan or additional plan in Georgia in November,

 20         on November 16th, or at least that is what is

 21         referenced in this e-mail.

 22                   A.       Uh-huh.



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                                                                                               Page 311
   1                  Q.       But you can't say one way or another

   2        whether that was related to the Georgia elector

   3        challenges or any of the work that Gregg Phillips

   4        conducted in Georgia?

   5                  A.       What I can say is that I have

   6        absolutely no knowledge of any plan to keep the

   7        state from doing their mail-out program to the

   8        entire state.

   9                           We had no -- True the Vote had no

 10         involvement in that, I've never, other than this

 11         e-mail.       I -- this was a very strange situation.

 12         I don't know anything about that plan.

 13                            MR. NKWONTA:                  Can we jump to

 14              Page 799.         And can you scroll to the second

 15              e-mail.

 16         BY MR. NKWONTA:

 17                   Q.       So, this is another e-mail between

 18         Tom Crawford and Fred Eshelman.                               Just for clarity

 19         who is Tom Crawford?

 20                   A.       He is, as I understand it -- I have

 21         also never met Tom Crawford.

 22                            But he is Mr. Eshelman's consultant



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                                                                                               Page 312
   1        or affiliate of some type.                         They worked very

   2        closely together.               That is really all I know.

   3                  Q.       And Fred Eshelman is a donor,

   4        correct?

   5                  A.       Yes.

   6                  Q.       Can you read the second paragraph --

   7        well, the first paragraph says, "Okay.                                   Let's

   8        shoot for 5 to give you time to settle at home.

   9        I will try to have things organized by then.                                        I'm

 10         on the fence about speaking to Gregg.                                  Let me

 11         know your thoughts here."

 12                            I'm assuming that is referring to

 13         Gregg Phillips from OPSEC Group.                                Can you read

 14         the second paragraph into the record?

 15                   A.       Tom Crawford writes to Fred

 16         Eshelman, "I have been looking into Georgia.                                        We

 17         would identify low propensity voters through a

 18         few methods -- looking at primary voters over

 19         20 years; working from lists like licensed

 20         hunters and concealed carry permit holders,

 21         veterans and blacks that hit our North Carolina

 22         targeting criteria; and, 3, data work to segment



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                                                                                                Page 313
   1        audiences and targeting based on the above."

   2                  Q.         This seems to be another discussion

   3        about upcoming Georgia work.

   4                             Do you recognize any of that or is

   5        any of that related to the work that you did with

   6        Gregg Phillips?

   7                  A.         Absolutely not, no.                         This is a --

   8        they are referring to -- Mr. Eshelman comes from

   9        North Carolina.              I had a sense from conversations

 10         with Tom that they had done things in North

 11         Carolina.          But, I don't know.                      We didn't do

 12         anything with them on any of this.

 13                             MS. SIEBERT:                  I'm sorry.            Sorry to

 14              interrupt.           What is the exhibit number here?

 15              I missed that.

 16                             MR. NKWONTA:                  71.

 17                             MS. SIEBERT:                  Thank you.

 18         BY MR. NKWONTA:

 19                   Q.        Did Mr. Eshelman fund any of the

 20         post-election activities that True the Vote

 21         engaged in, in Georgia?

 22                   A.         No.



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                                                                                               Page 314
   1                  Q.       I would like to turn back to True

   2        the Vote's statements about the election and

   3        activity and post election activities.

   4                           MR. NKWONTA:                  Can we pull this down

   5             and pull up Exhibit 63.

   6                                    (Exhibit 63 marked for

   7                                      identification.)

   8        BY MR. NKWONTA:

   9                  Q.       Ms. Engelbrecht, do you recognize

 10         Exhibit 63?

 11                   A.       That was a blog post to our website.

 12                   Q.       And is that posted on

 13         November 10th, 2020?

 14                   A.       According to this document, yes.

 15                   Q.       And that would have been

 16         approximately a week after the November election?

 17                   A.       Yes.

 18                   Q.       And can you read the third paragraph

 19         on Page 2 into the record, starting with, "Never

 20         in our history".

 21                   A.       "Never in our history has there been

 22         such blatant disregard for election integrity.



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                                                                                               Page 315
   1        During these pivotal times we refuse to stand on

   2        the sidelines.

   3                           "True the Vote will keep fighting to

   4        ensure 2020 election returns reflect the

   5        principle of one vote for one voter and to repair

   6        our broken elections once and for all."

   7                  Q.       And following that statement, the

   8        release makes reference to the Validate the Vote

   9        initiative that True the Vote recently launched;

 10         is that correct?

 11                   A.       Yes.

 12                   Q.       And that is the same initiative we

 13         discussed in Exhibit 1, correct?

 14                   A.       Yes.         Well, I'm not sure what

 15         Exhibit 1 was any longer, but we have discussed

 16         that, yes.

 17                   Q.       But that Validate the Vote document,

 18         right?

 19                   A.       I know the name is the same, yes.

 20                   Q.       So, True the Vote announces that it

 21         is launching this initiative that was described

 22         in Exhibit 1, and announces a whistleblower fund



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                                                                                               Page 316
   1        in excess of $1 million.                       Is that correct?

   2                  A.       Yes.

   3                  Q.       And was the purpose of that million

   4        dollars to reward people that came forward with

   5        evidence of voter fraud?

   6                  A.       The fund was to -- or the idea of

   7        the fund was to support people that would come

   8        forward, as we discussed previously, to have

   9        funds available should they be necessary for

 10         their legal support.

 11                            Also through this we were funding

 12         the state election or county election lawsuits.

 13                   Q.       Did you present any of the evidence

 14         that you obtained through this initiative to any

 15         of the courts or to -- or to Mr. Eshelman?

 16                   A.       I don't recall.                      I talked to his

 17         consultants daily.                I don't recall anything in

 18         specific.

 19                   Q.       Did True the Vote obtain any

 20         evidence of -- any credible evidence of criminal

 21         malfeasance as referenced in this press release

 22         after announcing this initiative?



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                                                                                               Page 317
   1                  A.       We did have some reports that we

   2        considered credible.

   3                  Q.       And did you submit those reports to

   4        anyone?

   5                  A.       Yes.         They have been submitted.

   6                  Q.       Where did you submit those reports?

   7                  A.       There are active investigations in

   8        Georgia and in Arizona, and I guess, those are

   9        the two active states.

 10                   Q.       What was the criminal malfeasance or

 11         misconduct identified in those reports or alleged

 12         in those reports?

 13                   A.       I don't -- I mean those are active

 14         investigations and our approach to this point has

 15         been that we don't comment on active

 16         investigations.

 17                   Q.       So, you are not willing to disclose

 18         or identify the nature of any of the reports of

 19         fraud or evidence of fraud that you received?

 20                            THE WITNESS:                  May I consult with

 21              counsel and just make sure I am answering the

 22              question properly?                    I just want to make sure



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                                                                                               Page 318
   1             I'm being respectful of all of the

   2             considerations here.

   3                           MS. SIEBERT:                  Um, okay.            I'm sorry.

   4             I'm coming in -- I came in halfway through

   5             this deposition and so I'm a little bit

   6             behind the eight ball as far as what has been

   7             testified to or not, regarding that before

   8             and the objections made.

   9                           MR. NKWONTA:                  I can give you a quick

 10              playback of where this is coming from.

 11                            MS. SIEBERT:                  Thank you, yes.

 12                            MR. NKWONTA:                  So, Jim and I had

 13              several discussions about consulting with the

 14              witness regarding a pending question.                                     And I

 15              objected on numerous occasions that it was

 16              improper to consult with the witness on a

 17              pending question, and I think that is

 18              probably where some of this is coming from.

 19                            But, I will caveat and say if the

 20              witness is consulting for the purpose of

 21              determining whether privilege applies, then

 22              you know, I for this, you know, one instance



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                                                                                                Page 319
   1             I will not object.

   2                           I did have a continuous and

   3             consistent objection to every time they

   4             consulted and I believe that is sort of what

   5             is driving this here.

   6                           MS. SIEBERT:                  Okay.

   7                           MR. NKWONTA:                  If you want to consult

   8             with the witness to determine whether there

   9             is a privilege there to assert, I will not

 10              prevent that.

 11                            MS. SIEBERT:                  Give me one moment.                     I

 12              will consult and we will limit to that topic.

 13                            MR. NKWONTA:                  Thank you.

 14                            THE VIDEOGRAPHER:                        Do you want to go

 15              off the record?

 16                            MR. NKWONTA:                  Yes, let's go off the

 17              record but let's also mark where they stopped

 18              to consult.

 19                            (Whereupon the witness consulted

 20              with counsel.)

 21                            THE VIDEOGRAPHER:                        Yes, sir.           We are

 22              now going off the video record.                                  The time is



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                                                                                               Page 320
   1             4:46 p.m.

   2                           (Recess taken -- 4:46 p.m.)

   3                           (After recess -- 4:49 p.m.)

   4                           THE VIDEOGRAPHER:                        We are now going

   5             back on the video record.                            The time is

   6             4:49 p.m.

   7                           MS. SIEBERT:                  Thank you.            Okay.        As

   8             to your last line of questioning, counsel, we

   9             are not objecting as to privilege.

 10                            I am objecting as to the 30 -- the

 11              scope of the court's order and the 30(b)(6)

 12              subject matters, not only limited to those

 13              jurisdictions but limited to time frame and

 14              so forth.

 15                            It would make no sense to testify

 16              regarding things that happened post, after

 17              this lawsuit was filed, as that wouldn't be

 18              relevant to defenses or claims asserted in

 19              this lawsuit and would not be logically part

 20              of the court's order.

 21         BY MR. NKWONTA:

 22                   Q.       Ms. Engelbrecht, you can interpret



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                                                                                               Page 321
   1        my question to be limited to the jurisdictions

   2        identified in the 30(b)(6) notice for True the

   3        Vote.

   4                           And you may answer.                          And you can

   5        also interpret my question to be limited to

   6        evidence obtained before this lawsuit was filed.

   7                           MS. SIEBERT:                  Thank you for that

   8             clarification.

   9                           MR. NKWONTA:                  Can the court reporter

 10              read back the last question before we went --

 11              before we went off the record.

 12                            (Whereupon, the record was read by

 13              the reporter as requested.)

 14                            THE WITNESS:                  Shall I answer?                 We

 15              have reported to the State of Georgia.                                      We

 16              have filed three complaints about

 17              observations and concerns that we have

 18              witnessed.

 19                            But that is the extent of it as we

 20              have filed these complaints that are now

 21              under active investigation.

 22         BY MR. NKWONTA:



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                                                                                               Page 322
   1                  Q.       Are you willing to disclose what

   2        those concerns are or what the subject of those

   3        complaints are?

   4                           MS. SIEBERT:                  Again, I just want to

   5             clarify my objection as far as scope and

   6             timeline and limited to the states in

   7             question.

   8                           Is that correct, are we still under

   9             that understanding?

 10                            MR. NKWONTA:                  Yes.

 11                            MS. SIEBERT:                  Okay.

 12                            THE WITNESS:                  Okay.          So, to that end

 13              I would say that what we -- the basis of our

 14              filings were regarding things that, and

 15              information post the filing of this lawsuit.

 16                            MR. NKWONTA:                  I would like to turn

 17              your attention to Exhibit 47.

 18                                     (Exhibit 47 marked for

 19                                       identification.)

 20         BY MR. NKWONTA:

 21                   Q.       This is an article published by Jim

 22         Hoft from the Gateway Pundit.                             Can you read the



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                                                                                               Page 323
   1        title of this article?

   2                  A.       "It's now clear:                       Trump will win the

   3        election -- Democrats will steal -- True the Vote

   4        offers essential tips on what you can do to stop

   5        the steal."

   6                  Q.       Do you recall offering comments or

   7        insight on this issue for this article?

   8                  A.       I do not recall.

   9                           MR. NKWONTA:                  Can you scroll down to

 10              Page 2 and to the highlighted paragraph on

 11              Page 2 -- or sorry, the paragraph right --

 12              third paragraph from the bottom, starting

 13              with, "Tonight."

 14         BY MR. NKWONTA:

 15                   Q.       So the article says, "Tonight the

 16         Gateway Pundit reached out to Catherine

 17         Engelbrecht at True the Vote to offer tips to

 18         ordinary Americans to prevent the Democrat plan

 19         to steal the election in 2020.                              Catherine

 20         Engelbrecht wrote back with these essential

 21         tips."

 22                            Do you dispute this characterization



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                                                                                               Page 324
   1        or this statement from this article?

   2                  A.       No, it is entirely possible that he

   3        called me.

   4                  Q.       And it is possible that you

   5        responded with essential tips?

   6                  A.       And it is possible that I responded,

   7        yes.

   8                           MR. NKWONTA:                  Could we pull up

   9             Exhibit 44.

 10                                     (Exhibit 44 marked for

 11                                       identification.)

 12         BY MR. NKWONTA:

 13                   Q.       Ms. Engelbrecht, have you stated

 14         publicly or elsewhere before that some counties'

 15         ballots are counted in Spain?

 16                   A.       I don't recall.                      I'm generally aware

 17         of the ballot counting software platforms that

 18         are multinational.                But I don't, I don't -- I

 19         have never seen this document before and I'm not

 20         certain what it might contain.

 21                   Q.       Have you expressed a view before

 22         that some states have their votes counted in



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                                                                                               Page 325
   1        Spain?

   2                  A.       I don't recall.

   3                  Q.       Do you have any reason to dispute

   4        this quote in this Brightbart article?

   5                  A.       I have no context around it.                                I'm

   6        aware of softwares that are used by states that

   7        have, as a practical matter of their structure,

   8        server ports in Spain.                     That is the extent of

   9        what I do know is true, but that is not at all

 10         uncommon in software.

 11                            So, I don't know what this -- you

 12         know, what else may be here.                            I don't know.

 13                            MR. NKWONTA:                  Can you scroll down to

 14              Page 3.

 15         BY MR. NKWONTA:

 16                   Q.       And Page 3 of this article quotes

 17         you.    Can you read that quote into the record?

 18                   A.       "There is a tabulation company

 19         called Sidel that does" --, jeez, spelling.

 20                            "There is a tabulation company

 21         called Sidel that does have Cloud, I guess,

 22         cold-based servers in Barcelona.                                And yes, it is



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                                                                                               Page 326
   1        true that the tabulation of votes occurs in that

   2        way in many states that could use that system."

   3                  Q.       Is that an accurate quote?

   4                  A.       There is a tabulation company called

   5        Sidel that has cloud-based servers in Barcelona,

   6        yes, that is true.

   7                  Q.       And is it your view, based on that

   8        that, that some states have their ballots counted

   9        in Spain?

 10                   A.       I think that that is a leap to a

 11         conclusion, but it is certainly true that if you

 12         are using a company that has cloud-based servers

 13         in Spain, and that is in Barcelona, that is a

 14         part of a process that may or may not impact the

 15         vote count.        But it is part of a process

 16         nonetheless.

 17                   Q.       Briefly I want to return back to the

 18         voter challenges.

 19                            Are you familiar or aware of any

 20         challengers who withdrew or asked to withdraw

 21         their challenges during the, during the --

 22                   A.       Yes, I am familiar with one, yes.



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                                                                                               Page 327
   1        Sorry, sorry.

   2                  Q.       And who is that challenger that

   3        asked to withdraw their challenge?

   4                  A.       I don't recall his name.

   5                  Q.       Was it Joe Martin?

   6                  A.       That does sound familiar, yes.                                  That

   7        sounds correct.

   8                  Q.       And do you recall why Joe Martin

   9        chose to withdraw his challenge?

 10                   A.       My general recollection is that in

 11         looking at names on a challenger list he

 12         identified that a couple of them were at long --

 13         were residents at long-term care facilities.

 14                            And he didn't -- for that purpose he

 15         didn't want to move forward.                            And he notified

 16         Amy.    And we notified -- as I understand it, we

 17         notified the county.                  And that was -- that is the

 18         end of it as far as I know or as far as I recall.

 19                   Q.       And did you determine or make any

 20         efforts to determine whether those voters were

 21         properly included in the challenge list?

 22                   A.       We didn't submit the challenge list



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                                                                                                Page 328
   1        after he declined to participate.                                  We, on his

   2        behalf, just rescinded the challenges, as I

   3        recall.

   4                  Q.         So you submitted the challenges, but

   5        then withdrew them after Mr. Martin requested

   6        that they be withdrawn; is that correct?

   7                  A.         I believe that that is correct.                                 I

   8        am not certain, but I believe that that is

   9        correct.

 10                   Q.        Were there any other challengers who

 11         requested that their challenges be withdrawn?

 12                   A.        None that I am aware of or that I

 13         recall.

 14                   Q.        And you submitted, at some point in

 15         this case, a True the Vote and other defendants

 16         submitted a counterclaim or asserted a

 17         counterclaim for voter intimidation.

 18                             And can you explain -- can you

 19         explain what caused that intimidation?

 20                             MS. SIEBERT:                  I'm going to object to

 21              that.         That counterclaim has been completely

 22              dismissed and it is no longer relevant or a



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                                                                                               Page 329
   1             part of this complaint.

   2                           The court has already dismissed

   3             those claims.              It wouldn't be relevant to any

   4             claim or defense in this case.

   5        BY MR. NKWONTA:

   6                  Q.       You may answer, Ms. Engelbrecht.

   7                  A.       I will just take advice of counsel

   8        on that.

   9                           MS. SIEBERT:                  Catherine, you can go

 10              ahead and answer.                  I'm sorry.                I didn't make

 11              that clear.            You can go ahead and answer but

 12              that is our objection.

 13                            THE WITNESS:                  Okay.          I'm so sorry.

 14              I just want to make -- can you repeat the

 15              question again.                I want to make sure I'm

 16              framing it properly in my mind.

 17         BY MR. NKWONTA:

 18                   Q.       Sure.          And I will narrow the

 19         question a little bit.

 20                            In what way were -- was True the

 21         Vote and perhaps yourself as well intimidated by

 22         these legal proceedings?



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                                                                                               Page 330
   1                  A.       Well, True the Vote, you know,

   2        received e-mails and calls particularly to the

   3        election hotline that were, you know, unkind.

   4                           But that was really not the

   5        intimidation.          The intimidation that I was most

   6        troubled by was that suffered by the electors who

   7        participated, and as a consequence of that had

   8        their, there were docs online, had businesses

   9        targeted, had threats sent to them in e-mail and

 10         calls, you know, to their businesses.

 11                   Q.       And so you've told me about the

 12         electors.

 13                            And in talking about True the Vote

 14         and yourself specifically, were you intimidated

 15         by the legal proceedings or by the allegations in

 16         the lawsuit?

 17                            MS. SIEBERT:                  Same objections.                  I

 18              will just make a continuing objection based

 19              upon the same -- for this entire line of

 20              questioning as earlier.

 21                            THE WITNESS:                  Yeah, was I

 22              intimidated by the lawsuit?                              No.     I mean, I'm



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                                                                                               Page 331
   1             just concerned about what was happening to

   2             the volunteers.

   3                           MR. NKWONTA:                  And can we take a

   4             quick five-minute break.                           I think I am just

   5             about done.            I just want to make sure that we

   6             have covered everything.

   7                           THE VIDEOGRAPHER:                        We are now going

   8             off the video record.                       The time is 5:04 p.m.

   9                           (Recess taken -- 5:04 p.m.)

 10                            (After recess -- 5:09 p.m.)

 11                            THE VIDEOGRAPHER:                        We are now going

 12              back on the video record.                            The time is

 13              5:09 p.m.

 14         BY MR. NKWONTA:

 15                   Q.       Ms. Engelbrecht, we just took a

 16         short break.         Do you understand you are still

 17         under oath?

 18                   A.       Yes.

 19                   Q.       I just have a couple of quick

 20         questions remaining.

 21                            First, can you explain to me the

 22         term or have you heard of the term the Photo



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                                                                                               Page 332
   1        Ernesto Program?

   2                  A.       Yes.

   3                  Q.       What is the Photo Ernesto

   4        Initiative?

   5                  A.       That was an initiative we had, True

   6        the Vote had for a brief period of time, maybe, I

   7        don't recall the years, 2012/2013, somewhere in

   8        there.

   9                           And, it was led by someone.                               And her

 10         point and focus in the initiative was to --

 11         basically everything we did was translated into

 12         Spanish and focused on working in Latino

 13         communities in that regard.

 14                            And it was -- and the spokesperson

 15         for that was Latina and, you know, was very

 16         active in that community and speaking Spanish

 17         fluently so it was useful for those folks.

 18                   Q.       What exactly was True the Vote doing

 19         in those Latino communities?

 20                   A.       Everything from helping to do

 21         training for voter registration guides,

 22         clarifying on voter registration intake or how to



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                                                                                               Page 333
   1        fill out voter registration applications.

   2                           And speaking to the spokesperson

   3        that was a part of the initiative, speaking to

   4        groups that were oriented towards Latino

   5        interests.         It was just an outreach program,

   6        short lived.

   7                  Q.       Did it also involve efforts to

   8        prevent voter fraud?

   9                  A.       I can't recall anything specifically

 10         other than just broadly True the Vote's program,

 11         and recognizing accuracy and data and working in

 12         election -- another aspect of this encouraging

 13         the participation of bilingual poll workers, poll

 14         watchers, that kind of thing.

 15                   Q.       And I want to return to the Validate

 16         the Vote document.                I recall that you mentioned

 17         that you hadn't seen that document before.

 18                            MR. NKWONTA:                  Can we pull up

 19              Exhibit 1 A.

 20                                     (Exhibit 1A marked for

 21                                       identification.)

 22                            MR. NKWONTA:                  And can you scroll



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                                                                                               Page 334
   1             down to the second e-mail or expand -- sorry.

   2             Can you scroll back to the first page and

   3             expand so we can see the second -- great.

   4        BY MR. NKWONTA:

   5                  Q.       Do you recognize that e-mail,

   6        Ms. Engelbrecht?              It looks like it is coming from

   7        your e-mail account to Dikran at Storylift dot

   8        com?

   9                  A.       Yes.

 10                   Q.       And underneath that e-mail address

 11         it says, "Please see attached overview of plan.

 12         True the Vote funding information is also

 13         attached."         Do you see that?

 14                   A.       Yes.

 15                            MR. NKWONTA:                  And if we scroll down.

 16              Let me see attachments next.                               Can we scroll

 17              down a little bit.                    Sorry, the other way.

 18                            Next page.                Then you will see the,

 19              some attachments there.                         And can you scroll

 20              to the next page, which is followed by this

 21              Validate the Vote document.

 22         BY MR. NKWONTA:



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                                                                                                Page 335
   1                  Q.         So, it looks like this was attached

   2        to the e-mail that you sent.                             Is that correct?

   3                  A.         This is the format that I am

   4        familiar with around what we call Validate the

   5        Vote.

   6                             I just, I don't remember some of

   7        these words.          But, you know, I just don't

   8        remember some of this approach, these, the way

   9        that this is being -- the way that this is

 10         worded.

 11                             But, it -- you know, this is -- if

 12         this is what was provided, then this is what was

 13         provided.

 14                   Q.        Do you dispute that it was attached

 15         to an e-mail that you sent or it appears to be

 16         attached to an e-mail that you sent on

 17         November 5th?

 18                   A.        Well, there are -- I am familiar

 19         with another version that does not have this

 20         language.          And I am familiar with that version.

 21         I just, I just cannot recall this version of it.

 22         Not -- I mean, that is all I can say.



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                                                                                               Page 336
   1                  Q.       Your e-mail address is Catherine at

   2        True the Vote dot org, correct?

   3                  A.       Yes.

   4                  Q.       So you don't dispute that this came

   5        from your e-mail?

   6                  A.       Or that an attachment called

   7        Validate the Vote or whatever it was, Validate

   8        the Vote 2020, I -- some of this language is not

   9        anything I, I recall, the best I can say.

 10                            This is not a typical.

 11                   Q.       I guess my question is, you don't

 12         dispute that this was attached to an e-mail that

 13         you sent, correct?

 14                   A.       I, I don't dispute that there was an

 15         attachment called Validate the Vote or Validate

 16         the Vote 2020.

 17                            Whether or not this document is in

 18         fact that attachment, I'm just not -- I'm not

 19         sure.     I just can't confirm that.

 20                   Q.       And you don't dispute sending a plan

 21         of some sort to Mr. Eshelman, correct?

 22                   A.       I definitely did send a plan that



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                                                                                               Page 337
   1        they requested.             So, I definitely recall that.

   2                  Q.       And do you recall providing a budget

   3        for that effort?

   4                  A.       I recall that there were budget

   5        numbers included along that right-hand column of

   6        the document that I provided.

   7                  Q.       And is there any reason why this

   8        document was not produced in response to our

   9        discovery requests?

 10                   A.       Not that I am -- no, not that I'm

 11         aware of.

 12                            MR. NKWONTA:                  That is all of the

 13              questions I have for you at the moment,

 14              Ms. Engelbrecht.                 Thank you for your time.

 15                            THE WITNESS:                  Thanks very much.

 16                            MS. SIEBERT:                  Okay.          I just have a

 17              couple of follow-up questions.

 18                                         EXAMINATION

 19         BY MS. SIEBERT:

 20                   Q.       Ms. Engelbrecht, do you recall

 21         testifying regarding the Time for a Hero

 22         Facebook, that line of questioning?



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                                                                                               Page 338
   1                  A.       Yes.

   2                  Q.       And do you recall that on the --

   3        that you testified that on the Time for a Hero

   4        Facebook page, apparently they had shared or that

   5        Facebook page had posted a video from True the

   6        Vote.     Do you recall that?

   7                  A.       Yes.

   8                  Q.       Okay.          Did you control who from Time

   9        for a Hero could share that video on your

 10         Facebook page?

 11                   A.       No.

 12                   Q.       Okay.          Do you recall that later on

 13         that Facebook page, counsel showed you a post

 14         that appeared to be from somebody -- or an

 15         account called Crusade for Freedom?

 16                   A.       Yes.

 17                   Q.       Okay.          Does True the Vote or do you

 18         personally have any association with Crusade for

 19         Freedom?

 20                   A.       No.

 21                   Q.       Do you recall later in testimony,

 22         counsel asked you regarding some tweets that were



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                                                                                               Page 339
   1        apparently sent by an account called Crusade for

   2        Freedom?

   3                           Can you answer verbally?                            I'm sorry.

   4                  A.       I'm sorry.                Yes, yes, yes, yes.

   5                  Q.       And do you recall that that Crusade

   6        for Freedom Twitter account appeared to have the

   7        same logo as the Crusade for Freedom account that

   8        was on the Time for a Hero Facebook page?

   9                  A.       Yes.

 10                   Q.       Okay.          And do you recall testifying

 11         or seeing that that, the tweets used hashtags

 12         Eyes on Georgia and Validate the Vote Georgia?

 13                   A.       Yes.

 14                   Q.       The Crusade for Freedom tweets?

 15                   A.       Yes.

 16                   Q.       Do you have any control over who can

 17         post something on Twitter using those hashtags?

 18                   A.       No.

 19                   Q.       Okay.          Do you recall testimony

 20         regarding the, I believe it is the December 14th

 21         press release that True the Vote put out that

 22         discussed the effort in Georgia for, related to



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                                                                                               Page 340
   1        the runoff election challenges?

   2                  A.       Yes.

   3                  Q.       Do you recall that press release?

   4        Okay.

   5                           Was part of the purpose of the press

   6        release to assist True the Vote in recruiting

   7        potential volunteer challengers?

   8                  A.       I think that is, recruiting or just

   9        making aware that it was an opportunity for

 10         citizens to participate in.

 11                   Q.       Okay.          All right.                There was a line

 12         of questioning that counsel asked you, a whole

 13         line of questioning regarding the target -- the

 14         states that are listed in the court's order

 15         regarding the November 2020 -- the litigation

 16         following the November 2020 election that True

 17         the Vote was involved in.

 18                            Do you recall that, those lines of

 19         questioning?

 20                   A.       Uh-huh.

 21                   Q.       Okay.          And do you recall testifying

 22         that those suits were voluntarily dismissed?



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                                                                                               Page 341
   1                  A.       Yes.

   2                  Q.       Okay.          Do you recall testifying that

   3        the data from the voter rolls that would have

   4        been relevant to that litigation would not have

   5        been available for months and that was one of the

   6        reasons why those suits were dismissed?

   7                  A.       Yes, yes.

   8                  Q.       Okay.          Would that data, had it been

   9        produced in that time frame, quickly after the

 10         election, would that data have been the type of

 11         data that would have been critical for True the

 12         Vote to assess, to determine whether there was

 13         evidence of election fraud that could be further

 14         substantiated?

 15                            MR. NKWONTA:                  Objection, calls for

 16              speculation.

 17                            MS. SIEBERT:                  I'm sorry?

 18                            MR. NKWONTA:                  Objection, calls for

 19              speculation.

 20                            THE WITNESS:                  I still answer,

 21              correct?

 22         BY MS. SIEBERT:



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                                                                                               Page 342
   1                  Q.       Let me rephrase.                       Based upon your

   2        experience and knowledge of election data

   3        analysis, would the type of data that would

   4        have -- that partially would have been sought by

   5        those lawsuits, i.e. the voter rolls, the voter

   6        records that you testified to earlier.

   7                           Based upon your experience in this

   8        election data space, would that type of data have

   9        been critical and used to assess whether there

 10         was further evidence of election fraud?

 11                   A.       Yes.

 12                            MR. NKWONTA:                  Objection, calls for

 13              speculation.

 14         BY MS. SIEBERT:

 15                   Q.       Was it ever True the Vote's intent

 16         for -- I'm speaking now for the Georgia

 17         challengers for the runoff election.

 18                            Was it ever True the Vote's intent

 19         to -- through those helping with those challenges

 20         or working with people to submit those

 21         challenges, to have people removed from the voter

 22         registration rolls in Georgia?



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                                                                                               Page 343
   1                  A.       No.

   2                  Q.       Was the purpose of those challenges

   3        ever to prevent somebody who was legally allowed

   4        to vote in Georgia from doing so?

   5                  A.       No.        No.

   6                           MS. SIEBERT:                  I think that is all I

   7             have.

   8                           THE VIDEOGRAPHER:                        Any redirect.

   9                           MR. NKWONTA:                  Nothing further.

 10                            THE VIDEOGRAPHER:                        Okay.      With that

 11              we are now ending the deposition.                                 The time

 12              on record is 5:25 p.m.

 13            (Whereupon, signature not having been waived,

 14         the deposition suspended at 5:25 p.m.)

 15                                             *      *     *

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   1                  CERTIFICATE OF COURT REPORTER
   2                I, LORI J. GOODIN, RPR, CLR, CRR,
            CA CSR # 13959, the reporter before whom the
   3        foregoing deposition was taken, do hereby certify
            that the witness whose testimony appears in the
   4        foregoing deposition was sworn by me; that the
            testimony of said witness was taken by me in
   5        machine shorthand and thereafter transcribed by
            computer-aided transcription; that said
   6        deposition is a true record of the testimony
            given by said witness; that I am neither counsel
   7        for, related to, nor employed by any of the
            parties to the action in which this deposition was
   8        taken; and, further, that I am not a relative or
            employee of any attorney or counsel employed by
   9        the parties hereto, or financially or otherwise
            interested in the outcome of this action.
 10
 11
 12                          _____________________________
 13                          LORI J. GOODIN, RPR, CLR, CRR
 14                          Notary Public in and for:
 15         STATE OF FLORIDA, COUNTY OF SARASOTA
            Notary Commission Number: GG987804
 16         My Commission expires: May 12, 2024
            STATE OF CALIFORNIA, CA CSR# 13959
 17         My Commission expires: February 22, 2023
            STATE OF MARYLAND, COUNTY OF ANNE ARUNDEL
 18         My Commission expires: August 2, 2025
            DISTRICT OF COLUMBIA, WASHINGTON DC
 19         My Commission expires: May 31, 2026
            COMMONWEALTH OF VIRGINIA, COUNTY OF FAIRFAX
 20         My Commission expires: February 28, 2022
            STATE OF DELAWARE: COUNTY OF KENT
 21         My Commission expires: October 9, 2023
 22         STATE OF PENNSYLVANIA, COUNTY OF LEHIGH


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                                                                                               Page 345
  1             Catherine Engelbrecht 30(b)(6), c/o

                THE BOPP LAW FIRM

  2             1 South Sixth Street

                Terre Haute, Indiana             47807-3510

  3

  4             Case: Fair Fight, Inc. et al. v. True the Vote, et al.

                Date of deposition: January 26, 2022

  5             Deponent: Catherine Engelbrecht 30(b)(6)

  6

  7             Please be advised that the transcript in the above

  8             referenced matter is now complete and ready for signature.

  9             The deponent may come to this office to sign the transcript,

 10             a copy may be purchased for the witness to review and sign,

 11             or the deponent and/or counsel may waive the option of

 12             signing. Please advise us of the option selected.

 13             Please forward the errata sheet and the original signed

 14             signature page to counsel noticing the deposition, noting the

 15             applicable time period allowed for such by the governing

                Rules of Procedure. If you have any questions, please do

 16             not hesitate to call our office at (202)-232-0646.

 17

 18

 19             Sincerely,

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 22             express written consent.



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   3
   4              SIGNATURE PAGE
                  Case: Fair Fight, Inc. et al. v. True the Vote, et al.
   5              Witness Name: Catherine Engelbrecht 30(b)(6)
                  Deposition Date: January 26, 2022
   6
   7              I do hereby acknowledge that I have read
                  and examined the foregoing pages
   8              of the transcript of my deposition and that:
   9
 10               (Check appropriate box):
                  (    ) The same is a true, correct and
 11               complete transcription of the answers given by
                  me to the questions therein recorded.
 12               (    ) Except for the changes noted in the
                  attached Errata Sheet, the same is a true,
 13               correct and complete transcription of the
                  answers given by me to the questions therein
 14               recorded.
 15
 16
 17
 18               _____________                          _________________________
 19                   DATE                                   WITNESS SIGNATURE
 20
 21               _____________                          __________________________
 22                   DATE                                           NOTARY


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   6                                               ERRATA SHEET

   7

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   9              Witness Name: Catherine Engelbrecht 30(b)(6)

 10               Deposition Date: January 26, 2022

 11               Page No.          Line No.                   Change

 12

 13

 14

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 16

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 18

 19

 20

 21              ___________________________                                  _____________

 22              Signature                                                        Date



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